      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 1 of 217




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                         No. 2:12-md-02323-AB
INJURY LITIGATION                                  MDL No. 2323


Kevin Turner and Shawn Wooden,                     Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

            Plaintiffs,

                v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

            Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


              DECLARATION OF STEVEN F. MOLO IN SUPPORT OF
         PETITION FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES

       I, Steven F. Molo, declare, pursuant to 28 U.S.C. § 1746:

       1.       I submit this declaration in support of the Faneca Objectors’1 Petition for an

Award of Attorneys’ Fees and Expenses in connection with services rendered to the benefit of

the settlement class in the above-captioned case. I have personal knowledge of the matters set

forth in this Declaration, and if called upon, I would testify as follows:


1
  In earlier proceedings in this Court, MoloLamken LLP represented seven objectors: Sean
Morey, Alan Faneca, Robert Royal, Roderick Cartwright, Ben Hamilton, Sean Considine, and
Jeff Rohrer. This Court previously referred to these objectors collectively as the “Morey
Objectors.” Three of those objectors – Sean Morey, Robert Royal, and Ben Hamilton – have
since opted out. Thus, we now refer to the objectors presently represented by MoloLamken as
the “Faneca Objectors.”
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 2 of 217




                  I.   FIRM BACKGROUND AND QUALIFICATIONS

       2.      I founded MoloLamken LLP along with Jeffrey Lamken in October 2009. We are

a litigation boutique with offices in New York, Chicago, and Washington, D.C. MoloLamken’s

practice is devoted exclusively to complex civil and criminal litigation throughout the United

States. We handle matters in trial courts before judges and juries, as well as in appellate courts,

including the Supreme Court of the United States. Indeed, we are one of a small number of firms

to appear regularly before the Supreme Court.

       3.      Our firm and its lawyers have been recognized in a wide array of legal listings

and publications such as Chambers & Partners; SuperLawyers; Lawdragon; Best Lawyers in

America; Euromoney; PLC Which Lawyer ; Leading Lawyers; Washingtonian Magazine; New

York Magazine; Martindale Hubbell; U.S. News and World Report; Vault.com; and International

Global Law Experts. ACQ Magazine has named MoloLamken its U.S. Boutique Litigation Law

Firm of the Year. In this past year, we were named by The National Law Journal to its

“Litigation Boutiques Hot List” and by Benchmark Litigation to its list of “Top Ten Litigation

Boutiques in America.”         Additional information about our firm can be found at

http://www.mololamken.com.

       4.      On behalf of our clients, MoloLamken regularly is adverse to many of the

nation’s leading litigation firms and important government agencies. In the past year, apart from

the lawyers we faced in this case, our opponents have included: Davis Polk & Wardwell LLP;

Skadden, Arps, Slate, Meagher & Flom LLP; Williams & Connolly LLP; Jones Day; Kaye

Scholer LLP; King & Spalding LLP; Orrick, Herrington & Sutcliffe LLP; Gibson, Dunn &

Crutcher LLP; Sidley Austin LLP; Quinn Emanuel Urquhart & Sullivan, LLP; Paul, Weiss,

Rifkind, Wharton & Garrison LLP; Simpson Thacher & Bartlett LLP; Stroock & Stroock &

Lavan LLP; DLA Piper; Cozen O’Connor PC; Loeb & Loeb LLP; Jenner & Block LLP; Weil,
                                                2
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 3 of 217




Gotshal & Manges LLP; Fish & Richardson PC; Durie Tangri LLP; and Covington & Burling

LLP; as well as the United States Attorney’s Offices for the Southern District of New York, the

Eastern District of New York, the District of Columbia, the Eastern District of Virginia, the

Eastern District of Wisconsin, the District of Arizona, the District of New Mexico, the Northern

District of California, and the Northern District of Illinois; the United States Department of

Justice’s Fraud Section; the Securities and Exchange Commission’s Enforcement Division; the

Offices of the Inspector General for the Department of Justice and the Department of Veterans

Affairs; the United States Department of Justice Public Integrity Section; Congressional

investigative committees; and the Solicitor General of the United States.

        5.     Before forming MoloLamken, I was a partner at Shearman & Sterling LLP, and

before that, at Winston & Strawn LLP where I was a member of the firm’s executive committee.

I began my career as a prosecutor. A copy of my biography is attached as Exhibit 1.

        6.     Partners and associates come to our firm with experience – associates typically

have clerked for one or two federal judges.         The MoloLamken lawyers most significantly

involved in this matter in addition to me – Thomas Wiegand, Martin Totaro, Eric Nitz, Kaitlin

O’Donnell, and Rayiner Hashem – all have distinguished backgrounds for their respective roles

in the matter. Copies of their biographies are attached as Exhibit 2. Following the completion of

most of the work for the Faneca Objectors, Martin Totaro and Kaitlin O’Donnell left the firm to

perform government service – Mr. Totaro as a lawyer for the United States Securities and

Exchange Commission and Ms. O’Donnell as an Assistant United States Attorney in Florida.

 II.    MOLOLAMKEN’S EFFORTS ON BEHALF OF THE SETTLEMENT CLASS

   A. Our Retention To Evaluate the Fairness of the Settlement

        7.     In August 2013, the parties in this case announced that they signed a term sheet

for a global settlement of the concussion claims against the NFL. The basic terms of the deal

                                                3
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 4 of 217




were widely reported in the news media. See Press Release, Ret. Judge Layn Phillips, NFL,

Retired Players Resolve Concussion Litigation (Aug. 29, 2013), available at http://static.nfl.com/

static/content/public/photo/2013/08/29/0ap2000000235504.pdf.

       8.      After the public announcement of the settlement, MoloLamken was retained to

evaluate the terms of the settlement and, if necessary, to advocate for further improvements to

ensure that the interests of all class members were reflected in the settlement. We accepted the

representation on a 100% contingent-fee basis, with our fee based solely on our improving the

settlement. We did not request (and will not receive) any payment from any settlement award to

any of our clients.

       9.      We immediately began evaluating the settlement, as it was described in the press

release and media reports. That required review of the underlying claims and the scientific

relationship between repetitive head injury, neurocognitive impairment, and neurodegenerative

disease. It also required review of the NFL’s actions regarding concussions and the various

science the NFL had sponsored on the topic.

       10.     We concluded that the basic terms of the settlement were flawed. In anticipation

of the filing of the settlement agreement and motion for preliminary approval, we began

preparing an opposition that raised the issues that were initially identified in our motion to

intervene. Dkt. 6019.

   B. Our Advocacy Challenging the Revised Settlement

       11.     On January 6, 2014, Class Counsel and the NFL filed the Initial Settlement and a

class action personal-injury complaint, along with a motion for preliminary approval of the

settlement. Dkt. 5634.

       12.     The full terms of the Initial Settlement confirmed our conclusion – the settlement

agreement contained fundamental defects that required correction. Before MoloLamken could
                                                4
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 5 of 217




file our objection to the settlement agreement, this Court recognized one of those defects: the

Monetary Award Fund (“MAF”) was capped at $675 million and the parties had not offered any

evidence to show that that amount would be sufficient to cover all claims by the settlement class.

Accordingly, it denied preliminary approval sua sponte.       See In re Nat’l Football League

Players’ Concussion Injury Litig., 961 F. Supp. 2d 708 (E.D. Pa. 2014).

       13.     Our analysis of the Initial Settlement identified other issues with the settlement

besides the $675-million cap on the MAF.            We recognized that the settlement did not

compensate future cases of CTE – which Class Counsel had claimed, and which we believed

based on our own investigation – to be the most significant disease resulting from repetitive head

injury. We also noted that the settlement applied a 75% reduction to the monetary award of any

player who suffered a stroke or a traumatic brain injury (“TBI”) not related to NFL play. We

realized that those defects created potential intra-class conflicts given that the proposed class

representatives, Kevin Turner and Shawn Wooden, did not allege a risk of developing CTE and

did not allege that they would be subject to the 75% reductions for stroke or non-NFL TBI. Our

concerns about these and other deficiencies in the settlement led us to seek a seat at the

negotiating table.

       14.     Based on our belief that the settlement was flawed apart from the MAF having

been capped at $675 million, we filed a motion to intervene on May 5, 2014. Dkt. 6019. Our

goal was to advocate for the interests of class members that we believed had not been adequately

addressed in the Initial Settlement. Our motion argued that intervention was necessary because

our clients had symptoms indicative of CTE and neither of the proposed class representatives had

alleged a risk of developing CTE. We also pointed out the potential intra-class conflict created

by the 75% reductions for stroke or non-NFL TBI, and the fact that neither proposed class



                                                5
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 6 of 217




representative had stated that they would be subject to those reductions. Our motion was the first

filing to raise those potential intra-class conflicts in the settlement.

        15.     Before the Court could rule on the motion to intervene, the NFL and Class

Counsel announced a Revised Settlement on June 25, 2014. Dkt. 6073. The Revised Settlement

addressed the Court’s concern by removing the cap on the MAF. But other problems we had

identified in the Initial Settlement remained. Thus, when Class Counsel moved for preliminary

approval of the Revised Settlement, we filed a combined objection to the Revised Settlement and

opposition to the motion for preliminary approval. Dkt. 6082. No other class member filed an

objection or opposition to the June 2014 motion for preliminary approval.

        16.     Our 47-page objection and opposition challenged the Revised Settlement on

numerous grounds. For example, we argued that the failure to compensate future cases of CTE

created an intra-class conflict. Dkt. 6082 at 19-26. We also challenged the settlement’s failure

to provide credit for seasons played in NFL Europe, and the 75% reductions for stroke and non-

NFL TBI, which also created potential intra-class conflicts. Id. at 26-29. Those conflicts, we

argued, precluded approval of the settlement under Fed. R. Civ. P. 23(a)(4). We also objected to

unduly burdensome procedural requirements, such as the $1,000 fee for appealing adverse claim

determinations, id. at 32-35, and Class Counsel’s failure to conduct discovery before settlement,

id. at 40-47.

        17.     Our objection and opposition cited over a dozen scientific and journal articles

describing cutting-edge research by scientists on the vanguard of concussion and CTE research,

like Dr. Ann McKee, Dr. Robert Stern, and Dr. Steven DeKosky. Dkt. 6082 at v-ix.

        18.     The Court granted preliminary approval, setting a fairness hearing for November

19, 2014, and ordering any objections to the revised settlement to be filed by October 14, 2014.



                                                    6
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 7 of 217




Dkts. 6083, 6084. Recognizing that all class members would benefit if the defects in the Revised

Settlement were addressed sooner, rather than later, we filed a petition seeking appellate review

of the preliminary approval order under Fed. R. Civ. P. 23(f ). Dkt. 6166. Both Class Counsel

and the NFL filed a response, and the Third Circuit ordered us to file a reply. See Order, In re

Nat’l Football League Players’ Concussion Injury Litig., No. 14-8103 (3d Cir. Aug. 8, 2014).

The Third Circuit, in a special sitting, held oral argument on September 10, 2014. The petition

was ultimately dismissed on procedural grounds. Our petition to the Third Circuit did not delay

the fairness hearing or proceedings in this Court.

       19.      While the Rule 23(f ) petition was pending before the Third Circuit, we began

preparing our objection to final approval of the settlement. We filed our 86-page objection on

October 6, 2014, eight days before the October 14, 2014 deadline. Dkt. 6201. Our objection

explained how the intra-class conflicts created by the settlement’s treatment of CTE and NFL

Europe both precluded certification, id. at 21-36, and rendered the settlement unfair, id. at 54-84.

It also addressed the potential intra-class conflict created by the 75% reductions for stroke and

non-NFL TBI, id. at 32-36, the settlement’s procedural hurdles to recovery, id. at 73-78, and the

shortcomings of the BAP, including the $75-million cap, id. at 72-73. We also challenged the

notice. Id. at 37-53.

       20.     The objection included 82 supporting exhibits comprising more than 700 pages.

Dkt. 6201-1 to 6201-15. Much of this material was scientific evidence – journal articles and

research developed through our consultation with experts in neurology and neuropsychology

regarding concussions, CTE, and other neurodegenerative diseases. We thus framed the debate

on the scientific evidence. The objection included an eight-page scientific appendix describing

the science and symptoms of CTE. Dkt. 6201 at A4-A11.



                                                 7
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 8 of 217




       21.     The exhibits filed in support of our objection also included declarations from two

preeminent experts, Dr. Robert Stern and Dr. Sam Gandy. Dkt. 6201-16 (Dr. Stern); Dkt. 6232-1

(Dr. Gandy).     Dr. Stern is a Professor of Neurology, Neurosurgery, and Anatomy &

Neurobiology at Boston University School of Medicine where he is also the Director of Clinical

Research for the BU Chronic Traumatic Encephalopathy Center. Dkt. 6201-16 ¶¶ 1, 17. Dr.

Stern is a leading researcher on CTE and has received funding from the NIH and the Department

of Defense for his work on developing methods of detecting and diagnosing CTE. Id. ¶¶ 17-19.

Dr. Gandy is Professor of Alzheimer’s Disease Research and Professor of Neurology and

Psychiatry at Mount Sinai School of Medicine. Dkt. 6232-1 ¶ 1. He is Associate Director of the

Mount Sinai Alzheimer’s Disease Research Center in New York City, and Chairman Emeritus of

the National Medical and Scientific Advisory Council of the Alzheimer’s Association. Id. Dr.

Gandy is an expert on the metabolism of amyloids and applies that expertise in researching

distinctions between CTE and Alzheimer’s diagnoses in the living. E.g., id. ¶¶ 13-14. No other

class member submitted such scientific evidence – by way of expert declarations or research

articles – to the Court.   Thus, we built the evidentiary record relied on by essentially all

objectors.2

       22.     We also submitted evidence regarding conditions in NFL Europe. Our client,

objector Sean Morey, who played three seasons in NFL Europe, submitted a declaration

2
  Several other objectors either incorporated MoloLamken’s objection by reference or explicitly
referred to the evidence that MoloLamken had submitted. See, e.g., Miller Objection, Dkt. 6213
(incorporating MoloLamken’s entire objection); Alexander Objection, Dkt. 6237 (incorporating
sections of MoloLamken’s objection); Chesley Objection, Dkt. 6242 (appending Dr. Stern’s
Declaration). Indeed, the Chesley Objectors, represented by Zuckerman Spaeder LLP, attached a
copy of the Stern Declaration that had been filed with our objection without disclosing to the
Court that this was evidence MoloLamken had obtained. Dkt. 6242-1 Ex. 1. And 29 class
members submitted letters on their own behalf referencing or adopting MoloLamken’s objection.
A few objectors submitted one or two research articles, Dkts. 6372, 6433, or reattached evidence
that had been previously submitted to the Court, Dkts. 6241, 6242, 6233.

                                               8
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 9 of 217




describing the conditions that he experienced there. Dkt. 6201-17. And we developed and

submitted other evidence supporting our argument that the claims of players in NFL Europe had

been bargained away in the Revised Settlement. See Dkt. 6201 at 35 & nn.39-40 (quoting radio

interview of Class Counsel and newspaper articles about injuries in NFL Europe).

       23.     Sixteen other objections were filed in this proceeding by objectors who were

represented by counsel – almost all at least one week after the Faneca Objectors’ objection.

With the exception of the Williams objection, which raised the issue of the unavailability of

medical records due to force majeure events, the other objections reiterated arguments made in

the Faneca Objectors’ filing, or raised arguments that did not receive serious consideration from

the Court. A summary of the issues raised in those other objections is attached as Exhibit 3.

       24.     Although MoloLamken had developed and submitted a massive scientific and

evidentiary record in support of our objection, there was certain information about the claims and

the settlement that was known by Class Counsel and the NFL, but not objectors. Thus, we

repeatedly requested discovery from the settling parties. On September 13, 2014, we filed a

motion for leave to conduct limited discovery through document requests and interrogatories in

preparation for the fairness hearing. Dkt. 6169. And on October 21, 2014, we filed a motion

seeking discovery of the evidence Class Counsel and the NFL would rely upon at the fairness

hearing. Dkt. 6252.

       25.     On November 4, 2014, the Court appointed me, along with William Hangley of

Hangley Aronchick Segal Pudlin & Schiller, liaison counsel for the objector groups and asked us

to coordinate the presentation of objections at the November 19, 2014 fairness hearing. Dkt.

6344. In that capacity, our firm engaged in extensive communications with the various groups of




                                                9
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 10 of 217




represented objectors – both by phone and email – to achieve the orderly and effective

presentation of issues without duplication.

       26.       We sought leave to present the testimony of our expert witnesses, Dr. Stern and

Dr. Gandy, at the fairness hearing. Dkt. 6339. We also requested the opportunity to cross-

examine adverse witnesses with information related to the underlying claims, including Dr. Ira

Casson and Dr. Elliott Pellman – NFL physicians responsible for promulgating the dubious,

NFL-sponsored science at the heart of the class claims. Id. at 8-9. No other objector sought to

introduce expert testimony; no other objector sought to question adverse witnesses at the fairness

hearing. Ultimately, however, the Court opted not to hear live testimony and received Dr.

Stern’s and Dr. Gandy’s testimony through the declarations that we had submitted in support of

our objection.

       27.       At the Court’s direction, I made the lead argument at the fairness hearing,

discussing the defects in the Revised Settlement related to CTE, NFL Europe, and the 75%

reductions for stroke and non-NFL TBI, among other topics. Thomas Wiegand and Martin

Totaro, both of MoloLamken, also made arguments at the Fairness Hearing, addressing a number

of other shortcomings in the Revised Settlement – including, among other issues, the cap on the

BAP Fund, the problems with the $1,000 appeal fee, and the problems associated with the

Revised Settlement’s testing regimen for neurocognitive impairments.         Rather than merely

attacking the Revised Settlement, we provided the Court with concrete steps that could be taken

to improve it. For example, we suggested giving credit for seasons played in NFL Europe,

extending the Death with CTE benefit to more class members, lifting the cap on the BAP Fund,

and “evening-up” the appeal process by, among other things, accommodating financial hardship

in the appeal-fee requirement.



                                                10
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 11 of 217




       28.     Following the fairness hearing, the Court invited the parties to submit

supplemental briefing. Throughout the case, we had followed the developing science regarding

MTBI and continued discussions with experts in the fields of neurology, neuropsychology,

pathology, and neuroimaging. Thus, when we submitted a supplemental brief in support of our

objection, Dkt. 6455, we provided the Court with still more evidence that supported our

arguments. We attached 27 exhibits to our supplemental brief, comprising over 450 pages of

material. Dkt. 6455-13 to 6455-23.

       29.     Moreover, both Dr. Stern and Dr. Gandy submitted supplemental declarations

addressing scientific points raised by the NFL and Class Counsel, which expanded on the

conclusions in their earlier declarations. Dkt. 6455-1 (Dr. Stern); Dkt. 6455-2 (Dr. Gandy). But

even beyond those supplemental declarations, our firm recruited nine additional prominent

experts in neurology and related fields to submit declarations attesting to statements about CTE

that were well-accepted in the scientific community. Like Dr. Stern and Dr. Gandy, these

additional experts are all at the top of their fields and among the most distinguished researchers

in neuroscience.

               a.     Dr. Patrick Hof is the Regenstreif Professor of Neuroscience at the Icahn

                      School of Medicine at Mount Sinai, New York. Dkt. 6455-3 ¶ 1. The

                      Director of Mount Sinai’s Kastor Neurobiology of Aging Laboratories,

                      Dr. Hof researches selective neuronal vulnerability in dementing illnesses.

                      Id. Ex. A at 2, 6.

               b.     Dr. Jing Zhang is the Shaw Endowed Professor of Pathology at the

                      University of Washington, Seattle. Dkt. 6455-4 Ex. A at 1. Dr. Zhang’s




                                               11
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 12 of 217




               research covers identification of biomarkers used to diagnose and track the

               progression of neurodegenerative disorders. Id. Ex. A at 2, 6-7.

       c.      Dr. Martha Shenton is a Professor in the Department of Psychiatry and

               Radiology at Brigham and Women’s Hospital and Harvard Medical

               School. Dkt. 6455-5 ¶ 1. Dr. Shenton is the Director of the Psychiatry

               Neuroimaging Laboratory and has expertise in the neuroimaging of brain

               abnormalities. Id. Ex. A at 3, 10.

            d. Dr. Charles Bernick is the Associate Medical Director of the Cleveland

               Clinic Lou Ruvo Center for Brain Health. Dkt. 6455-6 ¶ 1. Dr. Bernick is

               the lead researcher on a longitudinal study at the Cleveland Clinic to

               measure the effects of long-term head trauma in combat sports, focusing

               on early identification of neurocognitive decline and the prediction of

               long-term neurological consequences. E.g., id. Ex. A at 5, 7-8; see also

               Charles Bernick, NRPA 2015 Annual Conference, https://nrpa.event

               sential.org/Speakers/Details/86868.

       e.      Dr. Michael Weiner is a Professor in Radiology and Biomedical

               Engineering, Medicine, Psychiatry, and Neurology at the University of

               California, San Francisco. Dkt. 6455-7 ¶ 1 & Ex. A at 3. Dr. Weiner’s

               research covers the development and utilization of MRI and PET for

               investigating and diagnosing neurodegenerative diseases, and he is the

               Principal Investigator of the Alzheimer’s disease Neuroimaging Initiative,

               one of the largest observational studies in the world concerning

               Alzheimer’s disease. Id. Ex. A at 5.



                                        12
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 13 of 217




       f.      Dr. James Stone is an Associate Professor of Radiology and Medical

               Imaging at the University of Virginia Health System. Dkt. 6455-8 Ex. A

               at 2. Dr. Stone is the co-director of the University of Virginia Brain Injury

               and Sports Concussion Institute which covers research in traumatic brain

               injuries through molecular imaging and MRI diagnoses. Id. ¶ 1.

       g.      Dr. Thomas Wisniewski is a Professor of Neurology, Pathology and

               Psychiatry at New York University School of Medicine. Dkt. 6455-9 ¶ 1.

               Dr. Wisniewski runs an active research laboratory focusing on

               neurodegenerative disorders and is also the co-director of the NIH-funded

               NYU Alzheimer’s Disease Center. E.g., id. Ex. A at 10-12.

            h. Dr. Steven DeKosky served as the Dean of the University of Virginia

               School of Medicine until 2013. Dkt. 6455-10 Ex. A at 3. He is currently

               the Aerts-Cosper Professor of Alzheimer’s Research at the University of

               Florida College of Medicine, and is Deputy Director of the McKnight

               Brain Institute. See Steven T. DeKosky, UF Department of Neurology,

               http://neurology.ufl.edu/divisions-2/memory-and-cognitive-disorders/

               memory-and-cognitive-faculty/steven-t-dekosky-md/.         Dr. DeKosky’s

               research centers on structural and neurochemical changes from traumatic

               brain injuries. Dkt. 6455-10 Ex. A at 7. He was an author of the first

               report on CTE in American professional football players. Dkt. 6201-11

               Ex. 56.

            i. Dr. Wayne Gordon is the Jack Nash Professor and Vice Chair of the

               Department of Rehabilitation Medicine at the Icahn School of Medicine at



                                        13
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 14 of 217




                      Mount Sinai, New York.         Dkt. 6455-11 ¶ 1.     Dr. Gordon provides

                      neuropsychological evaluations and treatment for individuals who have

                      sustained a brain injury, and he received a recognition award from the

                      New York State Department of Health for his “visionary work” in

                      traumatic brain injuries. Wayne A. Gordon, Mount Sinai, http://www.

                      mountsinai.org/profiles/wayne-a-gordon.

       30.     We filed our supplemental brief with supporting evidence on December 2, 2014.

Dkt. 6455. The 30-page filing specifically addressed arguments raised by Class Counsel and the

NFL. Moreover, it identified potential improvements to the Revised Settlement that would

address our previously identified concerns. Id. at 30-31.

       31.     We also continued our efforts to unearth information relevant to the settlement.

On December 9, 2014, we filed a motion for the production of documents by the NFL

concerning the exposé League of Denial: The NFL’s Concussion Crisis, and insurance coverage.

Dkt. 6461. On December 9, 2014, we filed a motion for disclosure by Class Counsel and the

NFL of payments made to their experts. Dkt. 6462.

       32.     In all, MoloLamken prepared and filed with this Court over 150 pages of legal

analysis explaining why defects in the settlement rendered it unfair. In support of those filings,

we compiled an evidentiary record consisting of more than 100 exhibits containing more than

1,000 pages of evidence and scientific research. We obtained declarations from eleven of the

most prominent and well-respected researchers in the fields of neurology, neuropsychology,

pathology, and bioimaging, including the world’s leading researchers on CTE.

       33.     This Court credited many of our arguments and much of our evidence. On

February 2, 2015, it issued an Order identifying changes that it believed would enhance the



                                               14
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 15 of 217




fairness of the Revised Settlement. Dkt. 6479. Specifically, the Court suggested that the parties:

provide some credit for seasons played in NFL Europe, ensure a baseline examination for each

qualifying class member regardless of the cap on the BAP Fund, provide a hardship provision

waiving the appeal fee in certain cases, and extend the Death with CTE Qualifying Diagnosis to

individuals who died prior to Final Approval. Id. The Court also suggested that the parties

consider providing reasonable accommodation for class members whose medical records were

unobtainable because of force majeure events. Id.3

       34.     The settling parties adopted all of the Court’s recommendations, resulting in the

Final Settlement. Dkt. 6481 & Ex. A. These changes to the Revised Settlement dramatically

improved its value, in particular the provision of credit for seasons played in NFL Europe, the

extension of the timeline for the Death with CTE payment, and the guarantee of receiving a

baseline assessment examination.

    C. Our Work in Attempting To Further Improve the Revised Settlement Through
       Negotiations

       35.     Still, these improvements to the Revised Settlement did not fully address what we

saw as a substantial issue – the treatment of CTE. Heartened by the NFL’s willingness to

continue refining the Revised Settlement, we began exploring and researching how to provide

some additional benefit for CTE (or its symptoms) in a way the NFL might find acceptable. As

part of that research, we continued our discussions with our experts to identify the most cost-

effective ways of treating CTE or alleviating its symptoms. I consulted with Chris Seeger, Co-

Lead Class Counsel, and informed him that we remained concerned about the Revised

Settlement’s treatment of CTE and that I wanted to negotiate directly with the NFL and use the

3
 The accommodation for class members whose medical records were lost because of force
majeure events was not raised by MoloLamken. It was raised by the Estate of Delano R.
Williams, Dkt. 6221, represented by the Shah Law Firm.

                                               15
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 16 of 217




prospect of MoloLamken forgoing an appeal in exchange for further improvements related to

CTE. Mr. Seeger supported our efforts to attempt to further improve the Final Settlement.

       36.    In April 2015, I, along with my partner Thomas Wiegand, met with counsel for

the NFL, Brad Karp and Bruce Birenboim of Paul, Weiss, Rifkind, Wharton & Garrison LLP, in

person and over the phone, to propose further revisions to the Final Settlement that would

enhance the benefit associated with CTE. We provided the NFL with a written presentation and

had follow-up phone conversations with the NFL’s counsel to further discuss the proposal.

       37.    On April 22, 2015, the Court issued its order certifying the class for settlement

purposes and giving final approval to the Final Settlement. Dkts. 6509, 6510. MoloLamken

continued discussions with counsel for the NFL in the hope of securing further modifications to

the settlement. Recognizing the pressing need to provide relief to the class as soon as possible,

we hoped we could obtain additional benefits and obviate the need for appeal. Ultimately, the

NFL rejected our proposal. We then made a second proposal to the NFL with an alternative

means of financing further benefits for symptoms associated with CTE. MoloLamken and

counsel for the NFL had multiple phone conversations in May 2015 about the second proposal.

Notwithstanding our efforts, the NFL was unwilling to further modify the settlement.

   D. Our Work on Appeal

       38.    Believing there were significant issues on appeal, the Objectors represented by

MoloLamken filed a notice of appeal on May 22, 2015. Dkt. 6568.

       39.    MoloLamken prepared and coordinated filing of the joint appendix for the benefit

of all appealing objectors as well as the settling parties. We filed our opening brief on August

19, 2015. Faneca CA3 Br., No. 15-2304. Given that many of our objections were addressed in

the Final Settlement, our challenges on appeal largely focused on the settlement’s treatment of

CTE and the 75% reductions for stroke and non-NFL TBI. We argued that the class lacked
                                               16
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 17 of 217




adequate representation, in contravention of Rule 23(a)(4), and that the Final Settlement was not

fair, adequate, and reasonable, in contravention of Rule 23(e). Other objectors who appealed

from the final approval order relied heavily on the evidentiary record we had compiled and

echoed arguments that we had been making since we filed our motion to intervene in this Court

on May 5, 2014. See, e.g., Armstrong CA3 Br., No. 15-2272, at 6-11, 13-14, 18-19, 34-36; Jones

CA3 Br., No. 15-2291, at 4. Others adopted our arguments by reference. See Heimburger CA3

Br., No. 15-2206, at 5; Carrington CA3 Br., No. 15-2234, at 6, 15; Anderson CA3 Br., No. 15-

2230, at 25.

        40.    The Third Circuit held oral argument on November 19, 2015 in an extended, two-

hour session. I presented the lead opening argument and the final rebuttal argument, focusing on

fairness and adequacy of representation, and the other issues that we had briefed. The argument

occurred while I was in the midst of a jury trial in the United States District Court for the

Southern District of New York in which I was representing the former Speaker of the New York

Assembly, who was facing corruption charges. The judge adjourned the trial to allow me to go

to the Third Circuit and argue the appeal.

        41.    All throughout the briefing of the appeal, and even after oral argument, we

continued monitoring for factual and scientific developments relevant to the case. For example,

we drew the court’s attention to recent scientific evidence suggesting “a direct link from TBI to

CTE.”     Faneca CA3 Br. 40 (quoting Kondo et al., Antibody Against Early Driver of

Neurodegeneration cis P-tau Blocks Brain Injury and Tauopathy, Nature (July 15, 2015)). We

also were the first to draw the court’s attention to statements from NFL Vice President Jeff

Miller admitting a link between concussion and CTE. Faneca CA3 28( j) Letter, No. 15-2304.




                                               17
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 18 of 217




       42.     On April 18, 2016, the Third Circuit issued its opinion affirming the Court’s final

approval order. In re Nat’l Football League Players’ Concussion Injury Litig., 821 F.3d 410 (3d

Cir. 2016). Even though the Third Circuit affirmed this Court’s approval of the Final Settlement,

it noted the value to the class resulting from the truly adversarial process occasioned by the

Faneca Objectors’ advocacy. “[O]bjectors,” the Third Circuit explained, were “well-intentioned

in making thoughtful arguments” and “aim[ed] to ensure that the claims of retired players [were]

not given up in exchange for anything less than a generous settlement agreement negotiated by

very able representatives.” Id. at 447.

   E. Our Decision Not To Seek Supreme Court Review

       43.     Drawing on our firm’s extensive experience in Supreme Court advocacy, we

closely analyzed that opinion. Several lawyers with the firm – including my partner Jeffrey

Lamken, one of the nation’s leading Supreme Court advocates – participated in that analysis. A

copy of Mr. Lamken’s biography is attached as Exhibit 4. Professor Linda Mullenix did as well.

We considered whether the Third Circuit’s decision merited Supreme Court review.              We

ultimately concluded it did not. For that reason, the objectors represented by MoloLamken did

not seek further review in the Supreme Court. An almost three-year campaign to improve the

settlement had resulted in a Final Settlement with a financial value more than $100 million

greater than the value of the Revised Settlement previously negotiated between Class Counsel

and the NFL. We recognized that it was in the best interests of the class for the Final Settlement

to be implemented as quickly as possible. At all times, we have been mindful that this case was

not an academic exercise and that the relief being sought has a direct impact on the lives of

seriously injured individuals as well as those closest to them.

       44.     Although our efforts to secure further improvements beyond those in the Final

Settlement were unsuccessful, those efforts still brought substantial benefits to the class. They
                                                 18
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 19 of 217




ensured that the settlement ultimately approved by the Court was the very best settlement that

could have been achieved for the class – in a highly complex matter involving evolving science.

As our attempt to negotiate further benefits proved, there were no more concessions to squeeze

from the NFL. And our vigorous advocacy on appeal ensured that any open questions about the

Final Settlement’s compliance with Rule 23 were resolved.

               III.    MOLOLAMKEN’S TOTAL FEES AND EXPENSES

       45.     Over the course of three years and two months, MoloLamken devoted a total of

6,004.2 hours of time on behalf of the class. At current hourly billing rates for attorneys and

professional support staff, that represents a lodestar of $4,098,319.00.4 Exhibit 5 is a chart

summarizing the total number of hours and fees that MoloLamken devoted to this litigation. The

hourly rates reflected are current market rates that other clients have agreed to pay MoloLamken

for legal representation.   Based upon my experience, these rates are consistent with those

charged by law firms engaged in the type of complex, high-stakes work that our firm does. As a

further indication of the reasonableness of the rates used, we would welcome a comparison of

our hourly rates to those of Paul, Weiss, Rifkind, Wharton, & Garrison LLP, our distinguished

chief opponent as counsel to the NFL. Exhibit 6 is a chart summarizing the total number of

hours by litigation task.

       46.     As explained above, MoloLamken litigated this matter on a 100% contingent-fee

basis. Ordinarily, we would expect to negotiate a fee of between 35% and 45% to undertake a

representation of this nature on a 100% contingent-fee basis.

4
  Because MoloLamken has requested a fee based on the value we brought to the settlement, and
is submitting summaries of time spent only as a lodestar cross-check, we have not submitted
detailed time entries for the work that our attorneys performed. Doing so would require
extensive review and redaction to preserve privilege. Nevertheless, should the Court request
those time entries – which are extensive – they can be provided. See In re Rite Aid Corp. Sec.
Litig., 396 F.3d 294, 306-07 (3d Cir. 2005).

                                               19
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 20 of 217




       47.     MoloLamken also incurred substantial expenses in the course of this matter. In

total, MoloLamken expended $47,998.52 in costs and expenses. Those costs and expenses are

broken down by category in the chart attached as Exhibit 7. Those costs were incurred on behalf

of the class and are listed as actual costs with no administrative overhead applied. Consistent

with MoloLamken’s practices, the expense statement does not reflect charges for ordinary

expenses like standard electronic research, ordinary copying, local travel, secretarial overtime,

and standard postage. The expenses are reflected in MoloLamken’s books and records, and were

prepared from receipts, check records, and other source materials. They represent an accurate

recording of the expenses that MoloLamken actually incurred.

       48.     I have reviewed the time and expenses reported by my firm in this case that are

included in this declaration, and I affirm that they are true and accurate. In my experience, these

fees and expenses are reasonable.

       49.     In the course of representing objectors in this case, MoloLamken associated with

William Hangley of the law firm Hangley Aronchick Segal Pudlin & Schiller. Mr. Hangley and

his firm are highly regarded advocates and worked closely with me and other members of

MoloLamken. They were of great assistance in securing the benefits to the class described in

this declaration. Mr. Hangley’s firm devoted 281.8 hours of time to this case which, at their

standard hourly billing rates, amounts to $175,058.50 in fees. Hangley Aronchick also incurred

$3,829 in expenses. Attached as Exhibit 8 is a declaration of Mr. Hangley attesting to his firm’s

involvement in the case. His description of his firm’s work in this matter is accurate.

       50.     MoloLamken also retained Prof. Linda Mullenix, an expert in class action law, to

assist in the representation. Prof. Mullenix worked closely with me and other members of

MoloLamken. Her services, too, were a valuable asset to our successful efforts to improve the



                                                20
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 21 of 217




settlement. Prof. Mullenix devoted 71.25 hours of consulting time to this case. At her standard

hourly rates, that amounts to a total fee of $39,187.50. Attached as Exhibit 9 is a declaration of

Prof. Mullenix attesting to her involvement in this case. Her description of her work in this

matter is accurate.

IV.   DATA REGARDING THE VALUE OF IMPROVEMENTS RESULTING FROM
                       MOLOLAMKEN’S EFFORTS

       51.     Attached as Exhibit 10 is a table reflecting the total number of “compensated

seasons” in the settlement. A “compensated season” is an eligible season under the settlement

that will increase the size of a class member’s monetary award. Because all class members with

five or more seasons receive 100% of the maximum monetary award, all such players are listed

as having only five “compensated seasons” whether their career in the NFL spanned five years,

ten years, or more. The data in this table regarding the number of years played and the number

of players was drawn from Table 4-3 of Class Counsel’s actuarial report. Dkt. 6167 at 18. The

total number of compensated seasons under the settlement was calculated by multiplying the

number of players by the number of compensated seasons.

       52.     Attached as Exhibit 11 is a table showing the names of players who played in

NFL Europe, the number of seasons each played in NFL Europe (excluding years in which the

player also played a season in the NFL), and the number of seasons each player played in the

NFL (if any). Data were obtained from The Football Database, NFL Europe/World League of

American Football, http://www.footballdb.com/nfl-europe.

       53.     Attached as Exhibit 12 is a table showing the retired NFL players who died

between the date of preliminary approval (July 7, 2014) and the date of final approval (April 22,

2015). Data regarding the individuals, the date of their death, and their age at death were taken

from Oldest Living Pro Football Players, 2016-2010 Pro Football Necrology List,


                                               21
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 22 of 217




http://www.oldestlivingprofootball.com/present2010necrology.htm#961267027.   Unless other-

wise indicated on the chart, the number of seasons played for each player was taken from

statistics on the NFL’s website.




                                           22
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 23 of 217
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 24 of 217




                      Exhibit 1
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 25 of 217




                      Steven F. Molo
    Steven Molo, one of the country’s leading courtroom advocates, is a founding partner of
                                                                                                  Honors & Awards
the national litigation boutique, MoloLamken LLP. He represents corporations, boards, funds,
                                                                                                  Recognized by peer and
investors, inventors, and individuals in complex business litigation, white collar criminal and
                                                                                                    client review for
regulatory matters, and IP litigation. His client base is international.                            inclusion in Best
                                                                                                    Lawyers in America
    For the past seven years he has been named to Lawdragon’s list of the 500 Leading               (New York:
                                                                                                    commercial litigation,
Lawyers in America. He has been recognized in SuperLawyers, Best Lawyers in America,                white collar defense,
Chambers Guide to the World’s Leading Business Lawyers, Benchmark Litigation, Euromoney,            appeals), Chambers
                                                                                                    Guide to the World's
PLC Which Lawyer, and other guides to the leaders of the legal profession. ACQ Magazine
                                                                                                    Leading Business
recently named him New York Litigation Lawyer of the Year.                                          Lawyers,
                                                                                                    Superlawyers, PLC
    Mr. Molo regularly tries civil and criminal cases before juries and judges throughout the       Which Lawyer?
                                                                                                    (highly
country. He has extensive experience in post-trial and appellate advocacy as well. Chambers         recommended, New
and Partners calls him “fantastic in the courtroom”; “fabulous courtroom litigator who lights       York, disputes),
up the room with his presence.” Benchmark Litigation – which named him one of the top 100           Euromoney's Guide
                                                                                                    to the World's
Trial Lawyers in America – calls him “an outstanding advocate and fearless in court.”               Leading White Collar
                                                                                                    Crime Lawyers,
    He began his career as a prosecutor in Chicago, then practiced with Winston & Strawn            Leading Attorneys
                                                                                                    (business litigation,
where he was a senior litigator and member of that firm’s Executive Committee. He spent             white collar criminal
five and a half years as a litigation partner with the Wall Street firm Shearman & Sterling         defense, antitrust,
before founding MoloLamken in October 2009.                                                         appeals), Who's Who
                                                                                                    in America, Who's
                                                                                                    Who in the Law, and
   He has been involved in some of the most complex legal issues in the U.S. courts over            Who's Who in
the past 20 years. Frequently, Mr. Molo and the firm are asked to work with other counsel in        Business and Finance
representing a client after a matter has been pending and the need for additional courtroom       Named to the
                                                                                                    Lawdragon 500
experience becomes apparent.                                                                        Leading Lawyers in
                                                                                                    America, Benchmark
  He has represented many directors, CEOs, and other executives in a variety of sensitive           Litigation Top 100
matters.                                                                                            Trial Lawyers in
                                                                                                    America
    The civil commercial matters he has handled include those involving issues of antitrust,      Education
breach of contract, fraud, shareholder rights, structured products and derivatives, insurance,    University of Illinois,
RICO, mergers and acquisitions, real estate, insolvency and restructuring, defamation and           College of Law, J.D.,
                                                                                                    1982
privacy, securities, banking, and consumer fraud. His cases frequently involve class actions
                                                                                                  University of Illinois,
as well as individual suits. He has testified as an expert on New York commercial law in the        College of
High Court of Justice in London.                                                                    Communications,
                                                                                                    B.S., 1979
    His criminal matters have included those involving issues of antitrust, mail, wire,
bankruptcy and securities fraud, health care fraud, insurance fraud, environmental crimes,
obstruction of justice, tax fraud, and other complex crimes. He frequently conducts internal
investigations for management, boards, and audit committees. He co-authored the leading
treatise, Corporate Internal Investigations, and has been recognized as an expert in federal
court where he has testified on that topic and corporate prosecutions.
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 26 of 217




                       Steven F. Molo
    Mr. Molo also has served as trial counsel in intellectual property matters including patent,
                                                                                                     Bar and Court
trademark, trade dress, trade secret, and copyright cases.
                                                                                                       Admissions
                                                                                                     New York
     He serves on the editorial advisory board of Today's General Counsel and speaks and
                                                                                                     Illinois
writes extensively on the subjects of business litigation, corporate criminal liability, and trial   United States Supreme
and appellate advocacy. He has commented on legal topics for CNN, CNBC, The Wall Street                Court
Journal, The New York Times, the Chicago Tribune and other news media. He has taught or              United States Courts of
                                                                                                       Appeals for the 2nd,
lectured at Northwestern University Law School, Loyola University of Chicago Law School,
                                                                                                       3rd, 4th, 5th, 7th,
John Marshall Law School, SMU Law School, William & Mary Law School, the University of                 9th, 11th, D.C., and
Illinois College of Law, and the National Institute for Trial Advocacy. He is also co-author           Federal Circuits
and general editor of Your Witness: Lessons on Cross-Examination and Life from Great                 Solicitor, Law Society of
                                                                                                        England and Wales
Chicago Trial Lawyers. For five years, he served as counsel to the Illinois Judicial Inquiry
                                                                                                     London Court of
Board. He is a fellow of the American Academy of Appellate Lawyers. He is also a fellow of             International
the American Bar Foundation.                                                                           Arbitration
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 27 of 217




                       Steven F. Molo

   Representative Matters                                                                        Publications
                                                                                                 Books
 Investors in Residential Mortgage Backed Securities trusts in proceedings to determine
  the distribution of a $9 billion settlement among various classes of bondholders               Corporate Internal
                                                                                                   Investigations
 The former Speaker of the New York Assembly in a federal criminal jury trial on
                                                                                                 Your Witness: Lessons
  charges of public corruption                                                                     on Cross-
                                                                                                   Examinations and
 A prominent doctor in a federal criminal jury trial on charges of health care fraud
                                                                                                   Life   General editor
 Several former NFL players in objecting to the fairness of the class action settlement of        and author
  the “Concussion Litigation”                                                                    Executive's Guide to
                                                                                                   Understanding the
 Several trustees and investors in Residential Mortgage Backed Securities trusts in a             Laws Behind White
  series of suits to recover for the diminution in the value to the trust as a result of the       Collar Crimes
  conduct of the parties originating the mortgage loans                                            Chapter author

 An Asian government in litigation in the United States and United Kingdom relating to          Successful Partnering
                                                                                                   Between Inside and
  an arbitral award based on a dispute concerning the construction of a power plant and
                                                                                                   Outside Counsel
  development of a mine                                                                            Chapter author
 A senior financial services executive in a federal criminal jury trial on charges of perjury   The Executive's Desk
  and obstruction of justice                                                                       Book on Corporate
                                                                                                   Risks and Response
 An inventor in prosecuting claims of patent infringement relating to real-time data              for Homeland
  technology                                                                                       Security
                                                                                                   Chapter author
 Several groups in successfully challenging New York City’s ban on super-sized sugary
  drinks                                                                                         Recent Articles
                                                                                                 Wrong, maybe. But is it
 A former pharmaceutical executive in prosecuting a whistleblower claim
                                                                                                   a crime? Hedgeworld
 An Israeli pharmaceutical manufacturer in prosecuting a $4+ billion claim for fraud and        Find a Career, Not a Job
  breach of contract based on its acquisition of a Mexican company                                  New York Law
                                                                                                    Journal Magazine
 A publicly traded media company in litigation relating to a $1.8 billion debt re-              To Fight or Not to Fight
  structuring                                                                                       New York Law
                                                                                                    Journal
 An investor seeking recovery of $800 million in losses on a “holder claim” based on the
  decline in stock value of one of the world’s largest banks during the financial crisis
 A former CEO of a publicly traded retailer in defending criminal securities fraud charges
 A former managing director of a leading investment bank in defending criminal
  securities fraud charges related to the sale of derivatives
 The former CEO of an auto manufacturer in connection with a DOJ investigation of U.S.
  environmental laws
 A private equity firm in a lawsuit over post-closing purchase price adjustments in
  connection with the sale of a portfolio company
 A global consulting firm in investigating a senior executive's misconduct
 A CEO of a leading financial services firm in a dispute with a former firm member
  concerning investments
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 28 of 217




                      Steven F. Molo

   Representative Matters                                                                        Professional
                                                                                                   Affiliations
 A leading insurance company in investigating fraud by a major vendor and related civil
                                                                                                 American Inns of Court
  litigation                                                                                       Foundation, Trustee
 A Fortune 500 company in prosecuting a legal malpractice case against an Am Law 50             United States Supreme
  firm                                                                                             Court Historical
                                                                                                   Society, Trustee
 A senior executive of a Japanese manufacturing company in a price-fixing investigation         New York Inn of Court,
  conducted jointly by USDOJ and the JFTC                                                          Member (Past Vice
                                                                                                   President, Executive
 A CDO management firm in connection with civil litigation and regulatory matters                 Committee)
  emanating from the global financial crisis
                                                                                                 Illinois Supreme Court
 A private Silicon Valley technology company in a bench trial against one of the world's            Rules Committee,
                                                                                                     Member (2004 -
  largest banks based on events arising from an m&a transaction
                                                                                                     2010)
 An investment bank in obtaining judgment in its favor and the reversal of a $1.6 billion       Seventh Circuit Bar
  jury verdict in a suit alleging fraud in connection with its role in a corporate acquisition     Association (Past
                                                                                                   President)
 A former senior executive of Bear Stearns in ERISA and securities litigation and related
                                                                                                 Federal Bar Council,
  matters                                                                                          Member (Courts
                                                                                                   Committee)
 A former CEO and private equity firm partner in obtaining dismissal of a federal
  indictment charging securities and bank fraud as well as obstruction of agency                 Chicago Inn of Court,
                                                                                                   Member (Past
  proceedings
                                                                                                   President)
 A former Foreign Service Officer and West Point graduate in a federal criminal jury trial      American, Illinois,
  on charges of bribery and conspiracy to facilitate the issuance of visas in violation of         Chicago Bar
  State Department policies                                                                        Association, Member
                                                                                                 American Bar
 The former CFO of a publicly traded technology company in a federal criminal jury trial,         Association, Trial
  regulatory, and civil proceedings based on alleged securities and accounting fraud               Attorney Advisory
                                                                                                   Board, Member
 A major broker-dealer in a civil jury trial in which a hedge fund claimed fraud in the
                                                                                                 Association of the Bar of
  sale of collateralized mortgage obligations
                                                                                                   the City of New York,
 A hedge fund in a suit in the Delaware Chancery Court challenging a gate and proposed            Member
  restructuring of another fund in which it invested                                             Scribes, The Society of
                                                                                                    Legal Writers,
 An entertainment company in a lengthy arbitration involving allegations of 10b-5                  Member
  violations and other claims following an acquisition                                           Economic Club of
                                                                                                    Chicago, Theodore
 The world’s largest insurance broker in a civil jury trial concerning senior executive            Roosevelt
  compensation                                                                                      Association, Member
 A leading real estate developer and its lender in a bench trial relating to a dispute with     University of Illinois
  a major tenant                                                                                   College of Law Board
                                                                                                   of Visitors, Member
 A lending syndicate in defending multi-billion dollar tort claims and in prosecuting a
  personal guaranty action against a prominent real estate developer (and reality TV
  show host) relating to financing of 92-story building in Chicago
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 29 of 217




                      Steven F. Molo

   Representative Matters

 Two non-U.S. financial institutions in connection with recovery actions and the defense
  of claims relating to Madoff
 The Illinois Senate relating to procedures for the impeachment trial of the Governor
 A non-US based insurance holding company in SEC and DOJ investigations into balance
  sheet fraud through finite reinsurance
 A New York real estate developer in investigating and reporting a ponzi scheme fraud
  perpetrated by the client’s former lawyer, the name partner of a prominent New York
  firm
 A senior mutual fund executive in an investigation by the SEC and New York Attorney
  General
 A midwest manufacturing company in an internal investigation and defense of an SEC
  investigation relating to insider trading
 A CEO in numerous shareholder and derivative actions, parallel SEC proceedings, and a
  trial before the bankruptcy court relating to allegations of fraud and breach of fiduciary
  duties following the discovery of accounting irregularities
 The nation’s largest bar review course provider in a civil antitrust class action alleging a
  price-fixing and market allocation conspiracy and a separate civil antitrust class action
  alleging product tying
 A national insurance company in defending a federal grand jury investigation, state
  regulatory inquiries, consumer class actions, whistle-blower allegations, and media
  scrutiny emanating from claims handling practices following a major natural disaster
 A midwest manufacturing company in a DOJ grand jury investigation into price-fixing in
  the market for certain building supplies
 A publicly traded insurance broker in multiple consumer class actions alleging civil
  antitrust and RICO violations, as well as Attorneys General and insurance regulatory
  investigations
 A national retailer in attempted nationwide consumer fraud class actions in multiple
  forums and Attorney General investigations
 A national publisher and sweepstakes company in an appeal of a class certification
  order in an attempted consumer class action
 A group of mortgage lenders in an appeal of an order challenging certain lending
  restrictions
 A major broker-dealer in an appeal in litigation relating to sales practices which
  resulted in a challenge to certain whistle-blower legislation
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 30 of 217




                      Steven F. Molo

   Representative Matters

 A majority shareholder of a public company in shareholder derivative litigation relating
  to Revlon duties and change of control
 An investment advisor and mutual fund company in a derivative suit alleging breaches
  of fiduciary duty relating to fund management
 A global pharmaceutical manufacturer in a federal grand jury investigation and civil
  litigation emanating from a foreign subsidiary’s falsification of information to the FDA
 A internet telephone services provider in patent infringement litigation relating to the
  company’s core technology
 A gaming company in defending allegations of trademark and trade dress infringement
  in injunction proceedings in the trial court
 A manufacturer of batteries in pursuing copyright, trademark, and trade dress claims
  relating to a well-known advertising campaign
 A licensor of an agribusiness technology in patent infringement litigation
 A rock star in defending copyright infringement allegations in the trial court and court
  of appeals
 A major political party in a trial before a three-judge federal district court relating to
  voter rights and legislative reapportionment issues
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 31 of 217




                      Exhibit 2
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 32 of 217




                             Thomas J. Wiegand

    Tom Wiegand is a trial lawyer who represents clients across the country in complex           Education
business litigation, class actions, white-collar criminal matters, personal and family trust     Harvard Law School,
                                                                                                    J.D., 1986
disputes, antitrust matters, and state and federal government investigations. Mr. Wiegand
                                                                                                 Yale College, B.A. in
wrote his third year thesis for Prof. Phillip Areeda, the author of the definitive treatise on      Economics, magna
antitrust law. After law school Mr. Wiegand worked with the negotiation think tank and              cum laude 1983
consulting business of Prof. Roger Fisher, author of Getting to Yes. Mr. Wiegand then            Honors
gained his litigation and trial experience over 20 years at Winston & Strawn LLP before          Illinois Super Lawyer,
joining MoloLamken in 2011.                                                                           2009-2016
                                                                                                 New York Super Lawyer,
                                                                                                   2015-2016
     Mr. Wiegand has represented both plaintiffs and defendants in complex business
                                                                                                 Bar and Court
litigation matters involving a wide variety of claims, including common law and UCC
                                                                                                   Admissions
contract claims, statutory and common law fraud, fiduciary duty, and myriad federal and
                                                                                                 New York
state statutory claims, including RICO, TILA, FCRA, the Lanham Act, the Sherman Act, and
                                                                                                 Illinois
various securities laws. He also has represented clients in numerous state and federal
                                                                                                 United States Courts of
class actions, including federal classes that are grouped through the federal Multidistrict         Appeals for the 2nd,
Litigation Panel, which have involved cutting edge procedural and substantive issues.               4th, 5th, 6th, 7th,
                                                                                                    11th, and Federal
                                                                                                    Circuits
   Representative Matters
                                                                                                 Professional
                                                                                                    Affiliations
 Obtaining summary judgment on behalf of a national moving company defeating claims
  in a putative class action under the Motor Carrier Act (Mervyn v. Nelson Westerberg            Board of Governors,
  and Atlas van Lines, 2016 WL 1270416 (N.D. Ill. Mar. 31,     2016))                               Seventh Circuit Bar
                                                                                                    Association
 Representing RMBS Trustees in repurchase claims against originators of subprime                Member, CPLR
  home mortgage loans based on breaches of representations and warranties                          Committee of the NY
                                                                                                   State Bar Association

 Obtaining at arbitration an order to refund client’s investment in a feature-length film       Member, Chicago Inn of
                                                                                                   Court
  project based on the Pulitzer Prize-winning book Interpreter of Maladies (April 2015)
                                                                                                 Member, American Bar
 Representing former NFL athletes in objecting to class settlement re concussions                 Association Litigation
                                                                                                   Section
 Obtaining favorable settlement for professional service firm against group of former           Served on the board of
  employees and their new employer for breach of fiduciary duty                                     the Antitrust and
                                                                                                    Unfair Competition
                                                                                                    Section of the Illinois
 Obtaining favorable settlement for group of Google employees who were sued by their               State Bar Association
  former employer Groupon relating to a non-compete agreement
                                                                                                 Serves on Board of Yale
                                                                                                    Crew Association
                                                                                                 Served as a board
                                                                                                    member of Over the
                                                                                                    Rainbow Association
                                                                                                    and of Joseph Sears
                                                                                                    School
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 33 of 217




                             Thomas J. Wiegand

   Representative Matters (cont.)

 Obtaining favorable settlement against ad agency and its client that infringed Car
  Freshner’s famous trademarks

 Defeating motion for class certification of a set of consolidated class actions involving
  the recall by the CPSC of over 4 million units of a children’s arts and crafts toy (In re
  Aqua Dots Products Liability, 270 F.R.D. 377 (N.D. Ill. 2010))

 Defeating named plaintiffs' motion for class certification involving claims of cyber-
  squatting relating to domain names on the Internet (Vulcan Golf LLC v. Google Inc.,
  254 F.R.D. 521 (N.D. Ill. 2008))

 Winning summary judgment dismissing the claims against all named plaintiffs seeking
  to represent a putative class of home equity borrowers in Alameda County, California,
  against a consumer finance company

 Winning dismissal of the claims of a putative class action relating to accessing credit
  report information to advertise for loans (Zawacki v. Discover Financial Services, 2007
  WL 625454 (N.D. Ill. 2007))

 Winning summary judgment dismissing all claims brought against UOP LLC by Archer
  Daniels Midland Company on UCC warranty theories

 Obtaining dismissal of a consumer class action against DaimlerChrysler in Cook County,
  Illinois (Evitts v. DaimlerChrysler, 834 N.E.2d 942)

 Defending Lear Corporation in federal court jury trial over a $75 million contract claim
  by a supplier

 Obtaining summary judgment against plaintiffs in Jefferson County, Mississippi, on
  behalf of a consumer finance company in a “mass joinder” fraud action

 Obtaining dismissal by the court of a federal RICO count at the conclusion of a six-week
  criminal trial (U.S. v. Serpico, 2001 WL 803703)

 Representing Sears, Roebuck and Co. in several putative national consumer class action
  lawsuits and state attorney general investigations (including Poe v. Sears, 1998 WL
  113561; Kelly v. Sears, 720 N.E.2d 683; and Feuerman v. Sears, 1996 WL 648966)

 Representing Reader’s Digest in its successful Illinois appeal that reversed a trial court’s
  class certification decision

 Representing Interstate Brands in a 22-state product recall of Twinkies and other snack
  cakes due to allegations of improper asbestos removal from the bakery (including class
  actions and government investigations)
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 34 of 217




                            Thomas J. Wiegand

   Representative Matters (cont.)

 Successfully representing Interstate Brands in a DOJ antitrust division contest of the
  1995 acquisition of Continental Baking

 Defending Gateway, Inc. in a putative national class action of purchasers of a certain
  PC configuration, which concluded successfully when the trial court’s certification of a
  nationwide class was overridden by the Seventh Circuit’s direction that an arbitration
  clause had to be enforced and that a class arbitration was not permissible (Hill v.
  Gateway, 105 F.3d 1147).
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 35 of 217




                             Martin V. Totaro

   Martin Totaro focuses his practice on all aspects of appellate litigation in the federal     Clerkships
courts of appeals and the U.S. Supreme Court. He also assists clients with motions practice     Law clerk to the
and issue analysis at the trial level. He has represented corporations in various industries,     Honorable D. Brooks
business associations, individual criminal defendants, and veterans.                              Smith, United States
                                                                                                  Court of Appeals for
                                                                                                  the Third Circuit
   Prior to joining MoloLamken, Mr. Totaro was an associate at Baker Botts. He also
served as law clerk to the Honorable D. Brooks Smith of the United States Court of              Education
Appeals for the Third Circuit.                                                                  University of Virginia
                                                                                                  School of Law, J.D.,
   Representative Matters                                                                         2006
                                                                                                Articles Editor, Virginia
 Major energy corporation in merits-stage briefing in the U.S. Supreme Court in a case            Law Review
  involving the requirements for class certification in a securities fraud suit                 University of Chicago,
                                                                                                  M.A., 2003
 Group of leading corporations in amicus briefs in the U.S. Supreme Court at the               State University of New
  certiorari- and merits-stage in a case involving the standard for class certification            York at Binghamton,
  pursuant to Federal Rule of Civil Procedure 23(a)                                                B.A., 2002
                                                                                                Summa cum laude
 Group of 14 public pension funds and an association of over 120 pension funds in an
  amicus brief in the D.C. Circuit in a case involving SEC proxy access rules                   Bar and Court
                                                                                                  Admissions
 Instrumentality of a foreign government in certiorari-stage briefing in the U.S. Supreme      District of Columbia
  Court in a case involving the scope of the Terrorism Risk Insurance Act of 2002
                                                                                                Virginia
 Individual criminal defendant in district court litigation involving alleged violations of
                                                                                                United States Courts of
  the Federal Election Campaigns Act                                                              Appeals for the 3rd,
                                                                                                  4th, and Federal
 Professional association of federal judges in an amicus brief in the U.S. Supreme Court         Circuits
  in a case involving the U.S. Constitution’s Compensation Clause
                                                                                                United States District
                                                                                                  Court for the Eastern
 Major energy corporation in certiorari-stage briefing in the U.S. Supreme Court in a            District of Texas
  case involving the due- process limits to punitive damages
                                                                                                Publications
 Major competitive local exchange carrier in a certiorari-stage briefing in the U.S.           “Local Jurisdiction over
  Supreme Court in a case involving reciprocal compensation requirements of the 1996               Foreign Companies,”
  Telecommunications Act                                                                           Executive Counsel,
                                                                                                   2012 (with Robert K.
 Vietnam veteran in the U.S. Court of Appeals for the Federal Circuit in a case involving         Kry)
  denial of veteran’s benefits; in the Federal Circuit as amicus in a case raising the          “Legal Positivism,
  same legal issue (briefed and argued); and in the U.S. Supreme     Court as counsel of           Constructivism, and
                                                                                                   International Human
  record, filing an amicus brief on his behalf
                                                                                                   Rights Law,” Virginia
                                                                                                   Journal of Int’l Law,
                                                                                                   2008
                                                                                                Book Review, “The Other
                                                                                                  Path of
                                                                                                  Neoconservatism,”
                                                                                                  Virginia Journal of Int’l
                                                                                                  Law, 2007
                                                                                                Note, “Modernizing the
                                                                                                  Critique of Per Diem
                                                                                                  Pain and Suffering
                                                                                                  Damages,” Virginia Law
                                                                                                  Review, 2006
                                                                                                Professional Affiliations
                                                                                                Member, Edward Coke
                                                                                                  Appellate Inn of Court
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 36 of 217




                             Eric R. Nitz

     Eric Nitz’s practice focuses on white collar criminal investigations, complex civil      Clerkships
litigation, patent litigation, and appellate litigation.   He has represented senior          Law clerk to the
governmental and corporate officials in investigations by the Department of Justice,            Honorable Joel M.
various inspectors general, and Congress. He has briefed appeals before the Federal,            Flaum, United States
Third, and D.C. Circuits. He has drafted dispositive and evidentiary motions in district        Court of Appeals for
                                                                                                the Seventh Circuit
courts across the country.
                                                                                              Education
    Prior to joining MoloLamken, Mr. Nitz served as a law clerk to the Honorable Joel M.
                                                                                              Georgetown University
Flaum of the United States Court of Appeals for the Seventh Circuit. He also worked as an       Law Center, J.D.,
associate in the Washington, D.C. office of Winston & Strawn LLP.                               2011, magna cum
                                                                                                laude
    Before attending law school, Mr. Nitz was a high school science teacher and assistant     Order of the Coif
track and field coach.
                                                                                              The Georgetown Law
                                                                                                Journal
   Criminal and Congressional Investigations
                                                                                              Leahy Moot Court
                                                                                                 Competition, 2009,
 Secret Service official in parallel investigations by Congress and Department of
                                                                                                 Finalist
  Homeland Security into handling of White House security breach
                                                                                              National First
                                                                                                Amendment Moot
 Department of Homeland Security official in connection with investigation into Anti-          Court Competition,
  Deficiency Act violation                                                                      2010, Quarterfinalist
                                                                                              Georgetown University,
 Employees of large software company in connection with accounting fraud and                   M.P.P., 2011
  securities fraud investigations by DOJ and SEC
                                                                                              University of Notre
                                                                                                Dame, M.Ed., 2007
 Senior Department of Veterans Affairs official in connection with parallel investigations
  by Congress, DOJ, and the Department of Veterans Affairs inspector general                  University of Notre
                                                                                                Dame, B.S., 2007,
                                                                                                magna cum laude,
 Senior executive branch official in connection with gratuities and false statements           biological sciences
  investigation by DOJ
                                                                                              Bar and Court
                                                                                                Admissions
 Senior Department of Veterans Affairs official in connection with inspector general
  investigation into improper contracting practices                                           District of Columbia
                                                                                              Virginia
 Senior IRS official in connection with inspector general investigation regarding            United States Supreme
  improper use of government information technology                                             Court
                                                                                              United States Courts of
 Former senior National Weather Service official in connection with congressional              Appeals for the 7th,
  investigation into allegations of conflict-of-interest                                        D.C., and Federal
                                                                                                Circuits
 Senior ATF official in connection with Department of Justice inspector general              United States District
  investigation into disclosure of ATF documents                                                Courts for the District
                                                                                                of Columbia and the
 Senior OPM official in connection with congressional investigation into data breach of        Eastern District of
                                                                                                Virginia
  the federal government

 High-ranking political operative in connection with Department of Justice investigation
  into allegations of wire fraud
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 37 of 217




                              Eric R. Nitz

   Complex Civil and Patent Litigation                                                            Publications
                                                                                                  Navigating Overseas
 Large Middle Eastern aviation support company in multidistrict tort litigation                    Discovery: Beware
                                                                                                    the Dangers of
                                                                                                    Foreign Law, Nat’l
 Retired NFL football players objecting to class action settlement in multidistrict tort           L.J., May 20, 2014
  litigation                                                                                        (with Robert K. Kry)
                                                                                                  Note, Comparing Apples
 IRS officials in constitutional tort action under Bivens involving alleged violations of the      to Apples: A
  First Amendment and Fifth Amendment                                                               Federalism-Based
                                                                                                    Theory for the Use of
 Small laundry detergent        manufacturer    and   patent   holder   in   multiple   patent     Founding-Era State
  infringement lawsuits                                                                             Constitutions To
                                                                                                    Interpret the
                                                                                                    Constitution, 100
   Appellate Matters                                                                                Geo. L.J. 295 (2011)

 Cot’n Wash v. The Sun Products Corp., No. 14-1805 (Fed. Cir.) – Drafted briefs on
  behalf of patent licensee in appeal from claim construction ruling

 In re NFL Players Concussion Litigation, No. 15-2304 (3d Cir.) – Drafted briefs
  challenging final approval of class action settlement

 Linchpins of Liberty v. United States, No. 15-5013 (D.C. Cir.) – Drafted briefs
  successfully defending dismissal of Bivens action brought against IRS official

 True the Vote v. IRS, No. 14-5316 (D.C. Cir.) – Drafted briefs and presented oral
  argument successfully defending dismissal of Bivens action brought against IRS officials

 Helman v. Department of Veterans Affairs, No. 15-3086 (Fed. Cir.) – Drafted briefs and
  presented oral argument challenging the constitutionality of the Veterans Access,
  Choice, and Accountability Act under the Appointments Clause

 Drone Technologies, Inc. v. Parrot S.A., No. 15-1892 (Fed. Cir.) – Drafted briefs on
  behalf of defendant drone manufacturer in successful appeal from default judgment
  and damages trial for patent infringement
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 38 of 217




                             Kaitlin R. O’Donnell

   Kaitlin O'Donnell's practice focuses on complex civil litigation, white collar matters, and   Clerkships
appellate litigation.                                                                            Law clerk to the
                                                                                                   Honorable Juan R.
    Prior to joining MoloLamken, Ms. O'Donnell served as a law clerk to the Honorable Juan         Torruella, United
R. Torruella of the United States Court of Appeals for the First Circuit. She also served as       States Court of
                                                                                                   Appeals for the First
a law clerk to the Honorable Joseph F. Bianco of the United States District Court for the
                                                                                                   Circuit
Eastern District of New York. Before her clerkships, Ms. O'Donnell was an associate with
the Boston office of Choate Hall & Stewart LLP, worked with the Argentine law firm of M. &       Law clerk to the
M. Bomchil, and served as a research assistant for Professor William W. Park, an                   Honorable Joseph F.
international arbitrator. Ms. O'Donnell is fluent in Spanish and Portuguese.                       Bianco, United States
                                                                                                   District Court for the
                                                                                                   Eastern District of
                                                                                                   New York

                                                                                                 Education

                                                                                                 Boston University School
                                                                                                   of Law, J.D., 2009,
                                                                                                   cum laude
                                                                                                 Edward F. Hennessey
                                                                                                   Distinguished Scholar
                                                                                                 Managing Editor, Boston
                                                                                                   University
                                                                                                   International Law
                                                                                                   Journal
                                                                                                 Second Place Best
                                                                                                   Oralist, Northeast
                                                                                                   Super Regional, Philip
                                                                                                   C. Jessup
                                                                                                   International Law
                                                                                                   Moot Court
                                                                                                   Competition
                                                                                                 Frankfurt Investment
                                                                                                    Arbitration Moot
                                                                                                    Court Team
                                                                                                 Georgetown University,
                                                                                                   M.S. 2006
                                                                                                 Phi Beta Kappa
                                                                                                 Georgetown University,
                                                                                                   B.A. 2005, magna
                                                                                                   cum laude
                                                                                                 John Carroll Scholar
                                                                                                 Portuguese Honor
                                                                                                    Society
                                                                                                 Bar and Court
                                                                                                   Admissions
                                                                                                 California
                                                                                                 Massachusetts
                                                                                                 New York
                                                                                                 United States Court of
                                                                                                   Appeals for the 1st
                                                                                                   Circuit
                                                                                                 United States District
                                                                                                   Courts for the District
                                                                                                   of Massachusetts,
                                                                                                   Southern District of
                                                                                                   New York, and
                                                                                                   Eastern District of
                                                                                                   New York
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 39 of 217




                             Rayiner Hashem

   Rayiner Hashem's practice focuses on complex civil litigation and patent litigation.      Clerkships
                                                                                             Law clerk to the
   Mr. Hashem has served as a law clerk to the Honorable Dolores K. Sloviter of the            Honorable Dolores K.
United States Court of Appeals for the Third Circuit. During law school, he also served as     Sloviter, United
law clerk to former Commissioner Meredith A. Baker of the Federal Communications               States Court of
                                                                                               Appeals for the Third
Commission.
                                                                                               Circuit

   Mr. Hashem holds a B.S. in Aerospace Engineering from the Georgia Institute of            Education
Technology. Before attending law school, he was a software engineer at a wireless
                                                                                             Northwestern University
technology R&D firm.
                                                                                               School of Law, J.D.,
                                                                                               2012, magna cum
                                                                                               laude
                                                                                             Associate Editor,
                                                                                               Northwestern Journal
                                                                                               of Technology and
                                                                                               Intellectual Property
                                                                                             Georgia Institute of
                                                                                               Technology, B.S.,
                                                                                               2007
                                                                                             Bar and Court
                                                                                               Admissions
                                                                                             New York
                                                                                             Illinois
                                                                                             District of Columbia,
                                                                                                admission pending
                                                                                                (practicing under
                                                                                                Rule 49(c)(8))
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 40 of 217




                      Exhibit 3
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 41 of 217




              Summary of Issues Raised by Objectors Represented by Counsel

       Table 1 below lists the issues raised by all objectors who were represented by counsel.1
The issues that were addressed – at least in part – by the Final Settlement are identified in bold.
Counsel for each objector or objector group are listed in Table 2.

Table 1: Summary of Issues

               Issue/Argument                     Objector(s) Who Raised the Issue/Argument
Insufficient $75-Million BAP Cap                 Faneca, Duerson
Failure To Credit NFL Europe Play                Faneca, Alexander, Heimburger, Jones, Slack
Failure To Compensate CTE After the              Faneca, Alexander, Armstrong, Chesley,
Date of Preliminary Approval                     Duerson, Jones, Miller
Unfairness of Appeals Process                    Faneca, Alexander, Armstrong, Duerson
Unavailability of Medical Records Due to         Williams
Force Majeure Events
Burdensome Process for BAP Participation         Faneca, Armstrong
Burdensome Process for Filing Claims             Faneca, Alexander, Armstrong Heimburger,
                                                 Komlo
Improper and Underinclusive Test Battery         Faneca, Armstrong, Duerson
75% Reductions for Stroke or non-NFL TBI         Faneca, Alexander, Armstrong, Barber,
                                                 Duerson
Failure To Compensate Mood and Behavioral        Faneca, Armstrong, Barber, Duerson,
Symptoms of MTBI                                 Heimburger
Lack of Discovery and Lack of Evidentiary        Faneca, Alexander, Armstrong, Duerson
Support for the Settlement
Inadequate Notice                                Faneca, Alexander, Duerson, Heimburger,
                                                 Miller, Morrison
Settlement Freezes Science in Place              Faneca, Alexander, Armstrong, Duerson
Clear-Sailing Provision and Excessive            Faneca, Alexander, Armstrong, Heimburger,
Attorneys’ Fees                                  Miller
Award Reductions for Age and Career Length       Alexander, Armstrong, Barber, Duerson
Compensation Depends on Date of Diagnosis        Barber, Duerson, Owens
Instead of Date of Onset of Symptoms
Education Fund Is a Cy Pres Award                Alexander, Armstrong, Heimburger
Underinclusive “Eligible Seasons” Definition     Slack, Stewart
Insufficient Maximum Monetary Awards             Alexander, Armstrong
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 42 of 217




              Issue/Argument                         Objector(s) Who Raised the Issue/Argument
Inadequate Opt-Out Procedure                     Duerson, Utecht
Failure To Compensate Other MTBI-Related         Duerson
Diseases (e.g. Epilepsy or Multiple Sclerosis)
Settlement Agreement Is Vague/Ambiguous          Alexander, Utecht
Failure To Account for Tolling of Statute of     Kinard, Williams
Limitations
Class Lacks Typicality                           Heimburger
Lack of Security for NFL’s Payment               Utecht
Obligations
Arbitrary Limit on Wrongful Death Damages        Duerson



1
  Objections were filed by counsel on behalf of: Liyongo Alexander et al. (Dkt. 6237), Ramon
Armstrong et al. (Dkts. 6233, 6503), Michael Barber et al. (Dkt. 6226), Aloyouis Chesley et al.
(Dkts. 6242, 6453), David Duerson et al. (Dkts. 6241, 6456), Craig and Dawn Heimburger (Dkt.
6230), James Jax (Dkt. 6236), Preston and Katherine Jones (Dkt. 6235), Frank Kinard (Dkt.
6219), Williams Komlo (Dkt. 6222), Cleo Miller et al. (Dkts. 6213, 6452, 6484), Susan Owens
(Dkt. 6210), Reginald Slack and Matthew Rice (Dkt. 6223, 6431), Andrew Stewart (Dkt. 6175),
Benjamin Utecht (Dkts. 6243, 6437), and Delano Williams (Dkts. 6221, 6433). Many objections
incorporated the Faneca Objectors’ filings by reference. See Dkt. 6237 at 4 (Alexander); Dkt.
6242 at 6 n.4 (Chesley); Dkt. 6241 at 34 (Duerson); Dkt. 6230 at 7-8 (Heimburger); Dkt. 6235 at
2 (Jones); 6213 at 1 (Miller). The table above lists only issues or arguments raised directly by
each objector.




                                                 2
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 43 of 217




Table 2: Counsel for Objectors

        Objector(s)                     Law Firm(s)                 Lead Attorney(s)
Liyongo Alexander et al.      Lubel Voyles LLP, Washington &   Lance H. Lubel, Adam
                              Associates PLLC, McGinnis        Voyles, Mickey Washington
                              Featherston & Canady
Ramon Armstrong et al.        Coffman Law Firm                 Richard L. Coffman
Michael Barber et al.         Edward Stone Law PC              Marc Davies
Aloyouis Chesley et al.       Zuckerman Spaeder LLP            Dwight P. Bostwick
David Duerson et al.          Corboy & Demetrio, PC            Thomas A. Demetrio,
                                                               William Gibbs
Craig and Dawn                                                 Glenn Manochi, Gary
Heimburger                                                     Lightman
James Jax                     Boesen Law, LLC                  Christopher K. Gilbert
Preston and Katherine Jones   Capretz & Associates             Don K. Ledgard
Frank Kinard                  Klamann Law Firm, Humphrey       Paul D. Anderson
                              Farrington & McClain, The
                              Popham Law Firm
Williams Komlo                The Shah Law Firm                Parag Shah
Cleo Miller et al.                                             John J. Pentz
Susan Owens                   Edward Stone Law PC              Marc Davies
Reginald Slack and            The Shah Law Firm                Parag Shah
Matthew Rice
Andrew Stewart                Rosenthal Lurie LLC              Michael Rosenthal
Benjamin Utecht               Guardian Law Group LLC           Scott D. Hillstrom
Delano Williams               The Shah Law Firm                Parag Shah




                                             3
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 44 of 217




                      Exhibit 4
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 45 of 217




                              Jeffrey A. Lamken
    Jeffrey Lamken, a nationally recognized appellate practitioner, has argued 22 cases
before the U.S. Supreme Court and briefed dozens more on a wide range of topics,                  Honors & Awards

including administrative law, the First Amendment, antitrust, bankruptcy, civil rights,           Recognized as a leading
                                                                                                     appellate practitioner,
criminal procedure, energy, intellectual property, searches and seizures, separation of              Chambers USA Guide to
powers, and telecommunications. He has also handled matters in virtually all the federal             America’s Leading
                                                                                                     Business Lawyers,
courts of appeals and many state appellate courts. Mr. Lamken also develops, briefs, and             2005-2015 (appellate)
argues critical motions in significant trial matters.                                             Listed in The Best Lawyers
                                                                                                      in America, 2006-2015
   Before founding MoloLamken, Mr. Lamken headed Baker Botts’ Supreme Court and                   Recognized as a
Appellate Practice in Washington, D.C. Mr. Lamken has served as an Assistant to the                  “Washington D.C. Super
Solicitor General in the U.S. Department of Justice, and was a partner in the Washington             Lawyer” by Law &
                                                                                                     Politics, 2007-2015
D.C. litigation boutique Kellogg Huber & Hansen.
                                                                                                  Named to the “Fab Fifty”
                                                                                                    list of 50 most
   Since 2005, Mr. Lamken has been recognized each year by Chambers & Partners Guide                promising young
of America’s Leading Business Lawyers (Nationwide) as a top appellate practitioner. The             litigators under 45 by
                                                                                                    American Lawyer, 2007
2015 edition calls him a “really outstanding” practitioner, who is “incredibly knowledgeable
                                                                                                  Washingtonian Top
and quick to understand issues,” noting that “he is a fierce advocate” with a “very
                                                                                                    Lawyers 2007, 2009,
detailed” approach. The 2014 edition describes him as “a real leading player — a superstar          2011-2014
lawyer.” In the 2011 edition, peers lauded Mr. Lamken as “a wonderfully talented
                                                                                                  Named to the LawDragon
appellate lawyer” and “a joy to work with.”                                                         500 Leading Lawyers in
                                                                                                    America
   Selected Cases Argued Before the United States Supreme Court
                                                                                                  Clerkships
 Hasty v. Abbasi, No. 15-1363 (to be argued Jan. 18, 2017) (whether a Bureau of                  Law clerk to the Honorable
  Prisons associate warden may be liable for constitutional torts under Bivens for                  Sandra Day O’Connor,
  alleged violations of free exercise, due process, equal protection, and unreasonable              United States Supreme
                                                                                                    Court
  searches)
                                                                                                  Law clerk to the Honorable
 Bank Markazi v. Peterson, 136 S. Ct. 1310 (2016) (whether a statute that effectively              Alex Kozinski, United
  directs a particular result in a single pending case violates the separation of powers)           States Court of Appeals
                                                                                                    for the Ninth Circuit
 First Am. Fin. Corp. v. Edwards, cert. dismissed as improvidently granted, 132 S. Ct.
  2536 (2012) (representing respondent) (whether Section 8 of the Real Estate                     Education
  Settlement Procedures Act of 1974 gives purchasers standing to sue title insurers               Stanford Law School, J.D.,
  under Article III, § 2 of the U.S. Constitution absent an allegation that the title insurers’      1990
  statutory violations had any impact on the price or quality of the services)                    Nathan Abbott Scholar

 Mac’s Shell Serv., Inc. v. Shell Oil Prods. Co. LLC, 559 U.S. 175 (2010) (whether a             Order of the Coif
  franchisee may recover for “constructive termination” or “constructive nonrenewal”              Senior Editor, Stanford
  under the Petroleum Marketing Practices Act when the franchisee continues to operate              Law Review
  the franchise)                                                                                  Haverford College, B.A.,
                                                                                                    1986, magna cum
 Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477 (2010) (whether               laude, political science
  the Sarbanes-Oxley Act, which created the Public Company Accounting Oversight                   Dep’t Prize in Mathematics
  Board, violates separation of powers or the Appointments Clause of Constitution)
                                                                                                  Phi Beta Kappa
 NRG Power Mktg., LLC v. Maine Pub. Utils. Comm’n, 558 U.S. 165 (2010) (whether the              Kurzman Prize
  Mobile-Sierra doctrine, which protects the integrity of wholesale energy contracts,
  applies when a rate set by contract is challenged by an entity that was not a party to
  the contract)
 BP Am. Prod. Co. v. Burton, 549 U.S. 84 (2006) (whether the limitations period in 28
  U.S.C. § 2415(a) applies to federal agency orders requiring the payment of money
  claimed under a lease or other agreement)
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 46 of 217




                            Jeffrey A. Lamken

   Selected Party Briefs in the United States Supreme Court                                  Bar and Court
                                                                                               Admissions
 Mohamad v. Palestinian Auth., 132 S. Ct. 1702 (2012) (whether the term “individual”        District of Columbia
  in the Torture Victim Protection Act limits suits to natural persons)
                                                                                             California
 Erica P. John Fund, Inc. v. Halliburton Co., 131 S. Ct. 2179 (2011) (whether private       United States Supreme
  securities fraud plaintiffs must prove loss causation to obtain class certification)          Court

 Jones v. Harris Assocs., 559 U.S. 335 (2010) (establishing the standard for                United States Courts of
                                                                                                Appeals for the 1st,
  determining whether an investment adviser’s fees violate its statutory fiduciary duty to      2nd, 3rd, 4th, 5th,
  the fund it manages)                                                                          6th, 7th, 8th, 9th,
                                                                                                10th, 11th, D.C.,
   Selected Amicus Briefs in the United States Supreme Court                                    and Federal Circuits
                                                                                             United States District
 Comptroller v. Wynne, 135 S. Ct. 1787 (2015) (brief of amicus curiae U.S. Chamber of
                                                                                                Courts for the
  Commerce addressing whether a State can tax its residents on out-of-state income              District of Columbia,
  without providing a credit for out-of-state taxes)                                            the Northern District
                                                                                                of California, and the
 Am. Broad. Cos. v. Aereo, Inc., 134 S. Ct. 2498 (2014) (brief of amicus curiae                Eastern District of
  Cablevision Systems Corp. in a copyright challenge to Aereo’s Internet television             Texas
  retransmission service)                                                                    Professional
                                                                                                Affiliations
 Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120 (2014) (brief of amicus
  curiae Yahoo! Inc. and other high-tech companies addressing the degree of                  American Academy of
  particularity required for patent claims)                                                    Appellate Lawyers
                                                                                             Member, Edward Coke
 Alice Corp. Party Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347 (2014) (brief of amici curiae      Appellate Inn of
  Microsoft Corporation, Adobe Systems Inc., and Hewlett-Packard Company addressing            Court
                                                                                             Member, American Bar
  the patent eligibility of computer-implemented inventions under § 101 of the Patent          Association Litigation
  Act)                                                                                         Section
 Octane Fitness, LLC v. Icon Health & Fitness, Inc., 134 S. Ct. 1749 (2014), & Highmark
  Inc. v. Allcare Health Management Systems Inc., 134 S. Ct. 1744 (2014) (brief of amici
  curiae Yahoo! Inc. and other high-tech companies addressing the “exceptional case”
  standard for fee-shifting under § 285 of the Patent Act)
 EPA v. EME Homer City Generation, LP, 133 S. Ct. 2857 (2013) (brief of amicus curiae
  Chamber of Commerce in a suit challenging the EPA’s rules implementing the interstate
  pollution restrictions of the Clean Air Act)
 Ass’n for Molecular Pathology v. Myriad Genetics, 133 S. Ct. 2107 (2013) (brief of
  amicus curiae The Coalition for 21st Century Medicine addressing the patent eligibility
  of isolated human DNA under § 101 of the Patent Act)
 Genesis HealthCare Corp. v. Symczyk, 133 S. Ct. 1523 (2012) (brief of amicus curiae
  DRI — The Voice of the Defense Bar addressing whether a case becomes moot, and
  thus beyond the judicial power of Article III, when the lone plaintiff is offered a
  payment that would satisfy all of the plaintiff’s claims)
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 47 of 217




                            Jeffrey A. Lamken

   Selected Amicus Briefs in the United States Supreme Court (continued)
 Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541 (2011) (brief of amici curiae Altria
  Group and other leading U.S. companies addressing the need for significant proof of a
  general policy of discrimination to certify an employment-discrimination class action)
 Altria Grp. v. Good, 555 U.S. 70 (2008) (brief of amicus curiae Chamber of Commerce
  addressing whether federal law preempts state-law fraud challenges to FTC-authorized
  statements in cigarette advertising)
 Morgan Stanley Capital Grp. v. Pub. Util. Dist. No. 1 of Snohomish County, 554 U.S.
  527 (2008) (brief of amici curiae economics professors addressing the standard for
  abrogation of long-term energy contracts under Mobile-Sierra doctrine)
 Weyerhaeuser Co. v. Ross-Simmons Hardwood Lumber Co., 549 U.S. 312 (2007) (brief
  of amici curiae timberland owners and managers addressing whether predatory-bidding
  antitrust claims require proof of recoupment)

   Representative Matters in the Courts of Appeals
 Drone Techs., Inc. v. Parrot S.A. and Parrot Inc., 838 F.3d 1283 (Fed. Cir. 2016)
  (whether the district court abused its discretion in entering a default judgment on
  liability as a discovery sanction)
 McRo, Inc. v. Bandai Namco Games Am., Inc., 837 F.3d 1299 (Fed. Cir. 2016)
  (whether a patent for automatically animating the lip synchronization and facial
  expressions of animated characters was directed at an unpatentable abstract idea)
 Rubin v. Islamic Rep. of Iran, 830 F.3d 470 (7th Cir. 2016) (whether 28 U.S.C.
  §1610(g) provides a freestanding attachment immunity exception; whether 28 U.S.C.
  §1610(a) applies to a foreign sovereign’s property located in the United States only
  when the property is used by the foreign state itself)
 Hourani, et al. v. Mirtchev, et al., 796 F.3d 1 (D.C. Cir. 2015) (whether the
  Racketeering Influenced and Corrupt Organizations Act extends to alleged conspiracy
  to commit extortion abroad)
 Versata Dev. Grp., Inc. v. SAP Am., Inc., 793 F.3d 1306 (Fed. Cir. 2015) (whether the
  Patent and Trademark Office properly defined covered business method patents subject
  to transitional review proceedings; whether claim preclusion applies in such
  proceedings; and whether patent for a computerized pricing engine is directed to
  patent-eligible subject matter)
 Turkmen v. Hasty, 789 F.3d 218 (2d Cir. 2015) (whether a Bureau of Prisons associate
  warden may be liable for constitutional torts under Bivens for alleged violations of free
  exercise, due process, equal protection, and unreasonable searches)
 Soverain Software LLC v. Victoria’s Secret, 778 F.3d 1311 (Fed. Cir. 2015) (whether
  appellate decision sua sponte holding patent claims invalid has issue-preclusive effect
  in later litigation)
 United States ex rel. Nathan v. Takeda Pharm. N. Am., Inc., 707 F.3d 451 (4th Cir.
  2013) (whether pharmaceutical company’s promotion of a drug for off-label purposes
  caused false claims to be presented to the government in violation of the False Claims
  Act), cert. denied, 134 S. Ct. 1759 (2014)
  Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 48 of 217




                             Jeffrey A. Lamken

   Representative Matters in the Courts of Appeals (continued)
 Rambus Inc. v. Rea, 527 F. App’x 902 (Fed. Cir. 2013) (whether substantial evidence
  supports Patent and Trademark Office finding that 25 patent claims were anticipated
  by an earlier patent)
 Beer v. United States, 696 F.3d 1174 (Fed. Cir. 2012) (en banc) (brief of amicus curiae
  Federal Judges Association addressing cost-of-living adjustments for Article III judges),
  cert. denied, 133 S. Ct. 1997 (2013)
 United States v. Danielczyk, 683 F.3d 611 (4th Cir. 2012) (whether, following Citizens
  United, the Federal Election Campaign Act’s categorical ban on corporate contributions
  to candidates violates the First Amendment), cert. denied, 133 S. Ct. 1459 (2013)
 Therasense, Inc. v. Becton, Dickinson & Co. and Bayer Healthcare LLC, 649 F.3d 1276
  (Fed. Cir. 2011) (en banc) (whether the elements of inequitable conduct should be
  made more exacting with respect to intent, materiality, and causation, and by
  excluding a “balancing” approach)
 Tivo Inc. v. Echostar Corp., 646 F.3d 869 (Fed. Cir. 2011) (en banc) (brief of amicus
  curiae Association for Competitive Technology addressing the standard for judicial
  enforcement of patent injunctions)
 Arar v. Ashcroft, 585 F.3d 559 (2d Cir. 2009) (en banc) (whether Bivens and the
  Torture Victim Prevention Act allow a foreign national claiming to have been tortured by
  foreign officials abroad to sue U.S. officials for alleged complicity), cert. denied, 560
  U.S. 978 (2010)
 Cartoon Network LP v. CSC Holdings, Inc., 536 F.3d 121 (2d Cir. 2008) (whether cable
  company’s remote-storage DVR infringes appellees’ copyrights by allowing customers
  to record programming and store their recordings in a remote location), cert. denied,
  129 S. Ct. 2890 (2009)
 AES Sparrow Point LNG, LLC v. Smith, 527 F.3d 120 (4th Cir. 2008) (whether county
  law making it illegal to build a liquefied natural gas terminal in a particular location is
  preempted by the Natural Gas Act), cert. denied, 555 U.S. 888 (2008)
 Kirch v. Liberty Media Corp., 449 F.3d 388 (2d Cir. 2006) (whether statements about a
  third-party can support a defamation claim and whether plaintiff proved claims of
  tortious interference with contract and prospective economic advantage)
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 49 of 217




                      Exhibit 5
                                                                             Summary of Time and Fees

                                   MoloLamken LLP
Reporting Period:                  September 3, 2013 ‐ November 30, 2016

         Timekeeper                   Professional Level                     Total Hours                                   Rate                           Total Billing Amount
Molo, Steven                       PT                                                             723.6                                   $1,250                       $904,500.00
Lamken, Jeffrey                    PT                                                               9.0                                   $1,000                          $9,000.00
Wiegand, Tom                       PT                                                           1,253.8                                    $900                       $1,128,420.00
Kry, Robert                        PT                                                               7.6                                    $900                           $6,840.00
Pattillo, Michael                  PT                                                              16.7                                    $825                          $13,777.50
DeVooght, Andrew                   PT                                                              15.6                                    $825                          $12,870.00
Totaro, Martin                     PT                                                             623.6                                    $825                        $514,470.00
Quarmby, Ben                       PT                                                              78.2                                    $825                          $64,515.00
Weiner, Justin                     A                                                               94.4                                    $625                          $59,000.00
Bernie, Andrew                     A                                                               11.5                                     $625                          $7,187.50
Ellis, Justin                      A                                                                7.4                                    $625                           $4,625.00
Melendez, Joel                     A                                                                2.0                                    $625                           $1,250.00
Nitz, Eric                         A                                                            1,089.3                                     $495                        $539,203.50
O'Donnell, Kaitlin                 A                                                              590.1                                    $495                        $292,099.50
Hashem, Rayiner                    A                                                              486.5                                     $495                        $240,817.50
Shah, Hassan                       A                                                               24.5                                    $495                          $12,127.50
Deininger, Emily                   A                                                               17.2                                    $495                           $8,514.00
Walker, Lucas                      A                                                               12.1                                    $495                           $5,989.50
Michaeli, Daniel                   A                                                                6.1                                    $495                           $3,019.50
Barta, James                       A                                                                4.7                                    $495                           $2,326.50
Weinstein, Lauren                  A                                                                4.5                                    $495                           $2,227.50
Klein, Jeff                        A                                                              211.9                                    $425                          $90,057.50
DeMaio, Stephen                    A                                                               99.0                                    $425                          $42,075.00
Sivakumaran, Gajan                 A                                                               58.7                                    $425                          $24,947.50
Swanson, Amanda                    PR                                                             154.1                                    $195                          $30,049.50
Atkins, Sarah                      PR                                                             141.1                                    $195                          $27,514.50
Havriliak, Anya                    PR                                                             119.6                                    $195                          $23,322.00
Caros, Nicholas                    PR                                                              37.9                                    $195                           $7,390.50
Graylin, Jack                      PR                                                              30.0                                    $195                           $5,850.00
Molo, Julia                        PR                                                              16.0                                    $195                           $3,120.00
                                                                                                                                                                                          Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 50 of 217




Hine, Nicholas                     PR                                                              14.6                                    $195                           $2,847.00
Chung, Tammy                       PR                                                              13.9                                    $195                           $2,710.50
Che, Erica                         PR                                                              11.7                                    $195                           $2,281.50
Smith, Michael                     PR                                                               6.3                                    $195                           $1,228.50


    At MoloLamken, attorneys at the $425/hour billing rate are known as "discovery counsel." Discovery counsel are full-time lawyers, employed by the firm,                           1
    whose duties focus primarily on fact research as well as discovery and evidentiary issues.
                                              Summary of Time and Fees

         Timekeeper      Professional Level   Total Hours                Rate          Total Billing Amount
Figuerdo, Juan Carlos   PR                                      5.9             $195                   $1,150.50
Collins, Nicholas       PR                                      1.6             $195                     $312.00
Lew, Katherine          PR                                      1.5             $195                     $292.50
Makama, Mfundi          PR                                      1.5             $195                     $292.50
Kalpin, Christine       PR                                      0.5             $195                      $97.50
Total:                                                      6,004.2                                $4,098,319.00
                                                                                                                       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 51 of 217




                                                                                                                   2
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 52 of 217




                      Exhibit 6
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 53 of 217

                                         Summary of Time and Fees by Task


                                               MoloLamken LLP
Reporting Period:                              September 3, 2013 ‐ November 30, 2016

                Task Category                           Total Hours               Total Billing Amount
(1) Discovery                                                               0                         $0.00
(2) PSC Calls/Meetings                                                      0                         $0.00
(3) Lead Counsel/PSC Duties                                                 0                         $0.00
(4) Administrative                                                          0                         $0.00
(5) MDL Status Conference                                                   0                         $0.00
(6) Court Appearance                                                    65.5                     $44,857.50
(7) Research                                                          1041.3                    $583,905.50
(8) Litigation Strategy & Analysis                                       774                    $617,752.00
(9) Pleadings/Briefs/Pre‐trial Motions/Legal                          2368.1                  $1,555,393.50
(10) Experts/Consultants                                               305.2                    $267,247.50
(11) Settlement                                                        112.3                    $106,926.00
(12) Appeal                                                           1335.3                    $921,749.50
(13) Miscellaneous                                                        2.5                       $487.50
Total:                                                                6004.2                  $4,098,319.00
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 54 of 217




                      Exhibit 7
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 55 of 217

                                        Summary of Expenses

                                                    MoloLamken LLP
Reporting Period:                                   September 3, 2013 ‐ November 30, 2016

               Type of Expense                                  Total Expenses
(1) Fees                                                                            $920.32
(2) Federal Express/Local Courier, etc.                                               $0.00
(3) Postage Charges                                                                   $0.00
(4) Fascimile Charges                                                                 $0.00
(5) Long Distance/Conference Calls                                                    $0.00
(6) In‐House Document Reproduction                                                    $0.00
(7) Outside Document Reproduction                                                 $8,920.78
(8) Lodging/Hotels                                                                $6,649.85
(9) Dining/Meals                                                                    $271.11
(10) Mileage                                                                        $121.00
(11) Air Travel                                                                   $2,868.90
(12) Ground Transportation                                                        $6,968.26
(13) Legal Research/Lexis/Westlaw                                                     $0.00
(14) Miscellaneous (litigation support, graphics,
articles/books, supplies for hearing)                                            $21,263.14
Total:                                                                           $47,998.52
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 56 of 217




                      Exhibit 8
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 57 of 217




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                         No. 2:12-md-02323-AB
INJURY LITIGATION                                  MDL No. 2323


Kevin Turner and Shawn Wooden,                     Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

            Plaintiffs,

                v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

            Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


            DECLARATION OF WILLIAM T. HANGLEY IN SUPPORT OF
         PETITION FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES

       I, William T. Hangley, declare, pursuant to 28 U.S.C. § 1746:

       1.       I submit this declaration in support of the Faneca Objectors’1 Petition for an

Award of Attorneys’ Fees and Expenses in connection with services rendered to the benefit of

the settlement class in the above-captioned case. I have personal knowledge of the matters set

forth in this Declaration, and if called upon, I would testify as follows:




1
  The Faneca Objectors – Alan Faneca, Roderick Cartwright, Jeff Rohrer, and Sean Considine –
were previously known to this Court as the Morey Objectors. At that time, the objector group
also included Sean Morey, Ben Hamilton, and Robert Royal. Those three objectors have since
opted out of the settlement class.
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 58 of 217




                  I.   FIRM BACKGROUND AND QUALIFICATIONS

       2.     I founded Hangley Aronchick Segal Pudlin & Schiller with several other

attorneys in 1994. Hangley Aronchick is a 50-lawyer, full-service law firm with offices in

Pennsylvania and New Jersey, and an international client base. We are well known for our

handling of cases likely to go to trial. We have represented some of the country’s largest

corporations, the Commonwealth of Pennsylvania, the City of Philadelphia, major universities

and healthcare complexes, and the Pennsylvania Bar Association.

       3.     Our firm and its lawyers have been recognized in legal listings and publications

such as the Legal Intelligencer, Best Lawyers in America, Vault.com, Chambers & Partners, U.S.

News and World Report, and SuperLawyers, as well as by the Philadelphia Bar Foundation. The

National Law Journal recently named our firm to its “Midsize Hot List,” and Benchmark

Litigation named our firm as “Pennsylvania Law Firm of the Year.” The legal publication

Chambers USA has named our litigation, bankruptcy, insurance, and real estate practices as

among the best in Pennsylvania.      Additional information about our firm can be found at

http://www.hangley.com.

       4.     I am a trial lawyer with fifty years of experience. I have tried First Amendment,

antitrust, patent, estates, real estate, franchise, construction, employment, unfair competition,

securities, civil rights, attorney malpractice, capital punishment, and general contract and

business tort cases. I am a Fellow and past Third Circuit Regent of the American College of

Trial Lawyers, and the publication Benchmark Litigation has named me one of the “Top 100”

trial lawyers in the United States. A copy of my firm biography is attached as Exhibit A.

       5.     Working with me on this matter was Michele D. Hangley, a partner at the firm.

She has been recognized as one of the “Top 250 Women in Litigation” and a “Local Litigation



                                                2
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 59 of 217




Star” by Benchmark Litigation, as well as a top attorney in Pennsylvania by the publication

SuperLawyers. A copy of her firm biography is attached as Exhibit B.

 II.    HANGLEY ARONCHICK’S EFFORTS ON BEHALF OF THE SETTLEMENT
                                CLASS

        6.     On May 5, 2014, I entered my appearance on behalf of the Faneca Objectors in

this matter. Dkt. 6019. Michele Hangley entered her appearance on May 19, 2014. Dkt. 6045.

Thereafter, we worked closely with co-counsel, MoloLamken LLP, to develop strategy, analyze

the settling parties’ submissions, and prepare the submissions of the Faneca Objectors in this

Court. We participated in the preparation and filing of the Faneca Objectors’ motion to intervene

and their objection and opposition to preliminary approval of the Revised Settlement. See Molo

Decl. ¶¶ 14-15. After this Court granted preliminary approval of the Revised Settlement on July

7, 2014, we worked with MoloLamken to prepare and file the Fancea Objectors’ objection to

final approval, and their supplemental brief in support of the objection. See id. ¶¶ 19-22, 28. We

also assisted MoloLamken in their efforts to obtain discovery by helping to prepare and file the

Faneca Objectors’ discovery motions. See id. ¶¶ 24, 31.

        7.     On November 4, 2014, the Court appointed Steven Molo of MoloLamken and

myself as liaison counsel for the objector groups and asked us to coordinate the presentation of

objections at the November 19, 2014 fairness hearing. Dkt. 6344. I worked with Mr. Molo to

communicate with the various groups of represented objectors and achieve an orderly and

effective presentation of issues without duplication. See Molo Decl. ¶ 25.

        8.     Hangley Aronchick worked with MoloLamken to develop strategy for the Court’s

November 19, 2014 fairness hearing, and advised Mr. Molo in connection with oral argument at

the fairness hearing. See Molo Decl. ¶ 27. I attended the November 19, 2014 hearing.




                                                3
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 60 of 217




       9.          In addition to assisting with proceedings in this Court, Hangley Aronchick

participated in the Faneca Objectors’ efforts in the Third Circuit. We worked with MoloLamken

to develop a strategy for the Faneca Objectors’ Rule 23(f ) petition seeking review of the order

granting preliminary approval to the Revised Settlement and their appeal of the order granting

final approval to the Final Settlement. See Molo Decl. ¶¶ 18, 38-40. We advised Mr. Molo in

connection with oral argument in the Third Circuit on both the Rule 23(f ) petition and the

appeal. Michele Hangley attended the argument on the Rule 23(f ) petition, and I attended the

argument on the appeal.

       10.         Hangley Aronchick also consulted with MoloLamken on their negotiations with

the NFL regarding possible enhancements to the Final Settlement.

       11.         On April 18, 2016, the Third Circuit affirmed this Court’s order granting final

approval to the Final Settlement. See In re: Nat’l Football League Players’ Concussion Injury

Litig., 821 F.3d 410 (2016). We consulted with MoloLamken on the decision of whether to

petition for Supreme Court review of the Third Circuit’s ruling. See Molo Decl. ¶ 43.

            III.    HANGLEY ARONCHICK’S TOTAL FEES AND EXPENSES

       12.         Over the course of two-and-a-half years, Hangley Aronchick devoted a total of

281.8 hours to representing the Faneca Objectors. At the firm’s current hourly billing rates, that

time represents $175,058.50 in fees. Exhibit C is a chart summarizing the total number of hours

and fees that Hangley Aronchick has devoted to this litigation. The hourly rates reflected are

current market rates that other clients have agreed to pay Hangley Aronchick for legal

representation. Based upon my experience, these rates are consistent with those charged by law

firms engaged in the type of complex, high-stakes work that our firm does. Exhibit D is a chart

summarizing the total number of hours by litigation task.



                                                  4
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 61 of 217




       13.     We also incurred $3,829 in out-of-pocket expenses. Those costs and expenses are

broken down by category in the chart attached as Exhibit E. Those costs were incurred on behalf

of the class and are listed as actual costs. The expenses are reflected in Hangley Aronchick’s

books and records, and were prepared from receipts, check records, and other source materials.

They represent an accurate recording of the expenses that Hangley Aronchick actually incurred.

       14.     I have reviewed the time and expenses reported by my firm in this case that are

included in this declaration, and I affirm that they are true and accurate. In my experience, these

fees and expenses are reasonable.




                                                5
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 62 of 217




       I declare under penalty of perjury that the foregoing is true and correct.



Executed on: January 9, 2017                 _____________________________

In Philadelphia, Pennsylvania                                 William T. Hangley
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 63 of 217




                         Exhibit A
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 64 of 217




                                William T. Hangley

                                                                    Hangley Aronchick Segal Pudlin & Schiller
                                                                    One Logan Square
                                                                    27th Floor
                                                                    Philadelphia, PA 19103-6933

                                                                    E-mail: whangley@hangley.com
                                                                    Phone: 215.4967001
                                                                    Fax: 215.568.0300



Areas of Practice               William T. Hangley is one of America’s most highly decorated trial
                                lawyers and counselors. His practice involves representations of both
Litigation                      plaintiffs and defendants.
Education
                                He has tried (not just litigated) First Amendment, antitrust, patent, estates,
University of Pennsylvania      real estate, franchise, construction, employment, unfair competition,
Law School, Philadelphia,       securities, civil rights, attorney malpractice, capital punishment, and general
Pennsylvania, 1966, LLB,        contract and business tort cases.
cum laude, Order of the Coif,
University of Pennsylvania      Benchmark Litigation regularly names Bill one of the top 100 lawyers in the
Law ReviewComment Editor        United States; Best Lawyers has named him Lawyer of the Year for “Bet the
                                Company” litigation. Chambers USA has never left him off its list of “Band
State University of New York    One” Commercial Trial Lawyers. He has several times been a top-three vote
College, Fredonia, New          getter in the annual Pennsylvania Super Lawyers rankings, and was recently
York, 1963, BS, Music
                                the on the “cover” of its annual magazine. A longtime Fellow of the
Bar Admissions                  American College of Trial Lawyers, he has served as the College’s Regent
                                for Pennsylvania, New Jersey, and Delaware. He recently completed a six-
Pennsylvania                    year tour as a member of the United States Judicial Conference Advisory
                                Committee on Evidence Rules (by appointment of Chief Justice John
United States Court of          Roberts), and is currently the Liaison of the ABA Section of Litigation to
Appeals Federal Circuit         the Advisory Committee on Civil Rules. He has been a member and then
                                Chair of the Pennsylvania IOLTA Board (by appointment of Pennsylvania
United States Court of          Chief Justice Ronald Castille), and served as Chair of the Third Circuit
Appeals for the Third Circuit   Lawyers Advisory Committee (by appointment of Third Circuit Chief Judge
                                Anthony Scirica). He has been Co-Chair of the ABA Section of Litigation’s
United States District Court    Federal Practice Task Force and a member of the Task Force on Discovery
for the Eastern District of
                                and Civil Justice, a joint project of the American College and the Institute
Pennsylvania
                                for the Advancement of the American Legal System, which works to
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 65 of 217


United States District Court   address the increasing inefficiency and expense of the civil justice system
for the Middle District of     and the disappearance of the civil jury trial.
Pennsylvania
                               During the ’90s, Bill presided over jury trials as a Judge Pro Tem of the
United States District Court
                               Philadelphia Court of Common Pleas, helping the Court address its then-
for the District of Maryland
                               critical case backlog. He currently serves as a Special Discovery Master for
                               district judges in two ongoing complex civil litigations.

                               Honors and Awards

                                      Beginning with its first edition, Chambers USA: America’s Leading
                                       Lawyers for Business has named Bill as one of five or six Band One
                                       Commercial Trial Lawyers in Pennsylvania.
                                      He has been consistently recognized by The Best Lawyers in
                                       America as one of a handful of “Bet Your Company” Pennsylvania
                                       trial lawyers, and was recognized as the 2010 Philadelphia Lawyer
                                       of the Year for Bet-the-Company Litigation.
                                      Bill is consistently named a Local Litigation Star by Benchmark:
                                       The Definitive Guide to America’s Leading Litigation Firms and
                                       Attorneys
                                      Bill has been identified every year in Pennsylvania Super Lawyers
                                       magazine as one of the top lawyers in Pennsylvania, and he has
                                       been ranked a Top 10 lawyer in Pennsylvania numerous times. He
                                       was the subject of the cover story in the 2012 Super Lawyers
                                       Magazine.
                                      He is also named annually in Who’s Who Legal and the
                                       International Who’s Who of Business Lawyers, as one of
                                       Pennsylvania’s top five business trial lawyers.
                                      American College of Trial Lawyers, Fellow, 1987 – Present
                                      American Bar Foundation, Fellow
                                      Salzburg Seminar in American Studies, Law, University of
                                       Pennsylvania Fellow, 1970
                                      University of Pennsylvania Law Review, Comment Editor

                               Publications

                                      Opinions Hidden, Citations Forbidden: Report And
                                       Recommendations Of the American College of Trial Lawyers On
                                       The Publication And Citation Of Nonbinding Federal Circuit Court
                                       Opinions, 208 F.R.D. 645 (2002)
                                      “Teaching Through Experts: Changing the Obscure to the
                                       Obvious,” Litigation, Spring, 2001
                                      “Direct and the Director: Writing, Staging and Telling The Story,”
                                       Litigation, Fall, 1998
                                      “The Fourth Estate and the Second Front: Winning and Losing in
                                       the Press,” Litigation, Spring, 1997
                                      “The Strike Zone, the Trial Judge and Other Moving Targets,”
                                       California Litigation (Cal. Bar Ass'n. Section of Litigation), Spring,
                                       1995
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 66 of 217




                         Exhibit B
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 67 of 217




                                Michele D. Hangley

                                                                    Hangley Aronchick Segal Pudlin & Schiller
                                                                    One Logan Square
                                                                    27th Floor
                                                                    Philadelphia, PA 19103-6933

                                                                    E-mail: mhangley@hangley.com
                                                                    Phone: 215.496.7061
                                                                    Fax: 215.568.0300


Areas of Practice               Michele Hangley prepares and tries commercial and legal malpractice cases
                                in state and federal courts across the country, appearing most frequently in
Litigation                      the U.S. District Court for the Eastern District of Pennsylvania and the
                                Philadelphia County Court of Common Pleas.
Education

University of Pennsylvania      Michele’s commercial litigation practice covers a broad range of areas,
Law School, Philadelphia,       including business tort and breach of contract claims and intellectual
Pennsylvania, 1998, JD,         property disputes. Her clients include technology, pharmaceutical,
magna cum laude                 manufacturing, and financial services companies and their principals. She
Order of the Coif               also defends attorneys and law firms in legal malpractice cases arising out
                                of complex lawsuits and transactions. Michele is a creative, but practical,
Brown University,               litigator, who works closely with her clients to understand their goals and
Providence, Rhode Island,       pursues those goals relentlessly.
1988, AB

Clerkship                       Michele is frequently called upon to lecture on matters involving civil
                                procedure and attorney ethics. She recently co-chaired a seventeen-city
Honorable Phyllis A.            series of programs on the 2015 Amendments to the Federal Rules of Civil
Kravitch, United States Court   Procedure; she is a Hearing Committee Member for the Supreme Court of
of Appeals for the Eleventh     Pennsylvania’s Disciplinary Board; and she serves on the American Bar
Circuit 1998 – 1999             Association Section of Litigation’s Federal Practice Task Force.

Bar Admissions                  Michele has been recognized as one of the country’s Top 250 Women in
                                Litigation and as a Local Litigation Star by Benchmark: The Definitive
Pennsylvania, 1998
                                Guide to America’s Leading Litigation Firms and Attorneys, as one of
New Jersey, 2000                Pennsylvania’s “Most Powerful and Influential Women” by the
                                Pennsylvania Diversity Council, and as a top attorney by Pennsylvania
United States Court of          Super Lawyers magazine. She is a 1998 magna cum laude graduate of the
Appeals for the Federal         University of Pennsylvania Law School, where she was an Articles Editor
Circuit, 2006                   of the Law Review. She received an A.B. in Political Science from Brown
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 68 of 217


United States Court of           University. From 1998 to 1999, Michele served as a law clerk to the
Appeals for the Third Circuit,   Honorable Phyllis A. Kravitch of the United States Court of Appeals for the
2005                             Eleventh Circuit.
United States District Court
for the Eastern District of      Honors and Awards
Pennsylvania, 1999
                                        Named one of the Top 250 Women in Litigation by Benchmark:
United States District Court             The Definitive Guide to America’s Leading Litigation Firms and
for the Middle District of               Attorneys (2014 - 2016)
Pennsylvania, 2013                      Named a Local Litigation Star by Benchmark: The Definitive Guide
                                         to America’s Leading Litigation Firms and Attorneys (2011 - 2016)
United States District Court
                                        Named by Pennsylvania Super Lawyers magazine as one of the
District of New Jersey, 2004
                                         state's top attorneys (2011 - 2016) as the result of a statewide survey
                                         of lawyers
                                        National Diversity Council Award, “Most Powerful and Influential
                                         Women of Pennsylvania” (2015)
                                        Fellow of American Bar Foundation (2014 – Present)
                                        Academy of Advocacy at Temple University School of Law, Fellow
                                        University of Pennsylvania Law Review, Associate Editor and
                                         Articles Editor

                                 Professional Associations and Memberships

                                    American Bar Association Section of Litigation
                                         o National Co-Chair, Federal Rules Amendments Roadshow,
                                             2015 – Present
                                         o Member, Federal Practice Task Force, 2012 - Present
                                         o Co-Chair, Communications Committee, 2016 – Present
                                         o Regional Co-Chair, Judicial Intern Opportunity Program, 2011
                                             – 2014
                                         o Co-Chair, Ethics and Professionalism Committee, 2008 – 2011
                                         o Section Liaison to ABA Task Force on Legal Process
                                             Outsourcing, 2009 – 2011
                                    Hearing Committee Member, Disciplinary Board of the Supreme Court
                                     of Pennsylvania, 2012 – Present
                                    American Bar Foundation, Fellow, 2014 – Present
                                    Barrister, University of Pennsylvania Law School American Inn of
                                     Court, 2012 – 2014
                                    Philadelphia Bar Association
                                    Third Circuit Bar Association
                                    Editorial Board, The Legal Intelligencer, 2003 – 2012

                                 Publications

                                    “Fee Disgorgement in Attorney Breach-of-Fiduciary-Duty Cases,” The
                                     American Bar Association’s Commercial & Business Litigation, Vol.
                                     9, No. 4, Summer 2008
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 69 of 217


                Teaching/Lecturing

                    Panelist, “2015 FRCP Amendments – Moving Forward,” Federation of
                     Defense & Corporate Counsel 13th Annual Corporate Counsel
                     Symposium, September 2016 (upcoming)
                    Panelist, “Taking Rule 30(b)(6) Corporate Depositions,” American Bar
                     Association Section of Litigation Webinar, May 2016
                    Panelist, “Taking Rule 30(b)(6) Corporate Depositions: Should the 45-
                     Year-Old Rule Be Changed?” American Bar Association Section of
                     Litigation Section Annual Conference, April 2016
                    Panelist, “Ethics and Professional Responsibility,” Pennsylvania Bar
                     Institute’s Fourth Annual Best Practices in Pretrial Litigation in the
                     Federal Courts, March 2016
                    “The Ethics Quiz Show,” American Bar Association National
                     Conference for the Minority Lawyer, 2009
                    “When Trouble Walks In the Door: Ethical Dilemmas in Accepting an
                     Engagement and Working Up a Case,” Annual Conference of the
                     American Bar Association Section of Litigation, 2009
                    "When Limited Liability Fails: Piercing the Corporate Veil,"
                     Philadelphia Bar Association's Business Litigation and Business
                     Organizations Committees, 2007
                    "Piercing the Corporate Veil," Pennsylvania Bar Institute, 2006

                Community

                    Nationalities Service Center
                         o First Vice Chair and Board Member, 2012 - Present
                         o Chair, Development Committee, 2013 – 2015
                    University of Pennsylvania Law School, Class of 1998 Class Agent,
                     2014 – Present
                    LEADERSHIP Philadelphia, Class of 2014
                    Choral Arts Society of Philadelphia, Member, 2004 – 2009

                Representative Matters

                    Represent a national cable and entertainment company in patent
                     litigation involving claimed damages in the hundreds of millions of
                     dollars.
                    Secured dismissal of company founder’s breach of contract claim
                     against specialty pharmaceutical company. Babul v. Relmada
                     Therapeutics, Inc., 2016 WL 233698 (E.D. Pa. Jan. 20, 2016).
                    Successfully defended several prominent law firms and attorneys
                     against legal malpractice suits in Pennsylvania state courts, including
                     winning defense jury verdict in Montgomery County Court of
                     Common Pleas after lengthy trial.
                     Represented specialty pharmaceutical company in $200+ million
                     contract dispute with large international pharmaceutical company in
                     Philadelphia’s Commerce Court; case ended with successful mediation
                     and settlement.
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 70 of 217




                    On behalf of newspaper and journalist defendants in libel case,
                     defeated effort of plaintiff, a powerful Philadelphia union leader, to
                     have U.S. District Court override state court’s treatment of document
                     from federal case file. U.S. v. Dougherty, 2014 WL 3676002 (E.D. Pa.
                     June 23, 2014), aff’d, 627 Fed. Appx. 97 (3d Cir.), cert. denied, 130
                     S.Ct. 110 (2015).
                    Obtained reversal of holding of the Environmental Hearing Board that
                     municipality was not entitled to attorneys’ fees under the Pennsylvania
                     Clean Streams Law. Chalfont-New Britain Joint Sewage Authority v.
                     Department of Environmental Protection, 24 A.3d 470, Pennsylvania
                     Commonwealth Court, August 8, 2011.
                    Represented owner of office building that had been condemned and
                     demolished to make way for the expanded Pennsylvania Convention
                     Center. After ten-day hearing before the Philadelphia Board of View,
                     won award in the tens of millions of dollars that more than doubled the
                     amount that the Commonwealth had offered the property owner to
                     compensate for the condemnation.
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 71 of 217




                         Exhibit C
                                                 Summary of Time and Fees


                      Hangley Aronchick Segal Pudlin & Schiller
Reporting Period:     April 7, 2014 ‐ September 2, 2016

      Timekeeper       Professional Level         Total Hours               Rate          Total Billing Amount
Hangley, William T.   PT                                        154.1              $825                 $127,132.50
Hangley, Michele D.   PT                                         95.3              $440                  $41,932.00
Hrouda, Robert        PR                                         32.4              $185                   $5,994.00
Total:                                                          281.8                                   $175,058.50
                                                                                                                          Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 72 of 217




                                                                                                                      1
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 73 of 217




                         Exhibit D
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 74 of 217

                                         Summary of Time and Fees by Task


                                               Hangley Aronchick Segal Pudlin & Schiller
Reporting Period:                              April 7, 2014 ‐ September 2, 2016

                 Task Category                           Total Hours                 Total Billing Amount
(1) Discovery                                                                0                           $0.00
(2) PSC Calls/Meetings                                                     0.8                         $660.00
(3) Lead Counsel/PSC Duties                                                  0                           $0.00
(4) Administrative                                                        19.2                       $3,807.00
(5) MDL Status Conference                                                    0                           $0.00
(6) Court Appearance                                                        13                       $9,955.00
(7) Research                                                              13.8                       $5,613.00
(8) Litigation Strategy & Analysis                                        99.1                      $70,427.00
(9) Pleadings/Briefs/Pre‐trial Motions/Legal                              61.3                      $35,726.00
(10) Experts/Consultants                                                     0                           $0.00
(11) Settlement                                                            2.4                       $1,980.00
(12) Appeal                                                               72.2                      $46,890.50
(13) Miscellaneous                                                           0                           $0.00
Total:                                                                   281.8                     $175,058.50
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 75 of 217




                         Exhibit E
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 76 of 217

                                       Summary of Expenses

                                                Hangley Aronchick Segal Pudlin & Schiller
Reporting Period:                               April 7, 2014 ‐ September 2, 2016

                Type of Expense                                Total Expenses
(1) Fees                                                                              $530.00
(2) Federal Express/Local Courier, etc.                                               $658.18
(3) Postage Charges                                                                     $0.00
(4) Fascimile Charges                                                                   $0.00
(5) Long Distance/Conference Calls                                                      $0.00
(6) In‐House Document Reproduction                                                  $1,878.00
(7) Outside Document Reproduction                                                       $0.00
(8) Lodging/Hotels                                                                      $0.00
(9) Dining/Meals                                                                      $251.36
(10) Mileage                                                                            $0.00
(11) Air Travel                                                                         $0.00
(12) Ground Transportation                                                             $56.07
(13) Legal Research/Lexis/Westlaw                                                      $85.90
(14) Miscellaneous (secretarial overtime)                                             $369.49
Total:                                                                              $3,829.00
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 77 of 217




                      Exhibit 9
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 78 of 217




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                         No. 2:12-md-02323-AB
INJURY LITIGATION                                  MDL No. 2323


Kevin Turner and Shawn Wooden,                     Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

            Plaintiffs,

                v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

            Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


             DECLARATION OF LINDA S. MULLENIX IN SUPPORT OF
         PETITION FOR AN AWARD OF ATTORNEYS’ FEES AND EXPENSES

       I, Linda S. Mullenix, declare, pursuant to 28 U.S.C. § 1746:

       1.       I submit this declaration in support of the Faneca Objectors’1 Petition for an

Award of Attorneys’ Fees and Expenses in connection with services rendered to the benefit of

the settlement class in the above-captioned case. I have personal knowledge of the matters set

forth in this Declaration, and if called upon, I would testify as follows:




1
  The Faneca Objectors – Alan Faneca, Roderick Cartwright, Jeff Rohrer, and Sean Considine –
were previously known to this Court as the Morey Objectors. At that time, the objector group
also included Sean Morey, Ben Hamilton, and Robert Royal. Those three objectors have since
opted out of the settlement class.
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 79 of 217




                    I.   MY BACKGROUND AND QUALIFICATIONS

       2.      I have been a professor since 1974 and at the University of Texas since 1991,

where I have taught classes on federal civil procedure, mass tort litigation, current issues in class

action litigation, aggregate and class action litigation in a global context, state class action

procedure, complex litigation, federal courts, conflicts, professional responsibility, and civil

justice reform. I have also been a visiting professor at the University of Trento (Italy), Harvard

Law School, the University of Michigan Law School, and Southern Methodist University Law

School. I have held the Reuschlein Distinguished Visiting Chair at Villanova Law School and

served as the Katherine Ryan Distinguished Professor at the Institute on World Legal Problems

in Innsbruck, Austria.

       3.      I am the author or co-author of twenty-two books, including Mass Tort Litigation

(3d ed. 2017); Leading Cases in Civil Procedure (3d ed. 2017); Federal Courts in the Twenty-

First Century (3d ed. 2007); State Class Action Practice and Procedure (2000); ALI Restatement

Third, The Law Governing Lawyers (2000); Understanding Federal Courts (1998; 2d ed. 2015);

and Moore’s Federal Practice (2d and 3d eds.).          I have also written hundreds of articles

published in The Chicago Legal Forum, Cornell Law Review, The Georgetown Law Journal,

Harvard Law Review, Michigan Law Review, Minnesota Law Review, Stanford Law Review,

University of Pennsylvania Law Review, Northwestern Law Review, Texas Law Review, and

Vanderbilt Law Review, as well as numerous other journals. Courts throughout the United States

have cited my articles on procedure and complex litigation.

       4.      I served as a Supreme Court Fellow at the Federal Judicial Center. I am an

elected Life Member of the American Law Institute and the Texas Bar Foundation. I am an

elected member of the American Bar Foundation and the International Association of Procedural

Law. I have also served as Reporter for the ABA Task Force on Class Actions; Reporter for the
                                                 2
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 80 of 217




Southern District of Texas, Civil Justice Reform Act; Reporter for the National Conference of

Federal-State Judicial Relationships; Advisor to the Texas Class Action Rules Subcommittee;

and Advisor to the National Center for State Courts, Study on Civil Discovery.

       5.         My full curriculum vitae is attached as Exhibit A.

            II.    MY EFFORTS ON BEHALF OF THE SETTLEMENT CLASS

       6.         I was retained as an expert consultant by MoloLamken LLP, counsel for the

Faneca Objectors, in January 2014.          On May 15, 2014, I entered my appearance in this

proceeding on behalf of the Faneca Objectors. Dkt. 6044. During the litigation, I worked

closely with counsel for the Faneca Objectors, MoloLamken LLP, to provide expert advice on

class action law. In that role, I reviewed and commented on key filings and court orders, and

discussed relevant legal issues with MoloLamken. I advised MoloLamken in connection with

the Faneca Objectors’ motion to intervene and their objection and opposition to preliminary

approval of the Revised Settlement.         See Molo Decl. ¶¶ 14-15.    After this Court granted

preliminary approval of the Revised Settlement on July 7, 2014, I advised MoloLamken in

connection with the Faneca Objectors’ objection to the Revised Settlement. See id. ¶¶ 19-22.

       7.         I assisted MoloLamken with their preparation for the Court’s November 19, 2014

fairness hearing by consulting with MoloLamken regarding the settling parties’ submissions, in

particular the declaration of Dr. Robert Klonoff, Class Counsel’s expert on class action law.

       8.         I also advised MoloLamken in connection with the Faneca Objectors’ efforts in

the Third Circuit. I discussed with co-counsel class action law issues relevant to the Faneca

Objectors’ Rule 23(f ) petition seeking review of this Court’s order granting preliminary approval

to the Revised Settlement. See Molo Decl. ¶ 18. I also consulted with MoloLamken regarding

class action issues in connection with the Faneca Objectors’ appeal of this Court’s order granting

final approval to the Final Settlement. See id. ¶¶ 38-40.
                                                   3
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 81 of 217




       9.      On April 18, 2016, the Third Circuit affirmed this Court’s order granting final

approval to the Final Settlement. See In re: Nat’l Football League Players’ Concussion Injury

Litig., 821 F.3d 410 (2016). I consulted with MoloLamken regarding the decision of whether to

petition for Supreme Court review of the Third Circuit’s ruling. See Molo Decl. ¶ 43.

                       III.   MY TOTAL FEES AND EXPENSES

       10.     Over the course of three years, I devoted a total of 71.25 hours of consulting time

to the case. At my standard hourly billing rate of $550 per hour, that time represents $39,187.50

in fees. Exhibit B is a chart summarizing the total number of hours and fees I devoted to this

litigation. The hourly rates reflected are my customary hourly rate that other clients have agreed

to pay for my consulting services.      To my knowledge, that rate is reasonable for expert

consultants with similar qualifications and experience.




                                                4
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 82 of 217
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 83 of 217




                         Exhibit A
   Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 84 of 217


                               PROFESSOR LINDA S. MULLENIX
                                  BIOGRAPHICAL PROFILE

                      LINDA S. MULLENIX holds the Rita and Morris Atlas Chair in Advocacy
                      at the University of Texas School of Law. Professor Mullenix earned
                      M.Phil. and Ph.D. degrees in political science from Columbia University
                      and graduated Phi Beta Kappa, magna cum laude from the City College
                      of New York. She received her law degree from Georgetown University
                      Law Center and practiced appellate litigation in Washington, D.C. She has
                      been a college and law professor since 1974.

Professor Mullenix has served as a Supreme Court Fellow at the Federal Judicial Center; a
scholar-in-residence at the Rockefeller Foundation Bellagio Study and Conference Center in
Italy; and held the Fulbright Senior Distinguished Chair in Law, in Trento, Italy. She is an
elected Life Member of the American Law Institute, and an elected Life Fellow of
the Texas Bar Foundation. She also is an elected Fellow of the American Bar
Foundation, as well as the International Association of Procedural Law. She served on the Board
of Directors of the Austin Fulbright Alumni Association.

In January 2012, Professor Mullenix was honored as a “Pathfinder 2012” by the Travis County
Women’s Law Association, which recognizes women in the community who “have used their
law degrees in ways that inspire the rest of us.”

Professor Mullenix teaches federal civil procedure, mass tort litigation, and various courses
relating to class action litigation. She also has taught complex litigation, federal courts, conflict
of laws, professional responsibility, and civil justice reform. She has been a visiting professor at
Oxford University, the University of Trento (Italy), Harvard, Michigan, and Southern Methodist
law schools; held the Reuschlein Distinguished Visiting Chair (Villanova); and served as the
Katherine Ryan Distinguished Professor at the Institute on World Legal Problems in Innsbruck,
Austria.

Professor Mullenix is the author or co-author of t we nt y-t wo books including MASS TORT
LITIGATION (3d ed. 2017); LEADING CASES IN CIVIL PROCEDURE (3d ed. 2017); UNDERSTANDING
FEDERAL COURTS (2d ed. 2015); CIVIL PROCEDURE BLACKLETTER SERIES (2d ed. 2014); FEDERAL
COURTS IN THE TWENTY-FIRST CENTURY (3d ed. 2007); STATE CLASS ACTION PRACTICE AND
PROCEDURE (2000); RESTATEMENT THIRD, THE LAW GOVERNING LAWYERS (2000); and
MOORE'S FEDERAL PRACTICE.

For more than twenty years she has been a contributor to Preview of Supreme Court Cases and
a regular columnist for the National Law Journal. She served as an Associate Reporter for the
ALI Restatement of the Law Governing Lawyers, a consultative member of the ALI
Transnational Rules of Civil Procedure and the ALI Complex Litigation Project. Professor
Mullenix has written d o z e n s of articles published in The Chicago Legal Forum, Cornell Law
Review, Georgetown University Law Journal, Harvard Law Review, Michigan Law Review,
Minnesota Law Review, Stanford Law Review, The Stanford Journal of Complex Litigation,
University of Pennsylvania Law Review, Northwestern Law Review, Texas Law Review, and
Vanderbilt Law Review, as well as numerous other journals.
   Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 85 of 217



Professor Mullenix has served the profession in various capacities, including as Reporter for an
ABA Task Force on Class Actions; Reporter for the Southern District of Texas, Civil Justice
Reform Act; Reporter for the National Conference of Federal-State Judicial Relationships;
Advisor, Texas Class Action Rules Subcommittee; and Advisor, National Center for State
Courts, Study on Civil Discovery.

Professor Mullenix has been an invited participant at numerous academic conferences, including
the ABA Conference on the Future of Class Action Litigation in America; the Symposium on
Cutting Edge Issues in Class Action Litigation, The Legal Forum, University of Chicago;
Class Action Conference, Judicial Conference Committee on Rules of Practice and Procedure;
the Gulf States Class Action Symposium; the University of Pennsylvania Symposium: Mass
Torts; the ABA Class Action Institute; the Mass Tort Working Group, Judicial Conference
Committee on Rules of Practice and Procedure; the Special Study Conference on Federal Rules
Governing Attorney Conduct, Judicial Conference Committee on Rules of Practice and
Procedure; the Research Conference on Class Actions, Institute for Judicial Administration and
N.Y.U.; the Conference on Civil Procedure and the Future of the Federal Rules, Southwest
Legal Foundation and S.M.U. University; and the National Mass Tort Litigation Conference.
She has been a repeat participant at Emory Law School’s Randolph Thrower Symposium and the
DePaul University College of Law Clifford Symposium. She also has served as a faculty member
for the Annual Conference on Complex Litigation and Resolution of Class Action Litigation, and
has delivered lectures relating to class action litigation in Austria, Brazil, Canada, Colombia,
Germany, Israel, Italy, Switzerland, and the U.K.

Courts throughout the United States have cited Professor Mullenix’s articles on procedure and
complex litigation. She has appeared as a radio commentator on National Public Radio and been
quoted in The New York Times, the Wall Street Journal, the Los Angeles Times, the National
Law Journal, CNNOpinion.com, and the Guardian (U.K.), among other media publications.
Professor Mullenix has worked as counsel and as a consulting expert with plaintiffs, defendants,
and objectors on numerous prominent federal and state class action cases. In addition, Professor
Mullenix has worked on Canadian class actions; class litigation under the Brazilian Consumer
Protection Act; and London arbitration relating to mass tort settlements. She also has been an
adviser regarding proposed Swedish and Finnish class action legislation.


         View my research on my SSRN page: http://ssrn.com/author=98468
         Faculty profile website: http://www.utexas.edu/law/faculty/lsmull52/
    Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 86 of 217

                              PROFESSOR LINDA S. MULLENIX
                          http://www.utexas.edu/law/faculty/lsmull52/
                                  http://ssrn.com/author=98468

RESIDENCE:                                 UNIVERSITY:
2305 BARTON CREEK BLVD. #2                 727 EAST DEAN KEETON ST. AUSTIN,
TEXAS 78735                                AUSTIN, TEXAS 78705
PHONE: (512) 263-9330                      PHONE: 512-232-1375
lmullenix@hotmail.com                      lmullenix@law.utexas.edu

UNIVERSITY OF TEXAS SCHOOL OF LAW
RITA AND MORRIS ATLAS CHAIR IN ADVOCACY (2001- PRESENT)
WARD CENTENNIAL PROFESSOR 1991–2001

      COURSES: Civil Procedure; Complex Litigation; Mass Tort Litigation; Civil Justice Reform
      (seminar); Current Issues in Class Action Litigation (seminar); Class Action Litigation in a
      Global Context; (seminar); State Class Action Practice and Procedure (seminar); Aggregate
      Litigation in A Global Context (seminar)

      COMMITTEES: Advocacy Programs; Appointments (Chair, 1992-93); Budget; Tenure;
      Capital Campaign Advisory Committee; Voting Procedures; International Studies; Graduate
      Studies; Computer Committee; Rules & Procedures; Faculty Governance

      SABBATICAL AND RESEARCH APPOINTMENTS
      Eugenia C. McDonald Endowed Chair of Civil Procedure (Sabbatical 2012)
      W. James Kronzer Chair in Trial and Appellate Advocacy (Summer 2010)
      Edward Clark Centennial Professorship in Law (Summer 2000)
      F. Scott Baldwin Research Professorship in Law (Summer 1999)
      Tom Sealy Centennial Research Professorship in Law (Summer 1998)
      Fred & Emily Marshall Wulff Centennial Chair (Summer 1996, 1997)
      Fulbright & Jaworski Research Professorship in Law (Summer 1994)
      Vinson & Elkins Chair in Law (Fall 1993)
      Fred & Emily Marshall Wulff Centennial Chair in Law (Summer 1992)

OXFORD UNIVERSITY – UNIVERSITY OF TEXAS EXCHANGE PROGRAM
VISITING SCHOLAR, MAY 2013

FULBRIGHT DISTINGUISHED SENIOR CHAIR IN LAW
UNIVERSITY OF TRENTO, ITALY
SPRING 2007

SCHOLAR-IN-RESIDENCE, THE ROCKEFELLER FOUNDATION BELLAGIO
STUDY AND CONFERENCE CENTER
BELLAGIO, ITALY (2002)

DISTINGUISHED VISITING PROFESSORSHIP IN ADVOCACY AND DISPUTE RESOLUTION
The Center for Advocacy and Dispute Resolution
University of Tennessee College of Law, Spring 2001


                                                3
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 87 of 217

HAROLD GILL REUSCHLEIN DISTINGUISHED VISITING CHAIR
Villanova University School of Law, Spring 2000
Mass Tort Litigation

UNIVERSITY OF MICHIGAN LAW SCHOOL
Visiting Professor, Fall 1996
Mass Tort Litigation; Civil Justice Reform

HARVARD UNIVERSITY LAW SCHOOL
Visiting Professor, 1994-95
Civil Procedure; Complex Litigation; Mass Tort Litigation

SOUTHERN METHODIST UNIVERSITY SCHOOL OF LAW
Visiting Professor, Spring 1998
Mass Tort Litigation

ST. MARY'S INSTITUTE ON WORLD LEGAL PROBLEMS, INNSBRUCK, AUSTRIA
Katherine Ryan Distinguished Professor, 1997
International Litigation and Arbitration (2002)
Mass Litigation in the European Union (1996, 1997, 1999, 2009, 2011, 2012, 2016)

SUPREME COURT JUDICIAL FELLOW, Federal Judicial Center, 1989-90

CATHOLIC UNIVERSITY OF AMERICA SCHOOL OF LAW
Professor 1989-91; Associate Professor 1986-1989
Assistant Professor 1984-86; Visiting Assistant Professor 1983-84

         COURSES: Civil Procedure; Complex Litigation; Federal Courts; Conflict
         of Laws; Trial Advocacy; Estates; Professional Responsibility
         COMMITTEES: Admissions; Budget (faculty elected); Curriculum; Dean's
         Search Committee, 1986 (faculty elected)
         TEACHING HONORS: Graduation Marshal, 1986

LOYOLA OF LOS ANGELES LAW SCHOOL
Visiting Professor, 1982-83
Clinical Professor, 1982; Instructor, 1981

         COURSES: Contracts; Wills and Trusts; Community Property;
         Civil Procedure Workshop; Legal Methods

                                  PROFESSIONAL ACTIVITIES

AMERICAN BAR ASSOCIATION

       Vice-Chair, Civil Procedure & Evidence Committee
       Tort and Insurance Practice Section (1997-98)

       Reporter, Task Force on Class Actions
       Tort and Insurance Practice Section (1995-97)


                                                 4
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 88 of 217

      Robert B. McKay Law Professor Award Committee (1997-98; 1998-99) Tort
      and Insurance Practice Section

      Contributing Editor, Preview of Supreme Court Cases, Public
      Education Division of the American Bar Association

AMERICAN LAW INSTITUTE (elected member 1989; Life Member 2014)

      Associate Reporter, RESTATEMENT OF THE LAW THIRD, THE LAW GOVERNING LAWYERS
      Consultative Group, COMPLEX LITIGATION PROJECT
      Consultative Group, TRANSNATIONAL RULES OF CIVIL PROCEDURE

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF TEXAS

      Co-Reporter and Legal Advisor, Advisory Group for the United States District
      Court for the Southern District of Texas, Civil Justice Reform Act (1991-93)

DISTRICT OF COLUMBIA BAR

      Member, Special Committee on Ethics, Continuing Legal Education, and the
      Model Rules of Professional Conduct (1987-89)

NATIONAL CONFERENCE ON STATE-FEDERAL JUDICIAL RELATIONSHIPS

      Reporter to Hon. Chief Judge Politz, United States Court of Appeals for the Fifth
      Judicial Circuit (April 1992)

NATIONAL CENTER FOR STATE COURTS

      Advisory Committee Member, STUDY ON STATE CIVIL DISCOVERY (1990-92)

MEMBER, INTERNATIONAL ASSOCIATION OF PROCEDURAL LAW (elected May 1997)

BOARD OF DIRECTORS, THE FULBRIGHT ALUMNI ASSOCIATION OF AUSTIN, TEXAS

COLUMNIST, THE NATIONAL LAW JOURNAL (federal practice, complex litigation, class actions)

EDITORIAL BOARD, Journal of Legal Education (1997-2000)

BOARD OF EDITORS, Securities and Class Action Litigation Report (Glasser LegalWorks)

BOARD OF ADVISERS, GREENBAG (GREENBAG ALMANAC)

ADVISORY BOARD, BNA Class Action Reporter

ADVISORY BOARD, Litigation, Procedure and Dispute Resolution Abstracts

ADVISORY BOARD, The Review of Litigation (UNIVERSITY OF TEXAS SCHOOL OF LAW)

CONTRIBUTING EDITOR, JOTWELL (COURTS LAW SECTION)
                                                5
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 89 of 217


INTERNATIONAL EDITORIAL BOARD, Revista de Processo, INSTITUTO BRASILEIRO DE DIREITO
      PROCESSUAL, BRASIL

MEMBER, SCRIBES, AMERICAN SOCIETY OF WRITERS ON LEGAL SUBJECTS

ASSOCIATION OF AMERICAN LAW SCHOOLS

       Speaker, Workshop on Civil Procedure (June 2010)
       Speaker, Scholarship, New Teachers' Workshop (July 1996)
       Professional Development Committee (Chair, 1991-93, member 1990-1991)
       Executive Committee, Conflict of Laws Section (1991-92)
       Planning Committee, Workshop on Jurisprudence Throughout the Curriculum (1992)
       Co-chair, Committee on Complex Litigation, Civil Procedure Section (1990-91)
       Planning Committee, New Teachers Workshop (July 1990)
       Group Discussion Leader, Faculty Recruitment Conference (Fall 1989, 1990)
       Chair, Planning Committee, New Teachers Workshop (July 1989)
       Co-chair, Committee on New Teachers, Women's Section (1989-90)
       Planning Committee, Civil Procedure Conference (June 1988)
       Teaching demonstration, New Teachers Workshop (July 1988)
       Executive Committee, Civil Procedure Section (1987-88)

BAR AND PROFESSIONAL MEMBERSHIPS

       State Bar of Texas
       United States Supreme Court
       United States Court of Appeals for the Fifth Judicial Circuit
       United States Court of Appeals, District of Columbia United
       States District Court, District of Columbia
       District of Columbia Bar (inactive status)

       Fellow, American Bar Foundation (elected 2011)
       Fellow, Texas Bar Foundation (elected 2005)
       American Law Institute (elected 1989)(life member, 2014)
       American Judicature Society
       American Political Science Association
       American Bar Association (Litigation Section, Class Action and Derivative Litigation
               Committee; Tort and Insurance Practice Section)
       International Association of Procedural Law (elected July 1997)
       Phi Beta Kappa (elected junior year)

WHO'S WHO
     Who's Who in America, 50th – 70th eds. (1997-2015)
     Who's Who In American Law, 5th-8th eds. (1987-1994)
     Who's Who In American Women, 14th-25th eds. (1984-2009)
     Who's Who of Emerging Leaders in America, 1st-3d eds. (1987-1990)
     Who's Who in American Education, 4th-8th ed. (1993-2008)
     Who's Who in the South and Southwest, 24th ed. (1994); 33rd ed. (2007)



                                                  6
    Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 90 of 217

OTHER HONORS

     Pathfinder 2012, honored by the Travis County Women Lawyers Association as an
     attorney in the community who “has used their law degrees in ways that inspire the rest of
     us.”

                               LEGAL EDUCATION

GEORGETOWN UNIVERSITY LAW CENTER, WASHINGTON D.C.

       DEGREE:              J.D., 1980
                            Dean's List; Law Fellow

       LAW REVIEW:          The Tax Lawyer
                            Associate Editor, 1979-80
                            Staff Member, 1978-79

       CLINIC :             Appellate Litigation Clinic Author,
                            Brief for the Respondent,
                            United States v. Henry, 447 U.S. 264 (1980)

                                 GRADUATE EDUCATION

COLUMBIA UNIVERSITY, NEW YORK CITY

       DEGREES:             Ph.D., Political Science, 1977
                            M. Phil., Political Science, 1974

       HONORS:              President's Fellow, Columbia University
                            National Defense Graduate Fellow
                            New York State Regents Scholar (Graduate) Danforth
                            Graduate Fellow, Honorable Mention
                            N.S.F. Graduate Fellowship, Honorable Mention

       DISSERTATION:        De Facto Political Obligation: Historical and Theoretical
                            Perspectives (unpublished 1977)

                             UNDERGRADUATE EDUCATION

THE CITY COLLEGE OF NEW YORK

       DEGREE:              B.A., Magna Cum Laude, 1971
                            Political Science

       HONORS:              Phi Beta Kappa
                            Dean's List; New York State Regents Scholar




                                              7
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 91 of 217

                                      PUBLICATIONS

                                   BOOKS AND TREATISES

1.     MASS TORT LITIGATION: CASES AND MATERIALS (West Academic Publishing 3d ed.
       2017)(663 PGS.)

2.     LEADING CASES IN CIVIL PROCEDURE (West Academic Publishing 3d ed. 2017)(984 pgs).

3.     CIVIL PROCEDURE: EXAMPRO OBJECTIVE QUESTIONS AND EXPLANATIONS (West Academic
       Publishing 3d ed. 2016)(427 pgs).

4.     UNDERSTANDING FEDERAL COURTS (LEXIS-Matthew Bender 2d ed. 2015 w i t h Profs.
       Martin Redish and Georgene Vairo)(712+ pgs.)

5.     CIVIL PROCEDURE (West Academic Blackletter Series 2d ed. 2014)(800+ pgs).

6.     LEADING CASES IN CIVIL PROCEDURE (THOMSON WEST 2D ED. 2012)(907 PGS.)

7.     LEADING CASES IN CIVIL PROCEDURE (Thomson West 2010)(891 PGS.).

8.     MASS TORT LITIGATION: CASES AND MATERIALS (Thomson West 2d ed. 2008)(1440
       pgs.)

       •   TEACHER’S MANUAL, MASS TORT LITIGATION: CASES AND MATERIALS (Thomson
           West 2d ed. 2008).

       •   MASS TORT LITIGATION: CASES AND MATERIALS (2010 UPDATE).

9.     FEDERAL COURTS IN THE TWENTY-FIRST CENTURY: CASES AND MATERIALS (LEXIS
       3d ed. 2007, with Howard K. Fink, Thomas D. Rowe, and Mark V. Tushnet).

       •   TEACHER’S MANUAL, FEDERAL COURTS IN THE 21ST CENTURY: CASES AND
           MATERIALS (LEXIS 3d ed. 2007, with Howard K. Fink, Thomas D. Rowe, and
           Mark V. Tushnet).

       •   FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (LexisNexis),
           2008 UPDATE.

       •   FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (LexisNexis),
           2009 UPDATE.

       •   FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (LexisNexis),
           2010 UPDATE.

10.    CIVIL PROCEDURE: EXAMPRO-OBJECTIVE QUESTIONS AND EXPLANATIONS (2d ed.
       2007 Thomson West).

11.    CIVIL PROCEDURE (THOMSON WEST BLACK LETTER SERIES, 600 PGS. 2004).

                                              8
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 92 of 217


12.    FEDERAL COURTS IN THE TWENTY-FIRST CENTURY: CASES AND MATERIALS (LEXIS
       2d ed. 2002, with Howard K. Fink, Thomas D. Rowe, and Mark V. Tushnet).

       •   TEACHER’S MANUAL, FEDERAL COURTS IN THE 21ST CENTURY: CASES AND
           MATERIALS (LEXIS 2d ed. 2002, with Howard K. Fink, Thomas D. Rowe, and
           Mark V. Tushnet).

       •   FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (LexisNexis),
           2003 UPDATE

       •   FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (LexisNexis),
           2004 UPDATE
       •   FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (LexisNexis), 2005
           UPDATE

       •   FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (LexisNexis), 2006
           UPDATE

13.    STATE CLASS ACTION PRACTICE AND PROCEDURE (CCH 2000)(two volume
       treatise)(with annual updates, 2001-06).

14.    RESTATEMENT OF THE LAW THIRD, THE LAW GOVERNING LAWYERS (American Law
       Institute 2000)(Associate Reporter).

15.    UNDERSTANDING FEDERAL COURTS (LEXIS-Matthew Bender 1998)(with Profs.
       Martin Redish and Georgene Vairo).

16.    CIVIL PROCEDURE: EXAMPRO-OBJECTIVE QUESTIONS AND EXPLANATIONS (West
       Group 1998).

17.    MOORE'S FEDERAL PRACTICE, Vol. 17 (Lexis-Matthew Bender 3d ed. 1997), with
       continuous updates.

18.    CIVIL PROCEDURE (Aspen Law and Business Roadmap Series 1997).

19.    FEDERAL COURTS (Casenotes Legal Education Series 1997)(with Prof. Howard Fink).

20.    FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (Lexis-Michie
       Contemporary Legal Education Series, 1996)(with Howard K. Fink, Thomas
       D. Rowe, and Mark V. Tushnet).

       •   FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (Michie), 1997
           UPDATE.

       •   FEDERAL COURTS IN THE 21ST CENTURY: CASES AND MATERIALS (Lexis-Michie), 1998
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       •   TEACHER’S MANUAL, FEDERAL COURTS IN THE 21ST CENTURY: CASES AND
           MATERIALS (Lexis-Michie Contemporary Legal Education Series, 1998)(with
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      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 93 of 217

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           UPDATE.

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           MATERIALS (West Group 1996).

       •   MASS TORT LITIGATION: CASES AND MATERIALS (West Group), 1997 UPDATE.

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       •   MASS TORT LITIGATION: CASES AND MATERIALS 2000 SUPPLEMENT (WEST GROUP).

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1.     American Exceptionalism and The Theory of Convergence: Are We there Yet?, In
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       Oscar Chase eds. LexisNexis 2010)(Proceedings of the International Association of
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2.     SETTLEMENTS (CHAPTER VII), in A Practitioner’s Guide to CLASS ACTIONS (Marcy
       Greer, ed., American Bar Association 2010).

3.     I Class Action Settlements Negli Stati Uniti (Capitolo VII), in LA CONCILIAZIONE
       COLLETTIVA, Università Degli Studi di Milano, Facoltà di Giurisprudenza (2009).

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       CIVIL LAW E COMMON LAW, UMA ANÁLISE DE DIREITO COMPARADO (with Ada
       Pellegrini Grinover, Kazuo Watanabe and Linda Mullenix, Editora Revista Dos
       Tribunais)(Reporter, General Report for Common Law Countries)(2011).

5.     Developments in the Procedural Means for Resolution of Mass Tort Litigation in the
       United States, in TERRORISM, TORT LAW AND INSURANCE: A COMPARATIVE SURVEY
       204 (Bernhard A. Koch ed., 2004).

6.     REPORT OF THE ABA TORT AND INSURANCE PRACTICE SECTION, TASK FORCE ON CLASS
       ACTIONS CONCERNING PROPOSED CHANGES TO RULE 23 OF THE FEDERAL RULES OF CIVIL
       PROCEDURE (1996)(Reporter).

7.     REPORT AND PLAN OF THE CIVIL JUSTICE REFORM ACT ADVISORY GROUP OF THE
       UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF TEXAS (October
       1991)(Co-Reporter).
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                                       PUBLISHED ARTICLES


8.      Reflections of a Recovering Aggregationist, 15 U. Nev. L. Rev. 1455 (Winter
        2015)(symposium issue).

9.      Designing a Compensatory Fund: The Search for First Principles, 3 Stan. J. Complex
        Litig. 1 (2015)(symposium issue).

10.     Gaming the System: Protecting Consumers from Unconscionable Contractual Forum
        Selection and Arbitration Clauses, 66 Hastings L. Rev. 719 (2015)(symposium issue).

11.     Competing Values: Preserving Litigant Autonomy in an Age of Collective Redress, 64
        DePaul L. Rev. 601 (Winter 2015)(symposium issue).

12.     Discovering Truth and the Rule of Proportionality, I Seminario Internacional de
        Derecho Procesal: Dilemas Sobre La Verdad en el Proceso Judicial (2014).

13.     Personal Jurisdiction Stops Here: Cabining the Extraterritorial Reach of American
        Courts, 45 U. Toledo L. Rev. 705 (2014)(symposium issue).

14.     Ending Class Actions As We Know Them: Rethinking the American Class Action, 64
        Emory L.J. 399 (2014)(the 2014 Randolph W. Thrower Symposium, American Dispute
        Resolution in 2020: The Death of Group Vindication of the Law?).

15.    Putting Proponents to Their Proof: Evidentiary Rules at Class Certification,
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16.    Class Actions Shrugged: Mass Actions and the Future of Aggregate Litigation,
       32 Rev. Litig. 591 (2013)(symposium issue, “The Class Action Fairness Act of
       2005: Perspectives and Predictions”).

17.    Aggregate Litigation and the Death of Democratic Dispute Resolution, 107 Nw. U. L.
       Rev. 511 (2013)(symposium issue).

18.    Professor Ed Cooper: Zen Minimalist, 46 Mich. J. of L. Ref. 661 (Winter
       2013)(solicited essay in honor of Prof. Ed. Cooper, Reporter to the Advisory Committee
       on Civil Rules).

19.    Mass Tort Funds and the Election of Remedies: The Need for Informed Consent,
       Symposium, 31 Rev. of Litig. 833 (2012)(symposium issue, “Large Scale Litigation
       Issues: Class Actions and Mass Tort Cases in 2012 and Beyond”).

20.    The Twenty-Fifth Anniversary of the Supreme Court’s Summary Judgment Trilogy, 43
       Loyola U. Chi. L. Rev. 651 (2012)(symposium issue).

21.    The Titanic of Worst Supreme Court Decisions: Carnival Cruise Lines v. Shute,
       Symposium, The Supreme Court’s Worst Decisions, 12 U.N.L.V. L. Rev. 549 (2012).
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22.    Prometheus Unbound: The BP Gulf Oil Fund as a Means for Resolving Mass Tort
       Claims, 71 La. L. Rev. 819 (2011).

23.    Dubious Doctrines: The Quasi Class Action, 80 U. Cinn. L. Rev. 389 (2011)(symposium
       issue, “The Principles of Aggregate Litigation: CAFA, PSLRA and Beyond”).

24.    Federal Class Actions: A Near Death Experience in a Shady Grove, 79 G.W.U. L.
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25.    Dropping the Spear: The Case for Enhanced Summary Judgment Prior to Class
       Certification, 43 Akron U. Law Rev. 1197 (2010)(AALS program on summary judgment
       January 2010).

26.    Nine Lives: The Punitive Damage Class 58 U. Kan. L. Rev. 845 (2010)(in
       Symposium, “Aggregate Litigation Since Ortiz v. Fibreboard”).

27.    Strange Bedfellows: The Politics of Pre-emption, 59 Case Western Reserve L. Rev.
       837 (2009)(Symposium, “Access to the Courts in the Roberts Era,” January 30,
       2009).

28.    I Class Action Settlements negli Stati Uniti (Class Action Settlements in the United
       States), 59 Studi Urbinati (Università degli Studi di Urbino 407 (2008)(reprinted in La
       Conciliazione Collettiva at 147 (Università Degli Studi di Milano 2009).

29.    New Trends in Standing and Res Judicata, Report for Common Law Countries, in
       Proceedings of the XIII World Congress of Procedural Law, New Trends in
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30.    Baycol and Vioxx: Case Studies in Mass Tort Litigation, in Études et Dossiers,
       Working Paper Series of the Geneva Association, International Association for the
       Study of Insurance Economics (2007)(paper presentation from the 2006 Annual Liability
       Regimes Conference)(pp. 3-1 et seq.).

31.    The American Class Action Fairness Bill and Forum-Shopping American-Style, in the
       INTERNATIONAL ASSOCIATION FOR THE STUDY OF INSURANCE ECONOMICS: THE
       GENEVA PAPERS (2006)(Palgrave Macmillan Ltd).

32.    GRIDLAW: The Enduring Legacy of Phillips Petroleum Co. v. Shutts, 74 U.M.K.C.
       L. Rev. 651 (2006)(symposium, “Due Process and Class Actions: The 20th
       Anniversary of Phillips Petroleum v. Shutts).

33.    The Varieties of State Rulemaking Experience and the Consequences for Substantive and
       Procedural Fairness, Report of the 2005 Forum for State Appellate Court Judges, The
       Roscoe Pound Institute (2005).

34.    Should Mississippi Adopt a Class Action Rule? ― Balancing the Equities: Ten
       Considerations That Mississippi Rulemakers Ought to Take Into Account in
       Evaluating Whether to Adopt a State Class Action Rule, 24 Miss. C. L. Rev. 217
       (2005).
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35.    The Future of Tort Reform: Possible Lessons From the World Trade Center Victim
       Compensation Fund, 53 Emory L. Rev. 1315 (2004)(the Randolph W. Thrower
       Symposium on the Future of Tort Reform: Reforming the Remedy, Rebalancing the
       Scales, sponsored by the Emory University School of Law and the Emory Law
       Journal).

36.    Taking Adequacy Seriously: The Inadequate Assessment of Adequacy in Litigation
       and Settlement Classes, 57 Vanderbilt L. Rev. 1687 (2004)(10th Annual Institute for
       Law and Economic Policy, Symposium: Protecting the Public; The Role of Private
       and Public Attorneys’ General).

37.    Dispositive Motions After Amchem and Ortiz: The Problem of “Logically Antecedent”
       Inquiries, 2004 Michigan State L. Rev. 703 (2004)(symposium on “Multi-Jurisdictional
       and Cross-Border Class Actions,” sponsored by the Michigan State University DCL
       College of Law, April 16-17, 2004).

38.    Judge Jack B. Weinstein, Tort Litigation, and the Public Good, Vol. XII (No.1)
       Brooklyn L. Rev. 1 (2003)(Contributor, A Roundtable Discussion to Honor One of
       America’s Great Trail Judges on the Occasion of His 80th Birthday).

39.    Developments in the Procedural Means For Resolution of Mass Tort Litigation in the
       United States, 1975-2003,11 J. Tort and Insurance Law 204 (Springer Wien/New
       York 2003)(Conference on Liability for Acts of Terrorism, sponsored by the European
       Centre of Tort and Insurance Law).

40.    No Exit: Mandatory Class Actions in the New Millennium and the Blurring of
       Categorical     Imperatives,   Vol.    2003    The     Chicago       Legal    Forum
       177(2003)(symposium on "Cutting Edge Issues in Class Action Litigation" sponsored by
       the University of Chicago Law School).

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       Mass Tort Litigation, 9 Conn. Ins. L.J. 121 (2002)(symposium “September 11th Victim
       Compensation Fund of 2001: A Model for the Future?, Liability and Insurance After
       September 11th" sponsored by the University of Connecticut School of Law, Hartford,
       Connecticut Insurance Law Center and the Geneva Association).

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       (2001).

43.    Lessons From Abroad – Complexity and Convergence, 46 Villanova L. Rev. 1
       (2000)(Harold Gill Reuschlein Distinguished Visiting Chair Lecture, Villanova
       University School of Law).

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       Speaks, 5 Zeitschrift Fur Zivilprozess International 337 (2000).

45.    Abandoning the Federal Class Action Ship: Is There Smoother Sailing for Class
       Actions in Gulf Waters, 74 Tulane L. Rev. 1709 (2000)(symposium on class actions in
       the Gulf States).
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46.    Back to the Futures: Privatizing Future Claimants, 148 U. Pa. L. Rev. 1919
       (2000)(Mass Torts: A Symposium, sponsored by the David Berger Program on
       Complex Litigation and the University of Pennsylvania Law Review in Conjunction
       with The Advisory Committee on Civil Rules and The Working Group on Mass
       Torts).

47.    Resolving Aggregate Mass Tort Litigation: The New Private Law Dispute Resolution
       Paradigm, 33 Valparaiso L. Rev. 413 (1999)(Monsanto Lecture in Tort Reform).

48.    Barbecue of the Vanities, 10 U.C.L.A. L.J. 1 (1999 – 2000).

49.    Getting to Shutts, 46 U. Kan. L. Rev. 1 (1998)(symposium in honor of Prof. Robert
       Casad).

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       Los Angeles Law Rev. 551 (1998)(symposium on mass tort litigation).

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52.    The Constitutionality of the Proposed Amendment to Rule 23, 39 Ariz. L. Rev. 615
       (1997)(symposium on Rule 23: class actions at the crossroads).

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       authors).

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       International Shoe Co. v. Washington).

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                                                16
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 100 of 217

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                                                    17
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 101 of 217

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       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 107 of 217

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       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 108 of 217

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                                                 25
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 109 of 217

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                                                26
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 110 of 217

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249.    Supreme Court Review: Badly Fractured Decisions Muddy Cases on Venue, 12 Nat'l.
        L. J. S9 (Aug. 13, 1990).

250.    Interstate Compacts and the Eleventh Amendment, 9 Preview of United States
        Supreme Court Cases 304 (April 1990)(Port Authority Trans-Hudson Corp. v.
        Feeney).

251.    The Reach of Rule 11: Sanctions, Appeals, and Voluntary Dismissals, 9 Preview of
        United States Supreme Court Cases 314 (April 1990)(Cooter & Gell v. Hartmarx
        Corp.).

252.    Back to the Future: A $16 Million Problem in the Retroactive Award of Postjudgment
        Interest, 7 Preview of United Sates Supreme Court Cases 210 (February 1990)(Kaiser
        Aluminum & Chemical Corp. v. Bonjorno).

253.    Court-Facilitated Notice in Age Discrimination Class Actions, 1 Preview of United
        States Supreme Court Cases 26 (October 1989)(Hoffman-La Roche, Inc. v. Sperling).

254.    Did Congress Mean What It Didn't Say About Reverse Direct Action Lawsuits?, 2
        Preview of United States Supreme Court Cases 50 (October 1989)(Northbrook
        National Insurance Co. v. Brewer).

255.    Is A Trial Court's Decision Not To Enforce A Forum Selection Clause Immediately
        Appealable?, 13 Preview of United States Supreme Court Cases 388 (April
        1989)(Lauro Lines v. Chasser).

256.    Pendent Parties Under The Federal Torts Claim Act: The Supreme Court, Round
        Two, 11 Preview of United States Supreme Court Cases 301 (March 1989)(Finley v.
        United States).

257.    The Post Judgment Request For Prejudgment Interest: When Is A Final Decision
        Final?, 6 Preview of United States Supreme Court Cases 153 (December
        1988)(Osterneck v. Ernst and Whinney).

258.     Suing On Borrowed Time: The Appropriate Statute of Limitations in Federal Civil
         Rights Cases, 3 Preview of United States Supreme Court Cases 75 (October
         1988)(Owens & Lessard v. Okure).

259.     Tuckered Out In Federal Court: Splitting Claims Against The Government, 14 Preview
         of United States Supreme Court Cases 422 (May 1988)(Bowen v. Commonwealth of
         Massachusetts).

260.     Desperately Seeking Texas: Federal Injunction of the World's Forum of Last Resort, 12
         Preview of United States Supreme Court Cases 354 (April 1988)(Choo v. Exxon Corp.).

261.     Review of Forum Non Conveniens and Immunity From Civil Suit, 11 Preview of
         United States Supreme Court Cases 323 (March 1988) (Van Cauwenberghe v. Biard).

                                                 27
        Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 111 of 217

 262.     After Default: What State Process Is Due?, 5 Preview of United States Supreme
          Court Cases 147 (December 1987)(Peralta v. Heights Medical Center).

 263.     Review of Abstention: The Appealability of A Refusal To Refuse Jurisdiction, 5 Preview
          of United States Supreme Court Cases 135 (December 1987)(Gulfstream Aerospace
          Corp. v. Mayacamas).

 264.     When Federal Courts Should Abstain: Should State Grand Juries Be Getting Any
          Younger?, 2 Preview of United States Supreme Court Cases 53 (October 1987)(Deakins
          v. Monaghan).

 265.     The New Untouchables: Subjecting Foreign Corporations to Federal Question
          Jurisdiction, 1 Preview of United States Supreme Court Cases 18 (October
          1987)(Omni Capital International v. Wolff).

 266.     A Tull Tale of More Right Versus Less Filling: The Right to Trial by Jury in Federal
          Civil Penalty Cases, 7 Preview of United States Supreme Court Cases 188 (January
          1987)(Tull v. United States).

 267.     Federal Abstention of the Fourth Kind: The Judicial Administration Exception, l
          Preview of United States Supreme Court Cases 20 (1985)(Lake Coal Company v.
          Roberts & Schaefer Company).

               LECTURES, SPEECHES & INVITED CONFERENCE PARTICIPATION


1.      Speaker and panelist, Section on Litigation, Association of American Law Schools Annual
        Meeting 2017, San Francisco (January 6, 2017)(“MDL Problems: Policing MDL Non-
        Class Aggregate Settlements Through the All Writs Act”).

2.      Commentator and panelist, Conference on EU Collective Redress Project, Wolfson
        College, Oxford University, U.K. (Dec. 12-13, 2016).

3.      Endowed Lecture, the Judge Lloyd D. George Lecture on the Judicial Process, the
        University of Nevada Las Vegas William S. Boyd School of Law (Nov. 3,
        2016)(“Empowering Judicial Oversight of MDL Non-Class Aggregate Settlements”).

4.      Speaker, International Conference on the Resolution of Mass Disputes, sponsored by the
        University of Haifa, Israel (Nov. 26-27, 2015)(“The End of the American Shangri-Law:
        Closing the Courts to Transnational Collective Actions;” and “Mediating and Arbitrating
        Collective Settlements”).

5.      Keynote Speaker, Class Action Symposium, 14th Annual National Consumer Law Center
        Conference (sponsored by the National Center for Consumer Law, Tampa, Florida,
        November 8-9, 2014).

6.      Speaker, VII International Congress of Procedural Law (sponsored by the Universidad de
        Medellin, Colombia, October 17-18, 2014).


                                                  28
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 112 of 217

7.    Speaker, Symposium, Forum Selection Clauses After Atlantic Marine (sponsored by the
      University of California, Hasting College of Law, San Francisco, September 19, 2014).

8.    Speaker, Complex Litigation Symposium on the BP Gulf Oil Spill (sponsored by the
      Stanford Law School Journal of Complex Litigation, Stanford University Law School, Palo
      Alto, May 8-9, 2014).

9.    Speaker, The Clifford Symposium: Judge Jack Weinstein’s Impact on Civil Justice in
      America (sponsored by the DePaul University College of Law, April 24, 2014, Chicago
      Illinois).

10.   Speaker, Symposium in Honor of Professor Stephen Subrin (co-sponsored by Northeastern
      University Law School and the University of Las Vegas, Nevada Law School, Boston,
      Massachusetts, April 11-12, 2014).

11.   Speaker, American Bar Association Litigation Section Annual Conference, “Moldy or Not
      – The Impact of Comcast on the Future of Class Action Litigation, Standing, and Issues
      Classes (Sponsored by the ABA Litigation Section, Scottsdale, Arizona, April 9-11, 2014).

12.   Speaker, Randolph W. Thrower Symposium, “American Dispute Resolution 2020: The
      Death of Group Vindication of the Law?,” (sponsored by the Emory University School of
      Law, February 6, 2014, Atlanta, Georgia).

13.   Faculty member, The 17th Annual American Bar Association Class Action Institute,
      “Standing and Class Ascertainability,” (October 23-24, 2013)(Boston, Massachusetts).

14.   Speaker, “Private and Government-Related Consumer Litigation,” Federal Bar Association
      2013 Annual Meeting and Convention (September 26-28, 2013, San Juan, Puerto Rico).

15.   Invited conferee, Innovation Summit, sponsored by West Academic and Foundation Press
      Publishing (July 8-9, 2013, Minneapolis, Minnesota).

16.   Distinguished Visiting Professor Lecture, Principles of Civil Procedure, “Aggregate
      Litigation and the Death of Democratic Dispute Resolution,” (Oxford University U.K. May
      7, 2013).

17.   Colloquium presentation, American Class and Aggregate Litigation, the Oxford Centre for
      Socio-Legal Studies (Oxford University U.K. May 9, 2013).

18.   Speaker, “Mass Tort Theory,” at Symposium on Perspectives on Mass Tort
      Litigation, sponsored by Widener Law School Law Review (Widener Law School,
      Harrisburg, Pennsylvania, April 16, 2013).

19.   Speaker, “The Supreme Court’s Repudiation of Classwide Arbitration,” at Symposium
      on Class Action Litigation, sponsored by the University of Michigan Journal of Law
      Reform (University of Michigan Law School, March 15-16, 2013).

20.   Speaker, “Putting Proponents to Their Proof: Evidentiary Rules at Class Certification,”
      at Symposium, The Future of Class Actions sponsored by the James F. Humphreys Center
      for Complex Litigation Public Justice, and the Committee to Support the Antitrust
                                                29
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 113 of 217

      Laws (George Washington University Law School, March 6-7, 2013).

21.   Speaker, “Class Actions Shrugged: Mass Actions and the Future of Aggregate Litigation,”
      AALS Section on Litigation and Section on Civil Procedure program: “The Class Action
      Fairness Act of 2005: Perspectives and Predictions” (New Orleans, Louisiana, January 5,
      2013).

22.   Speaker and Commentator, Fifth Annual Junior Faculty Federal Courts Workshop,
      sponsored by the Institute for the Bill of Rights, William and Mary College of Law
      (October 25-27, 2012).

23.   Speaker, “The Political Theory of Class Actions: In Honor of Professor Martin Redish,”
      at “Festschrift in Honor of Professor Martin Redish” (Northwestern University School
      of Law (Chicago, Illinois March 30, 2012).

24.   Speaker, Program in Honor of Professor Edward Cooper, Reporter, Advisory Committee
      on Civil Rules (Meeting of the Advisory Committee on Civil Rules, Ann Arbor Michigan,
      March 22-23, 2012).

25.   Speaker, “A Critique of Fund Approaches to Resolving Mass Tort Litigation,” at
      Conference on Mass Torts in Federal Courts, sponsored by the Charleston School of Law
      (Charleston, South Carolina Feb. 23, 2012).

26.   Speaker, “The BP MDL: Tort Litigation Alternatives to Fund Remediation for Mass Tort
      Disasters,” at AALS Section on Litigation program: “Large Scale Litigation Issues:
      Class Actions and Mass Tort Cases in 2012 and Beyond,” (Washington D.C. Jan. 6, 2012).

27.   Speaker, Tarlton Talks: “A Tale of Two Funds ― Comments on the World Trade
      Center Victims’ Compensation Fund and the Gulf Coast Claims Facility,” University of
      Texas School of Law (Nov. 9, 2011).

28.   Speaker, “The Twenty-Fifth Anniversary of the Supreme Court’s Summary Judgment
      Trilogy at Twenty-Five: Much Ado About Nothing,” at Colloquium: “The 25th
      Anniversary of the Summary Judgment Trilogy: Reflections on Summary Judgment,”
      Seattle University School of Law (Seattle, Washington Sept. 15-16, 2011).

29.   Speaker and panelist, “Judge Jack Weinstein’s Contributions to Mass Tort Litigation,”
      program on “The Jurisprudence of Judge Jack Weinstein,” sponsored by the New York
      City Bar Association (New York City, Sept. 13, 2011).

30.   Speaker and panelist, “The Lessons of 9/11 for Mass Tort Litigation,” program sponsored
      by the Cardozo Law School (New York City, Sept. 12, 2011).

31.   Speaker, The Implications of the Supreme Court’s Wal-Mart Decision for Class Action
      Litigation, University of Texas Supreme Court Round-Up Colloquium, September 2,
      1011.

32.   Speaker, Of Dubious Doctrines: The Quasi Class Action, at Symposium: “The Principles
      of Aggregate Litigation: CAFA, PSLRA, and Beyond,” The University of Cincinnati
      College of Law (Cincinnati, Ohio April 1, 2011).
                                                 30
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 114 of 217



33.   Speaker, The BP Oil Spill and the Future of Mass Tort Litigation, 58th Annual Mineral
      Law Institute (Louisiana State University, Baton Rouge, Louisiana, March 24, 2011).

34.   Speaker, Seminar on Consumer Law, sponsored by the Centro de Estudios de Direito
      Economico e Social (CEDES)(São Paulo, Brazil, Nov. 17 – 18, 2010).

35.   Speaker, “Big Topics, Shrinking Credits,” Workshop on Civil Procedure, Association of
      American Law Schools (New York City, June 12, 2010).

36.   Speaker and Program Moderator, “How Much Evidence Is Enough for Class
      Certification?” American Bar Association, Litigation Section Mid-year Meeting (New
      York City, April 23, 2010).

37.   Speaker, The Case For Enhanced Summary Judgment Prior to Class Certification, The
      Searle Center for Law and Economic Growth at Northwestern University School of Law,
      “Finding the Balance Between Benefit and Cost: A Public Policy Roundtable on the
      Federal Rules of Civil Procedure,” April 21 and 22, 2010 in Chicago).

38.   Speaker, “Statutory and Contractual Limitations on Class Actions,” Complex Litigation
      Conference, George Washington University Law School (Washington
      D.C. March 12, 2009).

39.   Speaker, “The Case for Summary Judgment Prior to Class Certification,” Annual
      Meeting of the Association of American Law Schools, Section on Litigation Program on
      Summary Judgment (New Orleans, Louisiana January 9, 2010).

40.   Speaker, “Nine Lives: The Punitive Damage Class,” at Symposium, “Aggregate Litigation
      Since Ortiz v. Fibreboard,” sponsored by the University of Kansas Law Review
      (Lawrence, Kansas October 29-20, 2009).

41.   Speaker, “American Exceptionalism and The Theory of Convergence: Are We There
      Yet?,” at the Toronto Conference on “The Future of Categories,” sponsored by the
      International Association of Procedural Law Toronto, Canada June 3-5, 2009).

42.   Panelist, “Hydrogen Peroxide's Aftermath: New Restrictive Directives in Class
      Certification (Is It Applicable in All Class Actions?),” (Live Telephone Seminar
      /Live Audio Webcast sponsored by the American Law Institute/American Bar
      Association, Thursday, April 23, 2009).

43.   Speaker, “Trends in Aggregate Litigation,” Future Litigation Risks Conference, sponsored
      by Altria Group, Inc. (Washington D.C. April 9-10, 2009).

44.   Panelist, “Litigating and Trying Complex Civil Antitrust Class Actions, Part Four: Class
      Certification,” sponsored by the American Bar Association’s Section of Antitrust Law,
      Civil Practice and Procedure and Trial Practice Committees (via teleconference Feb.
      17, 2008).

45.   Speaker, “The Politics of Pre-emption,” Symposium, “Access to the Courts in the

                                                31
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 115 of 217

      Roberts Era,” Case Western Reserve Law Review (Cleveland, Ohio January 30, 2009).

46.   Speaker, “Class Action Settlements in the United States,” Conference on Comparative
      Collective or Class Action Settlements, sponsored by the Università degli Studi di
      Milano (Milan, Italy, September 26-27, 2008).

47.   Speaker, Supreme Court Roundup, “The Supreme Court Speaks on Punitive Damages
      and Federal Pre-emption of State Law Tort Claims” (commenting on Exxon Mobil v.
      Baker and Reigel v. Medtronic (2007-08 Term)(University of Texas Law School
      (September 4, 2008).

48.   Speaker, “Current Developments in Class Action Litigation and Antitrust Class Action
      Litigation” (in-house CLE program, Baker & McKenzie, Dallas, Texas and broadcast
      throughout Baker & McKenzie affiliate offices, June 2008).

49.   Speaker, “Asbestos Litigation and Theories of Justice,” Perspectives on Asbestos
      Litigation Symposium, sponsored by the Southwestern Law Review, Southwestern Law
      School (Los Angeles, California January 18, 2008).

50.   Speaker, Speaker, Litigation and Resolution of Complex Claims, “Class Action Fairness
      Act – An Update on CAFA” sponsored by Thomson-West Legalworks (San Francisco,
      California, November 1, 2007).

51.   Speaker, “New Trends in Standing and Res Judicata in Collective Suits, Report of the
      General Reporter,” XIII World Congress of Procedural Law (Salvador, Brazil,
      September 19, 2007).

52.   Speaker, “The Politics of Class Actions,” sponsored by the Section on Civil Procedure,
      The American Association of Law Schools (Washington D.C., January 4, 2007).

53.   Speaker, Annual Conference on Tort Liability Regimes, sponsored by Munich Re
      (Munich, Germany, October 25-27th, 2006).

54.   Speaker, Corporate Counsel Symposium, Federation of Defense and Corporate Counsel
      Annual Meeting (Chicago, September 28, 2006); “Update on CAFA Issues and
      Problems.”

55.   Speaker, The Class Action Fairness Act: One Year Later, sponsored by Thomson- West
      (New York City, June 27, 2006); speaker on “Understanding the Statute: CAFA
      Basics;” “Mass Actions”: Have ‘Mass Actions” Been Subject to Removal?”.

56.   Speaker and panelist: “Looking Beyond the Pleadings in Class Certification Motions,”
      ABA-CLE Teleconference and Audio Webcast (June 13, 2006); speaker on Eisen rule
      and class certification hearings.

57.   Speaker and panelist, Civil Practice Litigation Techniques in Federal and State Courts,
      sponsored by ALI-ABA (Charleston, South Carolina, May 31-June 2, 2006); speaker on
      Emerging Problem Areas in Rule 23 (Class Actions and Class Action Fairness Act).

58.   Speaker, “Class Actions and Due Process, The 25th Anniversary of Phillips Petroleum
                                               32
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 116 of 217

      Company v. Shutts,” sponsored by the University of Missouri, Kansas City School of
      Law (Kansas City, April 7, 2006); speaker, “GRIDLAW: The Enduring Legacy of Phillips
      Petroleum Co. v. Shutts.”

59.   Speaker, Litigation and Resolution of Complex Claims, “Class Action Fairness Act
      – One Year Later;” Arbitration Agreements and Class Actions,” sponsored by
      Thomson-West Legalworks (San Francisco, California, November 16-17, 2005).

60.   Speaker and panelist, “Asbestos and the Future of Mass Tort Litigation,” at
      Symposium: Asbestos: Anatomy of a Mass Tort, sponsored by the University of
      Connecticut School of Law and the Insurance Law Center (Hartford, Connecticut,
      November 3-4, 2005).

61.   Speaker, Annual Conference on Tort Liability Regimes, “The Class Action Fairness Act
      of 2005,” sponsored by Munich Re (Munich, Germany, October 26-28th, 2005).

62.   Speaker, “The Morphing of the Mass Tort Landscape – What Factors Have Changed the
      Business of Mass Torts in Recent Years: The Class Action Fairness Act of 2005,”
      Wall Street Forum: Mass Tort Litigation (New York City, October 19, 2005).

63.   Faculty Member and panelist, “The Class Action Fairness Act,” the American Bar
      Association 9th Annual National Institute on Class Actions (Chicago, September 23, 2005
      and San Francisco, October 7, 2005).

64.   Speaker, “The Class Action Fairness Act of 2005,” The Federal Bar Association of San
      Antonio (San Antonio, Texas, September 14, 2005).

65.   Faculty Member and presenter, The Roscoe Pound Institute, “State Rulemaking: The
      Varieties of the Rulemaking Experience and the Consequences for Substantive and
      Procedural Fairness, at the 2005 Forum for State Appellate Judges, Toronto, Canada (July
      22-23, 2005).

66.   Speaker, “Cutting Edge Strategies in Class Action Litigation,” at Seminar: “Latest
      Developments In Class Action Law,” Fulbright & Jaworksi (Houston, Texas February
      23, 2005; Dallas, Texas March 30, 2005; Austin, Texas March 31, 2005).

67.   Speaker, “Should Mississippi Adopt a Class Action Rule? – Balancing the Equities: Ten
      Considerations That Mississippi Rulemakers Ought to Take Into Account in Evaluating
      Whether to Adopt a State Class Action Rule;” panelist, “The Merits and Demerits of
      Aggregating Civil Actions;” sponsored by the University of Mississippi Law School and
      Law Review Symposium “Love It or Leave It; An Examination of the Need for and
      Structure of a Class Action Rule for Mississippi” (Jackson, Mississippi, February 18,
      2005).

68.   Speaker, “Class Actions – A View From the Experts,” at the Advanced Consumer
      Litigation Conference sponsored by the Texas State Bar CLE and the National
      Association of Consumer Advocates (San Antonio, Texas, February 10-11, 2005).

69.   Speaker, 14th Annual Litigation and Resolution of Complex Class Actions, sponsored
      by Glasser LegalWorks, January 27-28, 2005. Speaker on panels: “Recent Federal and
                                              33
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 117 of 217

      State Developments;” “Preliminary Issues Regarding Forum Selection, Jurisdiction, and
      Choice of Law;” “Electronic Discovery;” “Product Liability/Mass Tort Developments
      and Medical Monitoring Class Actions;” “Consumer Actions;” “Trial, Proof of Damages,
      and Punitive Damages;” and “Resolution and Settlement Strategies.”

70.   Speaker, “Recent Developments in the Field of Class Actions and Mass Torts,” at the
      Corporate Counsel Symposium: Industries on the Defense – Defending and Managing
      Litigation Across the Country, Class Actions – Mass Torts, Aggregated Claims, New
      Threats, sponsored by the Federation of Defense & Corporate Counsel (September 9-10,
      2004)(Milwaukee, Wisconsin, in conjunction with Marquette University Law School and
      in collaboration with the Product Liability Advisory Council).

71.   Faculty Member and panelist, “Crossing the State Line: The Pursuit of State Law Claims
      for an Interstate Class, the American Bar Association 8th Annual National Institute on
      Class Actions (New York City, October 15, 2004 and New Orleans, October 29, 2004).

72.   Speaker, Bazzle v. Green Tree Financial Corporation: Are Arbitration Agreements a
      Viable Tool Against Class Actions?, The Class Action Litigation Summit: Preemptive
      Best Practices and Winning Strategies (June 24-25, 2004, Washington D.C.).

73.   Speaker, “Taking Adequacy Seriously: The Inadequate Assessment of Adequacy in
      Litigation and Settlement Classes,” at the 10th Annual Institute for Law and Economic
      Policy, Symposium: Protecting the Public; The Role of Private and Public Attorneys’
      General, sponsored by Vanderbilt University Law School and the Vanderbilt Law Journal
      (April 23-24, 2004, Miami, Florida).

74.   Speaker, “Class Action Standing After Amchem and Ortiz: The Problem of ‘Logically
      Antecedent’ Inquiries,” at Symposium on Multi-Jurisdictional and Cross- Border Class
      Actions, Michigan State University DCL College of Law (April 16-17, 2004, East Lansing,
      Michigan).

75.   Academic Invitee, Committee on the Rules of Practice and Procedure of the Judicial
      Conference of the United States, Conference on Electronic Discovery (February 20- 21,
      2004, Fordham University School of Law, New York City).

76.   Speaker, “The Future of Tort Reform: Possible Lessons From the World Trade Center
      Victim Compensation Fund,” at The Randolph W. Thrower Symposium on The Future
      of Tort Reform: Reforming the Remedy, Re-Balancing the Scales (February 19, 2004 at
      the Emory Law School, Atlanta, Georgia).

77.   Presenter and Faculty Member, 13th Annual Litigation and Resolution of Class Action
      Litigation (November 19-20th, 2003, New York City; December 3-4, 2003, San
      Francisco; sponsored by Glasser LegalWorks. Panels on “Reforms in Class Action
      Procedures and Effects on Strategies;” “Preliminary Issues Regarding Forum Selection,
      Jurisdiction, and Choice of Law;” “Products Liability/Mass Tort Developments and
      Medical Monitoring Class Actions;” “Consumer Actions.”

78.   Moderator and Presenter, The Future of Class Action Litigation in America (October 2-3,
      2003, Boston, Massachusetts, sponsored by the American Bar Association, Tort Trial &
      Insurance Practice Section). Moderator of all panels for entire first day of program (six
                                                34
      Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 118 of 217

      panels); panelist and presenter, “Recent Developments: Notice Issues, Res Judicata/Claim
      Preclusion Issues.”

79.   Speaker, “Developments in the Procedural Means For Resolution of Mass Tort
      Litigation in the United States, 1975-2003,” (February 27-28, 2003), Conference on
      Liability for Acts of Terrorism, sponsored by the European Centre of Tort and
      Insurance Law, Munich, Germany.

80.   Panelist, "The Right to Opt-Out of Class Action Suits," Symposium, "Cutting Edge Issues
      in Class Action Litigation," (November 1-2, 2002), The Legal Forum, The University of
      Chicago Law School).

81.   Speaker, “September 11th Victim Compensation Fund of 2001: A Model for the
      Future?, Liability and Insurance After September 11th (March 21-22, 2002, University
      of Connecticut School of Law, Hartford, Connecticut Insurance Law Center and the
      Geneva Association).

82.   Commentator, "Perspectives on Dispute Resolution in the 21st Century" (January 25,
      2002, William S. Boyd School of Law, University of Nevada).

83.   Speaker, "The Proposed Amendments to Federal Rule of Civil Procedure 23, The Class
      Action Rule" (January 16, 2002, The Federal Bar Association of San Antonio,
      Texas).

84.   Commentator, "Judge Jack B. Weinstein, Tort Litigation, and The Public Good"
      (November 9, 2001, Brooklyn Law School).

85.   Panelist, "Rules-Based Approaches to the Problems and Issues [relating to Proposed
      Amendments to Fed. R. Civ. P. 23]," Class Action Conference, sponsored by the
      Committee on Rules of Practice and Procedure of the Judicial Conference of the United
      States (October 22-23, 2001, Chicago, Illinois).

86.   Speaker, "A 'Predominância' e a 'Superioridade' Na Class Action for Damages Norte-
      Americana, IV Jornadas Braslieiras de Direito Procesual Civil, sponsored by the Instituto
      Brasileiro de Direito Processual and Instituto Brasiliense de Ensino e Pesquisa (August
      6-10, 2001, Fortaleza, Brazil).

87.   Speaker, "Where's There's Smoke: Will Tobacco Litigation Go Global?," Seventh
      Annual Clifford Symposium on Tort Law and Social Policy, DePaul University School
      of Law (April 5, 2001, Chicago, Illinois).

88.   Speaker, "A Good Rulemaking: Federal Rule 23(f)," Symposium on the New Federal
      Rules of Civil Procedure: How Will They Affect Litigation Strategy and Tactics?," The
      Center for Advocacy and Dispute Resolution at the University of Tennessee College of
      Law (March 15, 2001, Knoxville, Tennessee).

89.   Speaker, "Revising the Class Action Rule – Federal Rule of Civil Procedure 23," The
      University of Tennessee College of Law (March 8, 2001; faculty colloquium, March 5,
      2001, Knoxville, Tennessee).

                                                35
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 119 of 217

90.    Invited Conferee, Ad Hoc Subcommittee on Attorney Conduct, January 2001
       Invitational, Committee on Rules of Practice and Procedure of the Judicial
       Conference of the United States (January 17, 2001, Washington D.C.).

91.    Speaker, "State Class Actions Roundup: Significant Developments in States with Large
       Numbers of Class Actions," American Bar Association, Fourth Annual National
       Institute on Class Actions (October 13, 2000, New York City; October 27, 2000, Chicago,
       Illinois)(with the Section of Litigation and the Center for Continuing Legal
       Education).

92.    Instructor, National Institute for Legal Education (Stanford Law School, July 3-7, 2000;
       St. Mary's Law School, August 4-5, 2000; Nova University Law Center, Ft. Lauderdale,
       Florida, August 11-12, 2000).

93.    Speaker, “Federal Harmonization of Civil Procedure in the United States,” International
       Association of Procedural Law, Millennium Colloquium (Ghent, Belgium, April 23-28,
       2000).

94.    Lecture, “Lessons From Abroad: Complexity and Convergence,” the Reuschlein
       Endowed Lecture, Villanova University School of law (Villanova, Pennsylvania, April
       7, 2000).

95.    Speaker, "The Impact of Federal Class Action Law on Class Actions Litigation in the Gulf
       States," American Bar Association Section of Litigation Annual Meeting, Committee on
       Class Actions and Derivative Litigation (Seattle, Washington, April 6, 2000).

96.    Speaker, "Abandoning the Federal Class Action Ship: Is There Smoother Sailing for Class
       Actions in Gulf Waters: The Trickle Down Effects of Federal Class Action
       Jurisprudence on the Gulf States,” Symposium on Class Actions in the Gulf States
       sponsored by the Tulane Law Review and Tulane Law School (New Orleans, Louisiana,
       March 31, 2000).

97.    Speaker, "The Impact of Federal Class Action Law on Class Actions Litigation in the Gulf
       States," Faculty Colloquium, Villanova University School of Law (March 29, 2000).

98.    Lecture, "Lessons from Abroad–Resolving Aggregate Litigation in a Global Context,"
       (the Harold Gill Reuschlein Distinguished Visiting Distinguished Chair Lecture,
       Villanova University Law School).

99.    Invited Participant, Special Study Meeting on Federal Rules Governing Attorney
       Conduct, Subcommittee on Federal Rules Governing Attorney Conduct (sponsored by
       the Judicial Conference Committee on Rules of Practice and Procedure, Washington
       D.C., February 4, 2000).

100.   Speaker, "Civil Procedure in the 21st Century–The Future of Complex Litigation,"
       Association of American Law Schools Section on Civil Procedure (Washington D.C.
       January 8, 2000).

101.   Commentator, "Futures," Mass Tort: A Symposium, sponsored by the David Berger
       Program on Complex Litigation & the University of Pennsylvania Law Review, in
                                                 36
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 120 of 217

       Conjunction with The Advisory Committee on Civil Rules & The Working Group on Mass
       Torts (Philadelphia, Pennsylvania, November 11-12, 1999).

102.   Speaker and Panelist, "Creating Opportunities Outside the Law School," Workshop for
       Women in Legal Education, Association of American Law Schools (Chicago, Illinois
       October 1-2, 1999).

103.   Speaker and Panelist, "New Developments in Class Actions;" and "Class Actions in State
       Courts: The New Forum," American Bar Association National Institute on Class
       Actions (Washington D.C. October 8, 1999).

104.   Speaker and Panelist, "Ethical Issues in Mass Tort Litigation," 23rd Annual Page
       Keeton Products Liability and Personal Injury Law Conference (Austin, Texas
       October 21, 1999).

105.   Instructor, National Institute for Legal Education (Nova University Law Center, Ft.
       Lauderdale, Florida, August 8-10, 1999).

106.   Speaker, "Guns, Butter, Tobacco and Beer–Government Sponsored Litigation–Are You
       Next?," speaking on "Class Action and Aggregate Litigation in a Global Context,"
       Products Liability Advisory Council Meeting (San Antonio, Texas May 6, 1999).

107.   Speaker, "Hot Issues in Class Action Litigation," American Bar Association Section of
       Litigation Annual Meeting, Subcommittee on Class Actions and Derivative Litigation
       (Dallas, Texas April 16, 1999).

108.   Program Moderator, "How to Prosecute and Defend a National Class Action," American
       Bar Association Section of Litigation Annual Meeting (Dallas, Texas April 15, 1999).

109.   Colloquium Presentation, "Class Action and Aggregate Litigation in a Global Context,"
       Valparaiso University School of Law (Valparaiso, Indiana March 26, 1999).

110.   Speaker, The Monsanto Lecture: "Resolving Aggregate Mass Tort Litigation: The New
       Private Law Dispute Resolution Paradigm" (Valparaiso University School of Law,
       Valparaiso, Indiana March 25, 1999).

111.   Moderator, Plaintiffs' Law Day (University of Texas School of Law, March 9, 1999).

112.   Panelist, “The Ethics of Mass Torts and Class Action Settlements,” 8th Annual
       Advanced Civil Trial Law Conference (Houston, Texas, February 4-5, 1999).

113.   Commentator, “The Vicissitudes of the American Class Action,” International
       Colloquium–Abuse of Procedural Rights: Comparative Standards of Procedural Fairness
       (sponsored by the International Association of Procedural Law, the Louisiana State
       Bar Association, International Law Section, and the Eason- Weinmann Center for
       Comparative Law at Tulane Law School, October 29, 1998).

114.   Invited Conferee, Conference on Mass Torts, Mass Tort Working Group (sponsored by
       the Committee on Rules of Practice and Procedure of the Judicial Conference of the
       United States, San Francisco, April 23-24, 1998).
                                                  37
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 121 of 217


115.   Speaker, "Mass Torts, Class Actions, and Aggregative Procedure Through a
       Comparative Lens," Symposium on Products Liability: Comparative Approaches and
       Transnational Litigation (sponsored by the Texas International Law Journal, Austin,
       Texas February 20, 1998).

116.   Moderator, "Ethical Issues in Mass Tort Litigation" (symposium sponsored by the
       Review of Litigation, Austin, Texas, February 6, 1998).

117.   Speaker, "10th Trial by Masters" (sponsored by Tulane Law School, Continuing Legal
       Education, New Orleans, Louisiana, December 19, 1997).

118.   Speaker, "Getting to Shutts," Symposium in Honor of Professor Robert Casad (sponsored
       by the University of Kansas Law School, November 14, 1997).

119.   Commentator, "Class Actions: Uses and Abuses" (sponsored by the Austin Inns of
       Court, Austin, Texas, October 20, 1997).

120.   Commentator, Conference on Civil Discovery Rules (sponsored by the Advisory
       Committee on Civil Procedure of the United States Judicial Conference, Boston College,
       September 4-5, 1997).

121.   Speaker and Program Moderator, "Class Actions After Georgine and Ahearn: What Will
       the Future Bring?," American Bar Association Annual Meeting, Presidential Showcase
       Program (San Francisco, California, August 1, 1997).

122.   Speaker, "Current Developments in Class Action Litigation," Travis County Bar
       Association Bench-Bar VII Conference (Montgomery, Texas May 16-18, 1997).

123.   Speaker, "Mass Torts and Class Actions, Analysis of Trends and Upcoming Events,"
       (CLE Program sponsored by Shook, Hardy & Bacon, Kansas City, Missouri, April 25,
       1997).

124.   Speaker, "Current Controversies in Class Action Litigation," Loyola of Los Angeles Law
       School (Los Angeles, California, April 10, 1997).

125.   Panelist, "Class Actions at the Crossroads" (symposium conference sponsored by the
       University of Arizona College of Law, the Law College Association, and the Institute for
       Law & Economic Policy, December 13-14, 1996, Tucson, Arizona).

126.   Panelist and Speaker, “Proposed Amendments to the Federal Class Action Rule 23,”
       American Law Institute-American Bar Association Program, Employment Law: The Big
       Case (New Orleans, Louisiana, October 31, 1996).

127.   Luncheon Speaker, “Mass Tort Class Actions: On the Ropes," American Conference
       Institute, Conference of Tobacco Litigation (New York City, October 10, 1996).

128.   Speaker, "Legal Scholarship Over a Lifetime Academic Career," AALS Workshop for
       New Teachers (Washington D.C., July 27, 1996).


                                                 38
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 122 of 217

129.   Panelist, "Mass Torts: The Problems and Potential Solutions," Product Liability Advisory
       Council Spring Conference (Orlando, Florida, April 24-26, 1996).

130.   Invited participant, Special Study Conference on Federal Rules Governing Attorney
       Conduct (sponsored by the Judicial Conference Committee on Rules of Practice and
       Procedure, Los Angeles, California, January 9-10, 1996).

131.   Invited participant, Institute of Judicial Administration, Research Conference on Class
       Actions and Related Issues in Complex Litigation, New York University School of Law
       (New York City, April 21-22, 1995).

132.   Invited participant, Southwest Legal Foundation Conference on Civil Procedure and the
       Future of the Federal Rules (Southern Methodist University, Dallas, March 31, 1995).

133.   Speaker, "Personal Jurisdiction and Plaintiffs' Due Process," University of Florida
       College of Law (Gainesville, Florida, March 22-23, 1995).

134.   Speaker, "Multiforum Practice: Ethics and Erie," Philip A. Hart Lecture, Georgetown
       University Law Center, Symposium on Legal Ethics Into the Twenty-First Century
       (Washington D.C. March 17, 1995).

135.   Panelist, "The Limits of Partisan Advocacy," ABA Products Liability Section (mid- year
       meeting, Tucson, Arizona, February 23-26, 1995).

136.   Speaker, The 50th Anniversary of International Shoe: The Past and Future of Personal
       Jurisdiction, University of California at Davis School of Law (Davis, California February
       10, 1995).

137.   Speaker, "Mass Tort Litigation and the Dilemma of Federalization," Section on Federal
       Courts, Association of American Law Schools Annual Meeting (New Orleans, Louisiana,
       January 1995).

138.   Invited Conferee, National Mass Tort Conference (Cincinnati, Ohio, November 10 - 13,
       1994).

139.   Panelist, Conference on Jurisdiction, Justice, and Choice of Law for the 21st Century, New
       England School of Law (Boston, Massachusetts, October 28 - 29, 1994).

140.   Conferee, Judicial Conference of the Fifth Judicial Circuit (San Antonio, Texas, June 6-8,
       1994).

141.   Panelist, Women's Forum, Women in Legal Education, 40th Anniversary of Women
       Graduates, Georgetown University Law Center (Washington D.C., April 15, 1994).

142.   Speaker, "Discovery in Disarray: The Pervasive Myth of Pervasive Discovery Abuse and
       the Consequences of Unfounded Rulemaking," Clason Lecture Series, the Western New
       England College of Law (Springfield, Massachusetts, February 28, 1994).

143.   Speaker, "Opportunities, Responsibilities, and Roadblocks to Achieving Power: Working
       With the Legal Profession and the Bar," Miniworkshop on "Beyond Tokenism: Wrestling
                                                  39
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 123 of 217

       with Power, Creative Opportunity," Co-Sponsored by the Professional Development
       Committee and the Section on Women in the Law, Association of American Law Schools
       Annual Meeting (Orlando, Florida, January 6, 1994).

144.   Associate Reporter, The American Law Institute, PROCEEDINGS OF THE 70TH ANNUAL
       MEETING 1993 (presentation of Tentative Draft No. 6 of the RESTATEMENT OF THE LAW
       GOVERNING LAWYERS, Washington D.C., May 13 -14, 1993).

145.   Speaker, "Carnival Cruise Lines and Contractual Personal Jurisdiction," Section on
       Maritime Law, Association of American Law Schools Annual Meeting (San Francisco,
       California, January 9, 1993).

146.   Speaker, "Civil Justice Reform Act of 1990 and Its Impact on Federal Practice and
       Procedure," State Bar of Texas Annual Meeting (Corpus Christi, Texas, June 26,
       1992).

147.   Associate Reporter, The American Law Institute, PROCEEDINGS OF THE 69TH ANNUAL
       MEETING 358 (1992)(presentation of Tentative Draft No. 5 of the RESTATEMENT OF THE
       LAW GOVERNING LAWYERS, Washington D.C., May 14 - 15, 1992).

148.   Reporter, National Conference on State-Federal Judicial Relationships (Orlando, Florida,
       April 10 -13, 1992).

149.   Speaker, "Federalizing Choice of Law in Mass Tort Litigation," Section on Conflicts of
       Law, Association of American Law Schools Annual Meeting (San Antonio, Texas, January
       4, 1992).

150.   Presiding Officer, 15th Annual Page Keeton Products Liability and Personal Injury Law
       Conference (Austin, Texas, November 1991).

151.   Speaker, The Alexander Watkins Terrell Lecture, "Hope Over Experience: Mandatory
       Informal Discovery and the Politics of Rulemaking," University of Texas School of Law
       (Austin, Texas, March 19, 1991).

152.   Co-Chair, Committee on Complex Litigation, Section on Civil Procedure of the
       Association of American Law Schools; Speaker, "Problems in Complex Litigation"
       (annual meeting, January 1991).

153.   Planning Committee Member, Workshop for New Law Teachers, Association of
       American Law Schools, small group discussion leader (Washington D.C., July 1990).

154.   Chair and Planning Committee Member, Association of American Law Schools Workshop
       for New Law Teachers (Washington D.C., July 20-22, 1989).

155.   Teaching Demonstration, "Teaching Methodologies: Problem Method," Association of
       American Law Schools Workshop For New Law Teachers, (Washington, D.C., July
       21-23, l988).

156.   Planning Committee Member, Conference on Civil Procedure, Association of American
       Law Schools; Panelist, "Perspectives on Civil Procedure Scholarship: Integrating
                                                 40
       Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 124 of 217

       Traditional Scholarship Into the Classroom;" Chair, "Civil Procedure and Other
       Disciplines and Perspectives;" Chair, "Innovation in the Classroom: Use of
       Supplementary Materials" (Charlottesville, Virginia, June 4-10, 1988).

157.   Steering Committee member, symposium organizer, and panelist, D.C. Area Women Law
       Professors (1986-1991). Speaker, Symposium on Professional Development (Washington
       D.C., fall 1989); Symposium on Scholarship (Washington D.C., May 1986).

                                 PREVIOUS ACADEMIC EMPLOYMENT

 American University, Washington, D.C.
 School of Justice, College of Public Affairs

          Assistant Professor, 1978-1979
          Adjunct Assistant Professor, 1997-78; 1979-80
          Courses: Introduction to Problems of Justice; Justice and Morality; Introduction to
          Political Theory; Civil Disorder; Nature and Function of the American Legal System;
          Moral Issues in Criminal Justice; Police and the Political System; The
          Constitution and Criminal Procedure

          Department of Government, College of Public Affairs
          Adjunct Assistant Professor, Fall 1977
          Course: Introduction to American Government

 George Washington University, Washington, D.C.
 College of General Studies
           Associate Professorial Lecturer in Government, 1977-1980
           Courses: The Legislative Process; U.S. Constitutional Law and Politics I;
           U.S. Constitutional Law and Politics II

 Georgetown University Law Center, Washington, D.C. Law
         Fellow, 1978-1979
         Course: Legal Research and Writing

 Fordham University, Lincoln Center Campus New York
 City, New York
          Adjunct Assistant Professor, Political Science, 1977
          Adjunct Instructor, Political Science, 1975-1977 (offered tenure track position)
          Courses: Introduction to American Politics; Introduction to American
          Constitutional Law; Civil Liberties Under the Constitution; Political Action in
          America; Revolution and Revolutionary Change; Classical Political Thought;
          Modern Political Thought; International Law


 The City College of New York, New York City
          Department of Political Science Adjunct
          Assistant Professor, 1977
          Courses: International Law; Constitutional Law: The Federal System

 The Cooper Union for the Advancement of Science and Art
                                            41
    Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 125 of 217

Social Sciences Program
          Assistant Professor, Spring 1977
          Instructor, Fall 1976
          Course: Politics and American Society

The New York Institute of Technology, New York City
       Instructor of Political Science, Spring 1976 Courses:
       American Government and Politics; Government and
       Metropolitan Problems

The University of Maryland, European Division
Ramstein, Germany
        Instructor of Political Science, 1974


                              PREVIOUS LEGAL EMPLOYMENT

Pierson, Ball & Dowd
Washington, D.C.
(since merged with Reed, Smith, Shaw & McClay)
Associate Attorney, 1980-1981
         General corporate; FCC; Ethics in Government Act; wills and trusts; appellate

Van Arkel, Kaiser, Gressman, Dreisen & Rosenberg
Washington, D.C. (since merged with Bredhoff and Kaiser) Law
Clerk, 1979-1980
         Union labor representation; class action against Government Printing Office

Musick, Peeler & Garrett Los
Angeles, California Summer
Associate, 1979
        General corporate practice: litigation; tax; probate; labor law; health care

Environmental Protection Agency
Washington, D.C.
Summer Associate, 1978
       Research and regulations under the Resource Conservation and Recovery Act

                                    PERSONAL INFORMATION
Volunteer Guide, Wildbasin Nature Preserve (Austin, Texas)
Austin Habitat for Humanity (volunteer)
Westlake High School Band Parents (Board Member, 1999-2003; Chair, Chaperones, 2000-
        03; High School Representative, 1999-2000; Westlake Marching Festival annually)
Class reunion committee, 25th and 30th reunions, Georgetown Law Center
Class reunion committee, 40th reunion, CCNY




                                                  42
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 126 of 217




                         Exhibit B
     Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 127 of 217

                                     Summary of Time and Fees by Task


                                               Linda S. Mullenix, Attorney at Law
Reporting Period:                              January 1, 2014 ‐ April 20, 2016

                Task Category                       Total Hours             Total Billing Amount
(1) Discovery                                                   0.00                             $0.00
(2) PSC Calls/Meetings                                          0.00                             $0.00
(3) Lead Counsel/PSC Duties                                     0.00                             $0.00
(4) Administrative                                              0.00                             $0.00
(5) MDL Status Conference                                       0.00                             $0.00
(6) Court Appearance                                            0.00                             $0.00
(7) Research                                                    5.00                         $2,750.00
(8) Litigation Strategy & Analysis                             55.50                        $30,525.00
(9) Pleadings/Briefs/Pre‐trial Motions/Legal                    1.00                           $550.00
(10) Experts/Consultants                                        0.00                             $0.00
(11) Settlement                                                 0.00                             $0.00
(12) Appeal                                                     9.75                         $5,362.50
(13) Miscellaneous                                              0.00                             $0.00
Total:                                                         71.25                        $39,187.50
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 128 of 217




                     Exhibit 10
        Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 129 of 217
                              Total Compensated Seasons

                                                                      Total
Years Played            Compensated Seasons       # Players           Compensated Seasons
                    0                         0                2247                             0
                    1                         1                5041                          5041
                    2                         2                2719                          5438
                    3                         3                1940                          5820
                    4                         4                1564                          6256
                    5                         5                1366                          6830
                    6                         5                1232                          6160
                    7                         5                 965                          4825
                    8                         5                 889                          4445
                    9                         5                 802                          4010
                   10                         5                 679                          3395
                  11+                         5                1626                          8130
                        Total:                                21070                         60350

Source: Table 4‐3, Dkt. 6167 at 18
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 130 of 217




                     Exhibit 11
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 131 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Abe, Nachi                                                 3                            1.5             Y
Abe, Takuro                                                1                            0.5             Y
Abernathy, Chad                                            1                            0.5             Y
Abiamiri, Rob                                              1                            0.5             Y
Abron, Zack                                                1                            0.5             Y
Acedo, Oscar                                               1                            0.5             Y
Adams, Ben                                                 2                              1             Y
Adams, Louis                                               1                            0.5             Y
Adams, Michael                                             2          3                   1             N
Adams, Raymonn                                             1                            0.5             Y
Adams, Scott                                               1          6                   0             N
Adams, Stefon                                              1          6                   0             N
Adams, Theo                                                2          2                   1             N
Adamson, Rob                                               1                            0.5             Y
Adibi, Nathaniel                                           1                            0.5             Y
Adjei, Richard                                             4                              2             Y
Adkisson, James                                            1          1                 0.5             N
Agaoglu, Reyhan                                            3                            1.5             Y
Age, Louis                                                 2          1                   1             N
Agee, Mel                                                  1          5                   0             N
Ajdir, Foad                                                3                            1.5             Y
Akah, Emanuel                                              2                              1             Y
Akers, Jeremy                                              1                            0.5             Y
Akerstrom, Anders                                          2                              1             Y
Alalampi, Sami                                             3                            1.5             Y
Alcorn, Daron                                              1                            0.5             Y
Alderson, Winston                                          1                            0.5             Y
Aldridge, Kevin                                            1          1                 0.5             N
Aldridge, Melvin                                           2          1                   1             N
Ale, Arnold                                                1          2                 0.5             N
Alexander, Andre                                           2                              1             Y
Alexander, Bubba                                           1                            0.5             Y
Alexander, Chris                                           1                            0.5             Y
Alexander, Curtis                                          1                            0.5             Y
Alexander, Jamaal                                          1                            0.5             Y
Alexander, Jeff                                            1          2                 0.5             N
Alexander, Ken                                             2                              1             Y
Alexander, Mike                                            2                              1             Y
Alexander, Philip                                          2                              1             Y
Alford, Bill                                               2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                            1
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 132 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Alinen, Klaus                                              3                            1.5             Y
Alipate, Tuineau                                           1          2                 0.5             N
Allen, Alan                                                3                            1.5             Y
Allen, Andre                                               1                            0.5             Y
Allen, Bosley                                              2                              1             Y
Allen, Clive                                               1                            0.5             Y
Allen, Corey                                               1                            0.5             Y
Allen, Derek                                               1          1                 0.5             N
Allen, Jared                                               1                            0.5             Y
Allen, Jeremy                                              1                            0.5             Y
Allen, Jermaine                                            2                              1             Y
Allen, Kevin                                               1          1                 0.5             N
Allen, Marvin                                              3                            1.5             Y
Allen, Mikki                                               1                            0.5             Y
Allen, Reggie                                              1                            0.5             Y
Allen, Tremayne                                            1          1                 0.5             N
Allers, Jens                                               2                              1             Y
Allmond, Marcell                                           1                            0.5             Y
Almanzar, Luis                                             1                            0.5             Y
Alsbury, Paul                                              1                            0.5             Y
Alston, Charles                                            1                            0.5             Y
Alston, Corey                                              1                            0.5             Y
Alston, Jon                                                1                            0.5             Y
Alvord, Steve                                              2          2                   1             N
Alyson, Gareth                                             1                            0.5             Y
Amaya, Akihito                                             2                              1             Y
Amey, Vince                                                2          1                   1             N
Ammons, David                                              1                            0.5             Y
Amos, Willie                                               1                            0.5             Y
Amundson, Allan                                            2                              1             Y
Anderbrügge, Ingo                                          2                              1             Y
Anderson, Adam                                             2                              1             Y
Anderson, Bill                                             2                              1             Y
Anderson, Bryan                                            1          1                 0.5             N
Anderson, Dunstan                                          1          2                 0.5             N
Anderson, Eric                                             1                            0.5             Y
Anderson, Gerry                                            2                              1             Y
Anderson, Jason                                            1                            0.5             Y
Anderson, Jason                                            1          1                 0.5             N
Anderson, Jeff                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                            2
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 133 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Anderson, John                                             1                            0.5             Y
Anderson, Kane                                             1                            0.5             Y
Anderson, Ken                                              1          1                 0.5             N
Anderson, Lance                                            1                            0.5             Y
Anderson, Maurice                                          1                            0.5             Y
Anderson, Sir Henry                                        1                            0.5             Y
Ando, Sumitaka                                             2                              1             Y
Andrew, Michael                                            1                            0.5             Y
Andrew, Troy                                               2          1                   1             N
Andrews, Kyle                                              1                            0.5             Y
Andrews, Ricky                                             3          1                 1.5             N
Andrus, Shane                                              1          2                 0.5             N
Anelli, Mark                                               1          1                 0.5             N
Anes, Curt                                                 1                            0.5             Y
Angoy, Jesús                                               7                            3.5             Y
Ansu‐Yeboah, Kevin                                         1                            0.5             Y
Anthony, Charles                                           1                            0.5             Y
Aoga, Neo                                                  1                            0.5             Y
Apolskis, Rick                                             2                              1             Y
Archer, David                                              1          6                   0             N
Archer, Phil                                               2                              1             Y
Archer, Sam                                                1                            0.5             Y
Arellanes, Jim                                             3                            1.5             Y
Arey, Dennis                                               1                            0.5             Y
Arnaud, Robert                                             1                            0.5             Y
Arnold, Andre                                              2                              1             Y
Arnold, Clay                                               1                            0.5             Y
Aronson, Doug                                              2          1                   1             N
Arth, Tom                                                  2                              1             Y
Asberry, Darrell                                           1                            0.5             Y
Ashman, Duane                                              1                            0.5             Y
Aska, Joe                                                  1          3                 0.5             N
Aslaksen, Nicolay                                          1                            0.5             Y
Atkins, Corey                                              1          1                 0.5             N
Atkinson, Brian                                            1                            0.5             Y
Atkinson, Jason                                            1                            0.5             Y
Atoe, Ryan                                                 2                              1             Y
Augafa, Patrick                                            1                            0.5             Y
Augustino, Jason                                           1                            0.5             Y
Austin, Larry                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                            3
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 134 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Austin, Reggie                                             1          2                 0.5             N
Austin, Rick                                               1                            0.5             Y
Austin, Teryl                                              1                            0.5             Y
Avery, Steve                                               1          5                   0             N
Avetisyan, Avo                                             1                            0.5             Y
Ayanbadejo, Brendon                                        1         10                   0             N
Backes, Tom                                                1                            0.5             Y
Bacon, Omar                                                1                            0.5             Y
Badon, Adesola                                             1                            0.5             Y
Bailey, Corey                                              1                            0.5             Y
Bailey, Craig                                              1                            0.5             Y
Bailey, David                                              2                              1             Y
Bailey, David                                              1          1                 0.5             N
Bailey, Kenny                                              1                            0.5             Y
Bailey, Mario                                              6                              3             Y
Bailey, Ronald                                             1                            0.5             Y
Bailey, Thomas                                             1          1                 0.5             N
Bailey, Troy                                               2                              1             Y
Baisley, Jamie                                             3                            1.5             Y
Baker, Jon                                                 1          2                 0.5             N
Baker, Jon                                                 3                            1.5             Y
Baker, Mike                                                1                            0.5             Y
Baker, Robert                                              1          1                 0.5             N
Baker, Steve                                               1                            0.5             Y
Baker, Tony                                                2          3                   1             N
Baldwin, Damon                                             4                              2             Y
Baldwin, Fabian                                            2                              1             Y
Ball, Chris                                                1                            0.5             Y
Ball, LaVar                                                1                            0.5             Y
Ballantyne, Jon                                            2                              1             Y
Ballard, Clenton                                           1                            0.5             Y
Ballard, Derrick                                           3                            1.5             Y
Ballard, Jim                                               3                            1.5             Y
Ballard, Karl                                              2                              1             Y
Bandison, Romeo                                            1          2                 0.5             N
Banes, Joey                                                1          1                 0.5             N
Banks, Antonio                                             1          3                 0.5             N
Banks, Chris                                               1          3                 0.5             N
Banks, Shawn                                               3                            1.5             Y
Barber, Chris                                              1          3                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                            4
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 135 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Barber, Rudy                                               1                            0.5             Y
Barbotti, Maurizio                                         1                            0.5             Y
Barnard, Brooks                                            1          1                 0.5             N
Barnard, David                                             1                            0.5             Y
Barnes, Johnnie                                            1          4                 0.5             N
Barnes, Leo                                                1                            0.5             Y
Barnes, Lew                                                1          3                 0.5             N
Barnes, Pat                                                1          1                 0.5             N
Barnes, Rashidi                                            2          1                   1             N
Barnett, Alonza                                            2                              1             Y
Barnett, Oliver                                            1          6                   0             N
Barnett, Thomas                                            1                            0.5             Y
Barnett, Tim                                               1          3                 0.5             N
Barr, Dave                                                 1          1                 0.5             N
Barr, Mike                                                 3          1                 1.5             N
Barr, Robert                                               3                            1.5             Y
Bartalo, Steve                                             2          1                   1             N
Barthelmes, Brian                                          1                            0.5             Y
Bartlewski, Rich                                           1          2                 0.5             N
Bary, Ousmane                                              1                            0.5             Y
Baskin, Thomas                                             1                            0.5             Y
Basler, Kyle                                               1                            0.5             Y
Bass, Robert                                               1          1                 0.5             N
Bateman, Eric                                              1                            0.5             Y
Bates, Chad                                                2                              1             Y
Bates, Steve                                               1                            0.5             Y
Batiste, Michael                                           2          2                   1             N
Batiste, Raymond                                           1                            0.5             Y
Battle, Andrew                                             1                            0.5             Y
Battle, Terry                                              1                            0.5             Y
Bauer, Stephan                                             2                              1             Y
Baugher, Danny                                             1                            0.5             Y
Bautovich, Wes                                             1                            0.5             Y
Bax, Carl                                                  1          2                 0.5             N
Baxley, Rob                                                1          1                 0.5             N
Baxter, Neil                                               1                            0.5             Y
Bayes, Andrew                                              2                              1             Y
Bayne, Chris                                               1          2                 0.5             N
Baynham, Grant                                             1                            0.5             Y
Bazile, Wilky                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                            5
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 136 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Beach, Sanjay                                              1          4                 0.5             N
Beasley, Chad                                              1          1                 0.5             N
Beauchamp, Tim                                             1                            0.5             Y
Beavers, Aubrey                                            1          3                 0.5             N
Beck, Tom                                                  1                            0.5             Y
Beckley, Jeff                                              3                            1.5             Y
Behre, Ulf                                                 1                            0.5             Y
Beitia, Xavier                                             1                            0.5             Y
Belden, Terry                                              1                            0.5             Y
Belin, Chuck                                               1          3                 0.5             N
Bell, Grantis                                              1                            0.5             Y
Bell, Jim                                                  2                              1             Y
Bell, Jimmie                                               1                            0.5             Y
Bell, Ken                                                  1          4                 0.5             N
Bell, Kerwin                                               2          1                   1             N
Bell, Ricky                                                1          3                 0.5             N
Bell, Trumane                                              1                            0.5             Y
Bellamy, Mike                                              2          1                   1             N
Belli, Barry                                               1                            0.5             Y
Bellora, Luca                                              1                            0.5             Y
Bender, Carey                                              1          1                 0.5             N
Bender, Wes                                                1          2                 0.5             N
Benetka, Daniel                                            6                              3             Y
Benjamin, Na'il                                            1                            0.5             Y
Bennett, Ben                                               1          1                 0.5             N
Bennett, Stan                                              1                            0.5             Y
Bennett, Tracy                                             1                            0.5             Y
Bennetts, Aaron                                            1                            0.5             Y
Benoit, Jermaine                                           2                              1             Y
Benoit, Sarth                                              1                            0.5             Y
Bentley, Scott                                             1          3                 0.5             N
Berardelli, Paul                                           2                              1             Y
Berger, Blaine                                             2                              1             Y
Bergeron, David                                            1                            0.5             Y
Berlin, Brock                                              1          2                 0.5             N
Bernard, Mike                                              1                            0.5             Y
Berry, Reggie                                              1                            0.5             Y
Berryman, Jason                                            1                            0.5             Y
Berti, Tony                                                1          3                 0.5             N
Bethea, James                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                            6
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 137 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Bethel, Randy                                              1                            0.5             Y
Bethune, George                                            1          2                 0.5             N
Beun, Daniel                                               1                            0.5             Y
Beutler, Jeremy                                            1                            0.5             Y
Biancamano, Francesco                                      2                              1             Y
Biedermann, Claus                                          2                              1             Y
Bierman, Randy                                             2                              1             Y
Bingham, T.J.                                              2                              1             Y
Birmingham, DeCori                                         1                            0.5             Y
Bishop, Michael                                            1          1                 0.5             N
Bishop, Octavious                                          1                            0.5             Y
Björk, Carl‐Johan                                          3                            1.5             Y
Bjorkman, Stefan                                           1                            0.5             Y
Black, Greg                                                1                            0.5             Y
Black, Nathan                                              1          2                 0.5             N
Blackman, Jon                                              1                            0.5             Y
Blackwell, Kory                                            3          1                 1.5             N
Blair, Ja'Waren                                            2                              1             Y
Blair, Michael                                             1          1                 0.5             N
Blake, Ricky                                               1          1                 0.5             N
Blakley, Dwayne                                            1          4                 0.5             N
Blanco, Theo                                               2                              1             Y
Bland, Justin                                              1                            0.5             Y
Bleker, Marcus                                             1                            0.5             Y
Blenman, Rowelle                                           9                            4.5             Y
Blick, John                                                1                            0.5             Y
Blizzard, Bobby                                            2                              1             Y
Bloedorn, Greg                                             1          2                 0.5             N
Blokland, Patrick                                          1                            0.5             Y
Blomvall, Carl‐Johan                                       2                              1             Y
Blundin, Matt                                              1          3                 0.5             N
Bob, Adam                                                  2          1                   1             N
Bobo, Phillip                                              1                            0.5             Y
Bogle, Phil                                                1          1                 0.5             N
Bohlinger, Rob                                             1          1                 0.5             N
Boles, Tony                                                1                            0.5             Y
Bolling, Nate                                              1                            0.5             Y
Bolton, Nathaniel                                          2                              1             Y
Bonds, Byron                                               1                            0.5             Y
Bongo‐Wanga, Loliki                                        1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                            7
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 138 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Bonner, Cedric                                             2                              1             Y
Bonner, Patrick                                            1                            0.5             Y
Booker, Fred                                               1          1                 0.5             N
Booker, Ulish                                              1                            0.5             Y
Boone, Aaron                                               2                              1             Y
Boone, Jesse                                               1                            0.5             Y
Booth, John                                                1                            0.5             Y
Borgella, Jocelyn                                          1          2                 0.5             N
Borum, Jarvis                                              1          1                 0.5             N
Bouknight, Jovon                                           1                            0.5             Y
Bouman, Todd                                               1         10                   0             N
Bouyer, Willie                                             2          1                   1             N
Bowden, Andre                                              1                            0.5             Y
Bowenkamp, John                                            1                            0.5             Y
Bowers, Ryan                                               1                            0.5             Y
Bowick, Tony                                               2          1                   1             N
Bowman, Mike                                               1                            0.5             Y
Boyd, LaVell                                               1          1                 0.5             N
Boyd, Shane                                                1          1                 0.5             N
Boyd, Tommie                                               1          2                 0.5             N
Bozeman, Michael                                           1                            0.5             Y
Bradford, Patrick                                          1                            0.5             Y
Bradford, Vincent                                          2                              1             Y
Bradley, Chuck                                             2          1                   1             N
Bradley, Jykine                                            1                            0.5             Y
Bradley, Mario                                             1                            0.5             Y
Brady, Rickey                                              2          1                   1             N
Bragg, Craig                                               1                            0.5             Y
Bramlet, Casey                                             1          2                 0.5             N
Bramlet, Corey                                             1                            0.5             Y
Branch, Bruce                                              1          1                 0.5             N
Branch, Calvin                                             1          5                   0             N
Branch, Darrick                                            1                            0.5             Y
Branch, Mario                                              1                            0.5             Y
Brandom, John                                              1                            0.5             Y
Brannon, Steve                                             2                              1             Y
Branscomb, Kenyon                                          1                            0.5             Y
Branscombe, Steven                                         1                            0.5             Y
Brantley, Chris                                            1          2                 0.5             N
Brantley, John                                             1          2                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                            8
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 139 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Brantley, Kellen                                           1                            0.5             Y
Brasher, Bob                                               1                            0.5             Y
Bratton, Brian                                             1                            0.5             Y
Bray, Jayson                                               1                            0.5             Y
Bray, Trent                                                1                            0.5             Y
Brazier, James                                             1                            0.5             Y
Breeden, Sam                                               1                            0.5             Y
Breedlove, Dimitrius                                       1                            0.5             Y
Breedlove, Kevin                                           1          1                 0.5             N
Bretz, Brad                                                3                            1.5             Y
Brew, Dorian                                               1          2                 0.5             N
Brewer, Ryan                                               1                            0.5             Y
Brewster, Carlton                                          1                            0.5             Y
Brice, Will                                                1          2                 0.5             N
Brickus, Lelan                                             4                              2             Y
Bridewell, Jeff                                            1                            0.5             Y
Bridges, Corey                                             1                            0.5             Y
Brielmaier, Ben                                            1                            0.5             Y
Brigham, Marques                                           1                            0.5             Y
Bright, Anthony                                            1          1                 0.5             N
Brightful, Lamont                                          1          3                 0.5             N
Brilliant, Pierre                                          1                            0.5             Y
Brimmer, Jamaal                                            1                            0.5             Y
Brinker, Chad                                              1                            0.5             Y
Brinson, Dana                                              1          1                 0.5             N
Bristol, Mark                                              1                            0.5             Y
Britton, Eddie                                             1                            0.5             Y
Broady, Timothy                                            2                              1             Y
Brook, Mark                                                2                              1             Y
Brooks, Ahmad                                              1          1                 0.5             N
Brooks, Bobby                                              2          3                   1             N
Brooks, Carlos                                             2          1                   1             N
Brooks, Ethan                                              1          7                   0             N
Brooks, Jamal                                              1          2                 0.5             N
Brooks, Kevin                                              1                            0.5             Y
Brooks, Reggie                                             1          4                 0.5             N
Brooks, Steve                                              1          1                 0.5             N
Brooks, Tony                                               1          1                 0.5             N
Broomfield, Donald                                         1                            0.5             Y
Broussard, Jamall                                          1          1                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                            9
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 140 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Brown, Andre                                               1          2                 0.5             N
Brown, Ben                                                 2                              1             Y
Brown, Chris                                               2                              1             Y
Brown, Chris                                               1          1                 0.5             N
Brown, Darwin                                              1                            0.5             Y
Brown, DeAuntae                                            2          1                   1             N
Brown, Delvin                                              1          1                 0.5             N
Brown, DeMario                                             1                            0.5             Y
Brown, Demetrius                                           1                            0.5             Y
Brown, Denauld                                             2                              1             Y
Brown, Eddie                                               1                            0.5             Y
Brown, Ernie                                               1          1                 0.5             N
Brown, Gary                                                2          3                   1             N
Brown, Greg                                                2                              1             Y
Brown, Henry                                               1                            0.5             Y
Brown, James                                               2                              1             Y
Brown, Jeff                                                2                              1             Y
Brown, Jonathan                                            2          2                   1             N
Brown, Justin                                              2                              1             Y
Brown, Kerry                                               1                            0.5             Y
Brown, LaWaylon                                            1                            0.5             Y
Brown, Marlon                                              2                              1             Y
Brown, Matt                                                1                            0.5             Y
Brown, Michael                                             1          1                 0.5             N
Brown, Pierre                                              1                            0.5             Y
Brown, Ricky                                               1                            0.5             Y
Brown, Rufus                                               1          1                 0.5             N
Brown, Tim                                                 1                            0.5             Y
Brown, Tony                                                1          1                 0.5             N
Brown, Wilbert                                             1          3                 0.5             N
Brown, Will                                                1                            0.5             Y
Browning, Alfonzo                                          2                              1             Y
Broyles, James                                             1          1                 0.5             N
Brubaker, Mark                                             1                            0.5             Y
Brunson, Joe                                               1                            0.5             Y
Bryant, Beno                                               1          1                 0.5             N
Bryant, Phil                                               1                            0.5             Y
Bryant, Ricky                                              2                              1             Y
Bryant, Taman                                              1                            0.5             Y
Bryant, Vaughn                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        10
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 141 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Bryant, Winfred                                            2                              1             Y
Brymer, Chris                                              2                              1             Y
Bubin, Sean                                                1                            0.5             Y
Buchanan, Richard                                          1          2                 0.5             N
Buck, Edward                                               1                            0.5             Y
Buck, Jason                                                1          7                   0             N
Buddenberg, John                                           2                              1             Y
Buhl, Josh                                                 1                            0.5             Y
Burbage, Cornell                                           2          3                   1             N
Burch, John                                                1                            0.5             Y
Burford, Seth                                              1                            0.5             Y
Burgsmüller, Manfred                                       7                            3.5             Y
Burkett, Jeremy                                            1                            0.5             Y
Burks, Diaello                                             2          1                   1             N
Burman, Ed                                                 1                            0.5             Y
Burman, Jon                                                1                            0.5             Y
Burnett, Bryce                                             2                              1             Y
Burnett, Webbie                                            1                            0.5             Y
Burns, Antoine                                             1                            0.5             Y
Burr, Josh                                                 1                            0.5             Y
Burris, Henry                                              1          1                 0.5             N
Burroughs, Justin                                          1                            0.5             Y
Burse, Tony                                                2          1                   1             N
Burton, Charles                                            2                              1             Y
Burton, Kendrick                                           1          1                 0.5             N
Busch, Peter                                               1                            0.5             Y
Bush, Jovon                                                1                            0.5             Y
Bussie, Arthur                                             1                            0.5             Y
Butkus, Luke                                               2                              1             Y
Butler, Darren                                             1                            0.5             Y
Butler, Duane                                              1          2                 0.5             N
Butler, Hillary                                            2          1                   1             N
Butler, Jay                                                1                            0.5             Y
Butler, Terry                                              1          1                 0.5             N
Butler, Vince                                              1                            0.5             Y
Butterfield, Mark                                          1                            0.5             Y
Butts, Anthony                                             2                              1             Y
By'Not'e, Butler                                           1          2                 0.5             N
Byers, Mark                                                1                            0.5             Y
Bynum, Reggie                                              1          1                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        11
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 142 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Byrd, Anthony                                              1                            0.5             Y
Byrd, Israel                                               2          2                   1             N
Byworth, Jason                                             4                              2             Y
Cade, Eddie                                                1          1                 0.5             N
Cadore, Mike                                               1                            0.5             Y
Caesar, Ivan                                               1          1                 0.5             N
Cain, Jeremy                                               1          9                   0             N
Caldwell, Cecil                                            1                            0.5             Y
Caldwell, David                                            1          1                 0.5             N
Caldwell, Donnie                                           1                            0.5             Y
Callens, Corey                                             2                              1             Y
Campbell, Joseph                                           1          2                 0.5             N
Campbell, Kofi                                             1                            0.5             Y
Campbell, Lang                                             1                            0.5             Y
Campion, Pete                                              1                            0.5             Y
Campos, Alan                                               2          1                   1             N
Canonico, Ed                                               1                            0.5             Y
Cantelupe, Jim                                             2                              1             Y
Cantrell, Barry                                            1          1                 0.5             N
Cantu, Omar Erick                                          2                              1             Y
Cantu, Rolando                                             1          1                 0.5             N
Capes, Lewis                                               4                              2             Y
Caravatta, Giulio                                          1                            0.5             Y
Carberry, Kevin                                            1                            0.5             Y
Carey, Richard                                             1          2                 0.5             N
Carlyle, Calvin                                            1                            0.5             Y
Carmazzi, Giovanni                                         1          1                 0.5             N
Carollo, Joe                                               1                            0.5             Y
Carothers, Greg                                            2                              1             Y
Carpenter, Ron                                             1          5                   0             N
Carr, Lydell                                               2          1                   1             N
Carr, William                                              1                            0.5             Y
Carroll, Herman                                            1          1                 0.5             N
Carroll, Travis                                            1          2                 0.5             N
Carson, Elliott                                            1                            0.5             Y
Carter, Antwaun                                            1                            0.5             Y
Carter, Bernard                                            1          1                 0.5             N
Carter, Dwight                                             1                            0.5             Y
Carter, Dyshod                                             1          3                 0.5             N
Carter, Jeremy                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        12
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 143 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Carter, Johnny                                             1                            0.5             Y
Carter, Jon                                                2          1                   1             N
Carter, Kahlil                                             1                            0.5             Y
Carter, Ontiwaun                                           3                            1.5             Y
Carter, Simmie                                             1                            0.5             Y
Carter, Tim                                                2          1                   1             N
Carthen, Jason                                             1          2                 0.5             N
Carthy, Trevor                                             1                            0.5             Y
Cartwright, Ricardo                                        1                            0.5             Y
Cash, Ataveus                                              2                              1             Y
Castaneda, Eduardo                                         1                            0.5             Y
Castro, Cayetano                                           1                            0.5             Y
Caudill, Jeremy                                            2                              1             Y
Cavallo, Tom                                               2                              1             Y
Cavil, Ben                                                 1          2                 0.5             N
Cavil, Kwame                                               1          1                 0.5             N
Cavka, Marko                                               2                              1             Y
Cawley, Mike                                               1                            0.5             Y
Cecere, Mike                                               1                            0.5             Y
Cecil, Toby                                                1                            0.5             Y
Cercone, Matt                                              1          2                 0.5             N
Chambers, Derrick                                          1                            0.5             Y
Chambers, Dwain                                            1                            0.5             Y
Chamblin, Corey                                            1          1                 0.5             N
Champagne, Alan                                            1                            0.5             Y
Chandler, Darren                                           2                              1             Y
Chandler, Dwayne                                           1                            0.5             Y
Chaney, Jeff                                               2                              1             Y
Chaney, Jermaine                                           2                              1             Y
Chang, Timmy                                               1                            0.5             Y
Chapman, Lindsey                                           1                            0.5             Y
Chapman, Robert                                            1                            0.5             Y
Chapura, Dick                                              1          1                 0.5             N
Charles, Craig                                             1                            0.5             Y
Charles, Earl                                              1                            0.5             Y
Charles, Hency                                             2                              1             Y
Charles, Terry                                             1                            0.5             Y
Chase, Jeff                                                1                            0.5             Y
Chatman, Jermaine                                          2                              1             Y
Cheattom, Carlo                                            1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        13
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 144 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Cheek, Steve                                               1          1                 0.5             N
Cherry, J'Juan                                             1                            0.5             Y
Cherry, Marcus                                             1                            0.5             Y
Chevrier, Randy                                            1          1                 0.5             N
Childress, Ahmad                                           1                            0.5             Y
Childress, O.J.                                            1          1                 0.5             N
Childs, Henri                                              1                            0.5             Y
Childs, Jason                                              1                            0.5             Y
Childs, Ron                                                1          1                 0.5             N
Christenson, Brandon                                       1          1                 0.5             N
Christian, Kenny                                           1                            0.5             Y
Chryst, George                                             1                            0.5             Y
Clabo, Tyson                                               1          9                   0             N
Clack, Darryl                                              1          4                 0.5             N
Clare, Mike                                                2                              1             Y
Clark, Bruce                                               2          8                   0             N
Clark, Derrick                                             4          1                   2             N
Clark, Howard                                              1                            0.5             Y
Clark, Matthew                                             1                            0.5             Y
Clark, Reggie                                              1          3                 0.5             N
Clark, Rico                                                1          3                 0.5             N
Clark, Sedric                                              3          1                 1.5             N
Clarke, Tim                                                1                            0.5             Y
Claro, Tom                                                 2                              1             Y
Clausen, Casey                                             1                            0.5             Y
Claxton, Ben                                               1          3                 0.5             N
Claybrooks, Felipe                                         1          2                 0.5             N
Clayton, Carey                                             1          1                 0.5             N
Clement, Ryan                                              1                            0.5             Y
Clements, Chuck                                            1          1                 0.5             N
Clements, Jimmy                                            1                            0.5             Y
Clemons, Lloyd                                             1                            0.5             Y
Clinkscale, Jonathan                                       1                            0.5             Y
Clinton, Eugene                                            1                            0.5             Y
Cloman, Scott                                              1                            0.5             Y
Coauette, Greg                                             1                            0.5             Y
Cobb, Glenn                                                2                              1             Y
Cobb, Trevor                                               1          1                 0.5             N
Cobbins, Lyron                                             1          1                 0.5             N
Cobbs, Anthony                                             2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        14
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 145 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Cobourne, Avon                                             1          1                 0.5             N
Cochran, Earl                                              1          3                 0.5             N
Cochran, Nate                                              1                            0.5             Y
Cochrane, Chris                                            1                            0.5             Y
Cockerham, Billy                                           1                            0.5             Y
Cockrell, Randy                                            1                            0.5             Y
Codrington, Nigel                                          1                            0.5             Y
Coghill, George                                            3          4                   1             N
Cohen, Dustin                                              2          2                   1             N
Cohens, Willie                                             1                            0.5             Y
Colbert, Darrell                                           1          2                 0.5             N
Cole, Lee                                                  2          1                   1             N
Coleman, Calvin                                            1                            0.5             Y
Coleman, Herb                                              1                            0.5             Y
Coleman, Quincy                                            1                            0.5             Y
Coleman, Travis                                            1          1                 0.5             N
Coles, Karl                                                1                            0.5             Y
Coley, Marvin                                              2                              1             Y
Coll, Pau                                                  3                            1.5             Y
Collins, Chris                                             1                            0.5             Y
Collins, Dan                                               1                            0.5             Y
Collins, Fabray                                            1          1                 0.5             N
Collins, Linzy                                             1                            0.5             Y
Collins, McAlister                                         1                            0.5             Y
Collins, Mike                                              1                            0.5             Y
Collins, Ronald                                            2                              1             Y
Collins, Roosevelt                                         1          1                 0.5             N
Collins, Ryan                                              2          1                   1             N
Collins, Shawn                                             1          5                   0             N
Colquitt, Jerry                                            1                            0.5             Y
Combs, Derek                                               1          2                 0.5             N
Combs, Jonathan                                            1                            0.5             Y
Concetion, Shurendy                                        2                              1             Y
Conde, Cacho                                               1                            0.5             Y
Conley, Bart                                               1                            0.5             Y
Conley, Jonathanio                                         1                            0.5             Y
Conley, Leonard                                            1                            0.5             Y
Conley, Sean                                               1                            0.5             Y
Connolly, Brian                                            1                            0.5             Y
Connor, Rameel                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        15
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 146 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Connot, Scott                                              1          1                 0.5             N
Conti, Eddie                                               2                              1             Y
Cook, Ivan                                                 1                            0.5             Y
Cook, Kerwin                                               1                            0.5             Y
Cook, Michael                                              1                            0.5             Y
Cook, Mike                                                 1                            0.5             Y
Cooks, Terrence                                            2          1                   1             N
Cooney, Anthony                                            2                              1             Y
Cooper, Andre                                              1          1                 0.5             N
Cooper, Deke                                               1          6                   0             N
Cooper, Gary                                               1                            0.5             Y
Cooper, Roger                                              1                            0.5             Y
Copeland, Jeremaine                                        1                            0.5             Y
Corell, Marc                                               1                            0.5             Y
Cortez, Jose                                               1          6                   0             N
Costa, Dave                                                1          1                 0.5             N
Costa, Frank                                               2                              1             Y
Costello, Brad                                             1          2                 0.5             N
Cotar, Cedric                                              3                            1.5             Y
Cotton, Curtis                                             1                            0.5             Y
Cotton, Kotto                                              1                            0.5             Y
Cottrell, Jim                                              1                            0.5             Y
Cottrell, T.J.                                             2                              1             Y
Couch, Robert                                              2                              1             Y
Council, Keith                                             1                            0.5             Y
Couper, Scott                                              9                            4.5             Y
Courville, Vince                                           2          1                   1             N
Cousins, Jomo                                              1                            0.5             Y
Coutain, Kenny                                             1                            0.5             Y
Covington, Brian                                           1                            0.5             Y
Cowsette, Delbert                                          1          2                 0.5             N
Cox, Jamal                                                 1                            0.5             Y
Cox, Jonathan                                              1                            0.5             Y
Cox, Renard                                                2          1                   1             N
Crafts, Jerry                                              1          5                   0             N
Craig, Dameyune                                            1          2                 0.5             N
Craig, Keith                                               1                            0.5             Y
Craig, Paco                                                1          1                 0.5             N
Crandell, Marcus                                           1                            0.5             Y
Crawford, Darrell                                          1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        16
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 147 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Crawford, Derrick                                          1                            0.5             Y
Crawford, Regis                                            1                            0.5             Y
Crawford, Tarren                                           1                            0.5             Y
Crawford, Tim                                              1          1                 0.5             N
Crecion, Gabriel                                           1          1                 0.5             N
Crespina, Keita                                            1                            0.5             Y
Crigler, Eric                                              1                            0.5             Y
Cristobal, Mario                                           2                              1             Y
Criswell, Ray                                              2          2                   1             N
Crittendon, Aaron                                          1                            0.5             Y
Crocker, Sean                                              1                            0.5             Y
Cromartie, Keaton                                          1                            0.5             Y
Croom, Larry                                               3          1                 1.5             N
Crooms, Chris                                              2          1                   1             N
Crossman, Dan                                              2                              1             Y
Crouch, Eric                                               1                            0.5             Y
Crowder, Tom                                               1                            0.5             Y
Crowell, Jeff                                              1                            0.5             Y
Crowell, Rick                                              1                            0.5             Y
Crum, Maurice                                              1                            0.5             Y
Crummey, Pat                                               1                            0.5             Y
Cullinane, Gene                                            1                            0.5             Y
Cully, Steve                                               2                              1             Y
Cummings, Chris                                            4                              2             Y
Cunningham, Alonzo                                         1                            0.5             Y
Curley, Dan                                                1          1                 0.5             N
Curry, Clarence                                            1          1                 0.5             N
Curry, Nate                                                1                            0.5             Y
Curry, Scott                                               1          1                 0.5             N
Curry, Walter                                              2                              1             Y
Curtis, Bobby                                              1          1                 0.5             N
Curtis, Isaac                                              1                            0.5             Y
Curtis, Kevin                                              2                              1             Y
Curtis, Travis                                             1          5                   0             N
Czwalinna, Christian                                       1                            0.5             Y
Czyzewski, Arden                                           1                            0.5             Y
Dacus, David                                               1                            0.5             Y
Dada, Omowale                                              1                            0.5             Y
Daft, Kevin                                                2                              1             Y
Dahlke, Dennis                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        17
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 148 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Dahlquist, Eric                                            1                            0.5             Y
Dalton, Antico                                             1          2                 0.5             N
Daniel, Darryl                                             1                            0.5             Y
Daniels, Juan                                              1                            0.5             Y
Daniels, LeShun                                            1          1                 0.5             N
Dantzler, Woodrow                                          1          2                 0.5             N
Darby, Brendan                                             1                            0.5             Y
Darby, Chartric                                            1          9                   0             N
Darrington, Charlie                                        2                              1             Y
Datz, Daniel                                               1                            0.5             Y
Dausin, Chris                                              2                              1             Y
Davis, Adam                                                1                            0.5             Y
Davis, Charles                                             1                            0.5             Y
Davis, Darrell                                             1          2                 0.5             N
Davis, Darrick                                             1                            0.5             Y
Davis, Demetrius                                           4                              2             Y
Davis, Dennis                                              1                            0.5             Y
Davis, Ennis                                               1                            0.5             Y
Davis, Jason                                               1                            0.5             Y
Davis, Jason                                               1                            0.5             Y
Davis, Jerome                                              1          3                 0.5             N
Davis, Joel                                                1                            0.5             Y
Davis, Josh                                                1                            0.5             Y
Davis, Nick                                                1          2                 0.5             N
Davis, Pat                                                 1                            0.5             Y
Davis, Pernell                                             2          1                   1             N
Davis, Richard                                             1                            0.5             Y
Davis, Robert                                              1                            0.5             Y
Davis, Shockmain                                           1          1                 0.5             N
Davis, Terence                                             2                              1             Y
Davis, Thabiti                                             1          2                 0.5             N
Davis, Wade                                                2                              1             Y
Davis, Wayne                                               1          2                 0.5             N
Dawkins, Ralph                                             4                              2             Y
Dawson, Curry                                              1                            0.5             Y
Day, Chris                                                 1                            0.5             Y
Day, Terry                                                 1          1                 0.5             N
De La Garza, Aldo                                          1                            0.5             Y
Dean, Josh                                                 1                            0.5             Y
Dean, Kevin                                                1          1                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        18
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 149 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Dean, Konrad                                               1                            0.5             Y
Dean, Terry                                                1                            0.5             Y
Dees, Dempsey                                              1                            0.5             Y
DeGraffenreid, Allen                                       2          1                   1             N
DeLamielleure, Todd                                        1                            0.5             Y
DeLaTorre, Aaron                                           1                            0.5             Y
Delhomme, Jake                                             1         10                   0             N
Deligianis, Harry                                          1                            0.5             Y
DeLorenzo, Tony                                            1                            0.5             Y
Demaree, Chris                                             1          1                 0.5             N
Denis Sanchez, Aristides                                   1                            0.5             Y
Denney, Chris                                              1                            0.5             Y
Denson, Autry                                              1          4                 0.5             N
DePaola, Dante                                             3                            1.5             Y
DeRonde, Kevin                                             3                            1.5             Y
DesRochers, Dave                                           2                              1             Y
Devine, Matt                                               1                            0.5             Y
Devoe, Todd                                                1          2                 0.5             N
DeWitt, John                                               2                              1             Y
Diaz‐Infante, David                                        2          6                   0             N
Dickerson, Bryan                                           1                            0.5             Y
Dickerson, Kori                                            1          1                 0.5             N
Dickerson, Ron                                             2          2                   1             N
Dickson, Joel                                              1                            0.5             Y
Dickson, Wayne                                             2                              1             Y
Diedrick, Dahrran                                          1          1                 0.5             N
Dieplinger, Benjamin                                       1                            0.5             Y
Diliberto, Silvio                                          8                              4             Y
Dillahunt, Ellis                                           1          1                 0.5             N
Dillard, Sean                                              1                            0.5             Y
Dilweg, Anthony                                            1          2                 0.5             N
DiMario, Pete                                              1                            0.5             Y
Dingle, Antonio                                            2          1                   1             N
Dinkins, David                                             1                            0.5             Y
Dinwiddie, Ryan                                            1                            0.5             Y
Dittman, Seth                                              2                              1             Y
Dittoe, Chris                                              2                              1             Y
Dixon, Arrion                                              1                            0.5             Y
Dixon, Daryl                                               1                            0.5             Y
Dixon, Gerald                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        19
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 150 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Dixon, Jimmy                                               2                              1             Y
Dixon, Johnny                                              4                              2             Y
Dixon, Mark                                                1          6                   0             N
Dixon, Titus                                               1          1                 0.5             N
Doctor, Sean                                               1                            0.5             Y
Doggette, Cecil                                            3                            1.5             Y
Doghmi, Anthony                                            6                              3             Y
Dolan, Chris                                               1                            0.5             Y
Dominic, John                                              1                            0.5             Y
Donald, Tony                                               2                              1             Y
Donaldson, Cedric                                          2                              1             Y
Dorsch, Travis                                             2          1                   1             N
Doty, Jon                                                  1                            0.5             Y
Dougherty, Robert                                          1                            0.5             Y
Douglas, Chris                                             1                            0.5             Y
Douglas, Cody                                              1                            0.5             Y
Douglas, Donald                                            2                              1             Y
Douglas, Mike                                              1                            0.5             Y
Douglas, Rome                                              2                              1             Y
Douglass, Joe                                              2                              1             Y
Downer, Cole                                               1                            0.5             Y
Downey, Pat                                                1                            0.5             Y
Downs, Chris                                               1                            0.5             Y
Doxzon, Todd                                               1          1                 0.5             N
Doyle, Pat                                                 1                            0.5             Y
Doyle, Philip                                              1                            0.5             Y
Doyle, Shane                                               1                            0.5             Y
Dozier, Joey                                               1                            0.5             Y
Dragos, Scott                                              1          2                 0.5             N
Drake, Charles                                             1                            0.5             Y
Drake, Kevin                                               2                              1             Y
Draper, Shawn                                              1                            0.5             Y
Dreisbach, Scott                                           1          1                 0.5             N
Drew, Randee                                               1                            0.5             Y
Driever, Martin                                            4                              2             Y
Dritlein, Michael                                          1                            0.5             Y
Droege, Rob                                                1                            0.5             Y
DuBose, Doug                                               1          2                 0.5             N
DuBose, KeJaun                                             1                            0.5             Y
Duckett, Forey                                             1          1                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        20
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 151 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Duff, Bill                                                 3          1                 1.5             N
Duff, Vontez                                               1                            0.5             Y
Duke, Wesley                                               1          1                 0.5             N
Dukes, Terrance                                            1                            0.5             Y
Dumas, Jameel                                              2                              1             Y
Dunbar, Karl                                               1          3                 0.5             N
Duncan, Julian                                             1                            0.5             Y
Duncan, Tim                                                1          1                 0.5             N
Dunlap, London                                             2                              1             Y
Dunn, Anthony                                              1          1                 0.5             N
Dunn, Jon                                                  1                            0.5             Y
Dunn, K.D.                                                 2          5                   0             N
Dunn, Marc                                                 1                            0.5             Y
Durde, Aden                                                5                            2.5             Y
Durden, John                                               1                            0.5             Y
Durham, Robert                                             1                            0.5             Y
Durkin, Bill                                               1                            0.5             Y
Dutton, Ryan                                               1                            0.5             Y
Dyer, Nashville                                            1                            0.5             Y
Dykes, Sean                                                1          1                 0.5             N
Dyko, Chris                                                1          1                 0.5             N
Dyson, Brandon                                             1                            0.5             Y
Eafon, Kelvin                                              1                            0.5             Y
Eaglin, Greg                                               1                            0.5             Y
Eakin, Kevin                                               2                              1             Y
Early, Michael                                             2                              1             Y
Eason, Curtis                                              1                            0.5             Y
Edeen, David                                               2                              1             Y
Edmonds, Chris                                             1          2                 0.5             N
Edwards, Brian                                             1                            0.5             Y
Edwards, Brock                                             1                            0.5             Y
Edwards, Demetrius                                         1                            0.5             Y
Edwards, Eric                                              1                            0.5             Y
Edwards, Michael                                           2                              1             Y
Edwards, Ronald                                            1                            0.5             Y
Edwards, Sha‐ron                                           1                            0.5             Y
Edwards, Tyrone                                            1                            0.5             Y
Edwards, Vernon                                            1          1                 0.5             N
Egbuniwe, Chike                                            1                            0.5             Y
Egerton, Tim                                               2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        21
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 152 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Egge, Jeroen                                               2                              1             Y
Eiland, Deandre                                            1                            0.5             Y
Eitzmann, Chris                                            1          1                 0.5             N
El‐Masry, John                                             2                              1             Y
Elezovic, Peter                                            1                            0.5             Y
Elimimian, Abraham                                         2                              1             Y
Elisara, Pita                                              2                              1             Y
Elkins, Mike                                               1          1                 0.5             N
Ellerbe, Dewitt                                            1                            0.5             Y
Ellgering, Marc                                            1                            0.5             Y
Ellington, Dante                                           1          1                 0.5             N
Elliott, Brett                                             1                            0.5             Y
Elliott, Jamin                                             1          2                 0.5             N
Ellis, Jamal                                               1                            0.5             Y
Ellis, Kwame                                               1          1                 0.5             N
Ellis, Lavell                                              1                            0.5             Y
Ellis, Theron                                              1                            0.5             Y
Ellis, Todd                                                1                            0.5             Y
Elpheage, Lynaris                                          1                            0.5             Y
Elstrom, Todd                                              1                            0.5             Y
Emanuel, Aaron                                             1                            0.5             Y
Emanuel, Charles                                           1          1                 0.5             N
Emanuel, Jim                                               2                              1             Y
Emanuel, Kevin                                             1                            0.5             Y
Engelbrecht, Dennis                                        2                              1             Y
Engelhardt, Tim                                            1                            0.5             Y
Engemann, Bret                                             2                              1             Y
English, Keith                                             1          1                 0.5             N
English, Otis                                              1                            0.5             Y
Enzor, Jamar                                               1          1                 0.5             N
Epps, Dwan                                                 3                            1.5             Y
Epstein, Hayden                                            1          1                 0.5             N
Erhorn, Oliver                                             1                            0.5             Y
Erickson, Mike                                             1                            0.5             Y
Erney, Scott                                               2                              1             Y
Ervin, Corris                                              2                              1             Y
Eskridge, John                                             1                            0.5             Y
Eslinger, Greg                                             1                            0.5             Y
Espinoza, Alex                                             2          1                   1             N
Esposito, Jasen                                            1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        22
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 153 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Estelle, Mark                                              1                            0.5             Y
Estes, Mike                                                1                            0.5             Y
Estes, Steve                                               1                            0.5             Y
Etheredge, Carlos                                          2          1                   1             N
Etnel, Marlon                                              1                            0.5             Y
Eugene, Bruce                                              1                            0.5             Y
Eugene, Hiram                                              1          5                   0             N
Evans, Brandon                                             1                            0.5             Y
Evans, Greg                                                1          2                 0.5             N
Evans, Jerry                                               1          3                 0.5             N
Evans, Jerton                                              1                            0.5             Y
Evans, Joey                                                1                            0.5             Y
Evans, John                                                2                              1             Y
Evans, Jonathan                                            1                            0.5             Y
Evans, Mike                                                3          1                 1.5             N
Evans, Stacy                                               1                            0.5             Y
Evans, Willie                                              1                            0.5             Y
Evwaraye, Seppo                                            1                            0.5             Y
Fair, Carl                                                 1          1                 0.5             N
Farkas, Kevin                                              2                              1             Y
Farley, Scott                                              1                            0.5             Y
Farmer, Derek                                              1                            0.5             Y
Farmer, Kirk                                               1                            0.5             Y
Farr, Mel                                                  1          1                 0.5             N
Farrell, Todd                                              1                            0.5             Y
Farrior, Matt                                              2                              1             Y
Faumui, Ta'ase                                             1          2                 0.5             N
Faunce, Troy                                               1                            0.5             Y
Fears, Willie                                              1          2                 0.5             N
Feexico, Sonny                                             2                              1             Y
Feggins, Howard                                            2          1                   1             N
Feighery, Kevin                                            1                            0.5             Y
Fequiere, Fritz                                            3                            1.5             Y
Ferguson, Nick                                             1         10                   0             N
Fernandez, Albert                                          1                            0.5             Y
Ferrara, Frank                                             1          3                 0.5             N
Feugill, John                                              2                              1             Y
Fiebiger, Jerod                                            1                            0.5             Y
Fiedler, Jay                                               1          8                   0             N
Fieldings, Anthony                                         2          1                   1             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        23
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 154 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Fields, Jaime                                              1          2                 0.5             N
Fields, Scott                                              1          2                 0.5             N
Fife, Jason                                                1                            0.5             Y
Figaro, Cedric                                             1          7                   0             N
Fikse, Nate                                                1                            0.5             Y
Finch, Lonnie                                              1                            0.5             Y
Finke, Marcus                                              2                              1             Y
Finke, Patrick                                             2                              1             Y
Finkes, Matt                                               2          1                   1             N
Finlen, Chris                                              2                              1             Y
Finn, Dan                                                  1                            0.5             Y
Finn, Devon                                                1                            0.5             Y
Finn, Mike                                                 1                            0.5             Y
Fischer, Olaf                                              2                              1             Y
Fischer, Spence                                            1                            0.5             Y
Fisher, Stephen                                            1                            0.5             Y
Fitch, Zarnell                                             1                            0.5             Y
Fitzhugh, Shannon                                          1                            0.5             Y
Fitzpatrick, D.J.                                          1                            0.5             Y
Fitzpatrick, Larry                                         1                            0.5             Y
Fladger, Dawani                                            1                            0.5             Y
Flannigan, J.J.                                            1                            0.5             Y
Fleetwood, Marquel                                         1                            0.5             Y
Fleming, Antonio                                           1                            0.5             Y
Fleming, Terry                                             1                            0.5             Y
Flemming, Oliver                                           3                            1.5             Y
Flenoid, Bob                                               1                            0.5             Y
Fletcher, Bryan                                            2          3                   1             N
Fletcher, Cecil                                            2                              1             Y
Fletcher, John                                             1          1                 0.5             N
Flickinger, Robert                                         8                              4             Y
Florine, Ron                                               2                              1             Y
Flowers, Jason                                             1                            0.5             Y
Flowers, Little John                                       2                              1             Y
Flowers, Richmond                                          1                            0.5             Y
Floyd, Anthony                                             1          2                 0.5             N
Floyd, Marcus                                              2          1                   1             N
Floyd, Todd                                                2                              1             Y
Floyd, Victor                                              2          1                   1             N
Flugence, Lawrence                                         1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        24
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 155 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Flynn, Chris                                               2                              1             Y
Fobbs, Jamaal                                              1                            0.5             Y
Foggie, Fred                                               1          2                 0.5             N
Fogle, Anthony                                             1                            0.5             Y
Foley, Mike                                                1                            0.5             Y
Fontana, Stevan                                            2                              1             Y
Foote, Montee                                              1                            0.5             Y
Ford, Bernard                                              1          2                 0.5             N
Ford, Chris                                                1          1                 0.5             N
Ford, Fredric                                              2                              1             Y
Ford, Willie                                               2                              1             Y
Forde, Andre                                               1                            0.5             Y
Forde, Brian                                               1          4                 0.5             N
Foreman, Tyree                                             1                            0.5             Y
Forsythe, Byron                                            2                              1             Y
Fortay, Bryan                                              1                            0.5             Y
Fortune, Chad                                              2                              1             Y
Fortune, Elliott                                           1          1                 0.5             N
Foster, Russel                                             1                            0.5             Y
Foster, Sean                                               2                              1             Y
Foust, Mike                                                1                            0.5             Y
Fowler, Carlos                                             1                            0.5             Y
Frager, Tim                                                1                            0.5             Y
France, Todd                                               1          1                 0.5             N
Francis, Asa                                               1                            0.5             Y
Frank, Donald                                              1          6                   0             N
Frank, Garry                                               2                              1             Y
Franklin, Brad                                             1          1                 0.5             N
Franklin, Gabe                                             1                            0.5             Y
Franklin, Harvey                                           2                              1             Y
Franklin, Julius                                           1                            0.5             Y
Franklin, Keith                                            1          1                 0.5             N
Franklin, Michael                                          1                            0.5             Y
Franklin, Steve                                            1                            0.5             Y
Frazier, Lance                                             1          1                 0.5             N
Frazier, Paul                                              1          1                 0.5             N
Freeman, Brad                                              1                            0.5             Y
Freeman, Corian                                            1                            0.5             Y
Freeman, Eddie                                             2          2                   1             N
Freeman, Jason                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        25
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 156 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Freeman, Rober'                                            1                            0.5             Y
Freese, Jerry                                              1                            0.5             Y
Frey, Greg                                                 1                            0.5             Y
Frier, T.J.                                                1                            0.5             Y
Frieser, John                                              1                            0.5             Y
Fritz, Luke                                                1                            0.5             Y
Fruhmorgen, John                                           1                            0.5             Y
Fryar, Charles                                             2                              1             Y
Fuller, Andy                                               1                            0.5             Y
Fulton, Skyler                                             2                              1             Y
Fumi, Steve                                                1                            0.5             Y
Furrer, Will                                               1          2                 0.5             N
Gachelin, Louis                                            1                            0.5             Y
Gadson, Ezekial                                            1                            0.5             Y
Gage, Steve                                                1          2                 0.5             N
Gaines, Cory                                               1                            0.5             Y
Gaines, Kevin                                              2                              1             Y
Gaines, Teddy                                              1                            0.5             Y
Gaines, Wendall                                            1          1                 0.5             N
Gaiter, Tony                                               1          2                 0.5             N
Gaiters, Chris                                             1                            0.5             Y
Gales, Kenny                                               1                            0.5             Y
Galesloot, Arnold                                          1                            0.5             Y
Gallery, Jim                                               2          3                   1             N
Gallery, Nick                                              1          1                 0.5             N
Galloway, Ahmaad                                           2                              1             Y
Galloway, Mitchell                                         1          1                 0.5             N
Gamble, Jason                                              1                            0.5             Y
Gamlin, Stefan                                             3                            1.5             Y
Garau, Pedro                                               2                              1             Y
Garcia, Dani                                               2                              1             Y
Garcia, Juan                                               1                            0.5             Y
Garcia, Rafael                                             2                              1             Y
Garcia, Teddy                                              2          3                   1             N
Gardent, Philippe                                          5                            2.5             Y
Gardner, Derrick                                           2          1                   1             N
Garner, Randy                                              1                            0.5             Y
Garnett, Winfield                                          1          1                 0.5             N
Garrett, Grant                                             1                            0.5             Y
Garrett, Jason                                             1         10                   0             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        26
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 157 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Garrett, John                                              1          1                 0.5             N
Garrett, John                                              1                            0.5             Y
Garrett, Judd                                              2                              1             Y
Garrett, Kevin                                             1          3                 0.5             N
Garten, Joe                                                2                              1             Y
Gary, Willie                                               1          1                 0.5             N
Gasperson, Michael                                         1          1                 0.5             N
Gasser, Howard                                             1                            0.5             Y
Gatlin, Todd                                               1                            0.5             Y
Gatrell, Rob                                               2                              1             Y
Gause, George                                              1                            0.5             Y
Gay, Matt                                                  3          1                 1.5             N
Gámez, Alejandro                                           5                            2.5             Y
Geason, Cory                                               1          3                 0.5             N
Gehloff, Sascha                                            2                              1             Y
Gelzheiser, Brian                                          1                            0.5             Y
Genord, Scott                                              2                              1             Y
George, Spencer                                            1          3                 0.5             N
George, Tony                                               1          2                 0.5             N
Georgiev, Vladimir                                         1                            0.5             Y
Gerhart, Tom                                               1          1                 0.5             N
Gerigk, Patrick                                            1                            0.5             Y
Germaine, Joe                                              1          2                 0.5             N
Gessner, Chas                                              1          1                 0.5             N
Getherall, Joey                                            1                            0.5             Y
Gholston, Kendrick                                         1                            0.5             Y
Gianacakos, Nick                                           1                            0.5             Y
Gibbons, Ryan                                              1                            0.5             Y
Gibbs, Stan                                                1                            0.5             Y
Gibson, Damon                                              1          4                 0.5             N
Gieselman, John                                            1                            0.5             Y
Gilbert, Greg                                              2                              1             Y
Gilbert, O'Neill                                           1                            0.5             Y
Gilbreath, Monty                                           2                              1             Y
Gillespie, Robert                                          1                            0.5             Y
Gilliard, Cory                                             1                            0.5             Y
Gilmore, John                                              1                            0.5             Y
Gilmore, Zain                                              1                            0.5             Y
Giroud, Thibault                                           1                            0.5             Y
Gissendaner, Lee                                           1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        27
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 158 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Givan, Brenden                                             1                            0.5             Y
Glass, John                                                1                            0.5             Y
Glass, Myron                                               2                              1             Y
Glasson, Steve                                             1                            0.5             Y
Glenn, O'Neil                                              1                            0.5             Y
Glover, Deval                                              1                            0.5             Y
Goda, Masakazu                                             2                              1             Y
Godsey, Brandon                                            1                            0.5             Y
Goelabdien, Haroen                                         1                            0.5             Y
Goetz, Ron                                                 2                              1             Y
Golliday, Aaron                                            1                            0.5             Y
Golliday, Toby                                             2                              1             Y
Gomez, Guillermo                                           2                              1             Y
Gomez, Mike                                                1                            0.5             Y
Gonzalez, Dan                                              1                            0.5             Y
Goodman, Herbert                                           1          2                 0.5             N
Goodwell, Tim                                              1                            0.5             Y
Goodwin, Marvin                                            1                            0.5             Y
Gordon, Cedric                                             1                            0.5             Y
Gordon, Clemente                                           1                            0.5             Y
Gordon, David                                              1                            0.5             Y
Gordon, Joe                                                1                            0.5             Y
Gordon, Tracy                                              1                            0.5             Y
Grabisna, Erwin                                            1                            0.5             Y
Grace, Steve                                               1          1                 0.5             N
Graetz, Raphael                                            2                              1             Y
Gragert, Brian                                             1                            0.5             Y
Gragg, Harold                                              2                              1             Y
Graham, Dan                                                1                            0.5             Y
Graham, Jeff                                               1                            0.5             Y
Graham, Lorenzo                                            1                            0.5             Y
Grant, African                                             1          1                 0.5             N
Grant, Eddie                                               2                              1             Y
Grant, Michael                                             1                            0.5             Y
Grant, Robert                                              1                            0.5             Y
Grant, Troy                                                2                              1             Y
Graves, Broderick                                          1                            0.5             Y
Gray, Anthony                                              1                            0.5             Y
Gray, Brian                                                1                            0.5             Y
Gray, Jamie                                                2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        28
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 159 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Gray, Oscar                                                1          1                 0.5             N
Gray, Quinn                                                1          4                 0.5             N
Gray, Terry                                                2                              1             Y
Graybill, Mike                                             1          1                 0.5             N
Green, Anthony                                             1                            0.5             Y
Green, Cornell                                             1          8                   0             N
Green, DeJuan                                              1                            0.5             Y
Green, Gaston                                              1          5                   0             N
Green, Jeff                                                1                            0.5             Y
Green, Lamont                                              1          1                 0.5             N
Green, Louis                                               1          5                   0             N
Green, Roderick                                            1                            0.5             Y
Green, Rogerick                                            1          3                 0.5             N
Greene, Anthony                                            2                              1             Y
Greene, Leonard                                            2                              1             Y
Greene, Tirrell                                            1                            0.5             Y
Greenfield, Brian                                          2                              1             Y
Greenwood, Joe                                             2                              1             Y
Greer, Daniel                                              1                            0.5             Y
Gregersen, Marico                                          4                              2             Y
Greisen, Chris                                             1          3                 0.5             N
Grice, Shane                                               1          1                 0.5             N
Grieb, Mark                                                1                            0.5             Y
Grier, Daemeon                                             1                            0.5             Y
Grier, James                                               1                            0.5             Y
Grier, Marrio                                              1          2                 0.5             N
Grier, Profail                                             1                            0.5             Y
Griffin, Pernell                                           1                            0.5             Y
Griffin, Quentin                                           1          2                 0.5             N
Grigsby, Otis                                              1          3                 0.5             N
Grimes, Reggie                                             1          1                 0.5             N
Groh, Michael                                              1                            0.5             Y
Gronroos, Kari                                             1                            0.5             Y
Gross‐Pass, Peter                                          3                            1.5             Y
Grot, Amilcar                                              1                            0.5             Y
Grove, Kyle                                                1                            0.5             Y
Gruden, Jay                                                2                              1             Y
Grzeskowiak, Jeff                                          1                            0.5             Y
Guardia, Matt                                              1                            0.5             Y
Guenther, Eric                                             2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        29
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 160 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Guerrero, Alex                                             1                            0.5             Y
Guerrero, John                                             1                            0.5             Y
Guest, Craig                                               1                            0.5             Y
Guidry, Kevin                                              1          2                 0.5             N
Guidry, Mickey                                             2                              1             Y
Gumina, Scott                                              1                            0.5             Y
Gunn, Lance                                                1          1                 0.5             N
Gunn, Tony                                                 1                            0.5             Y
Gurley, Buck                                               1          1                 0.5             N
Gustafsson, Jorgen                                         2                              1             Y
Gustin, Billy                                              2                              1             Y
Gutekunst, Samuel                                          3                            1.5             Y
Guthrie, Sean                                              2                              1             Y
Guy, Daniel                                                1                            0.5             Y
Guynes, Thomas                                             2          1                   1             N
Haase, Andy                                                1          1                 0.5             N
Habermann, Frank                                           1                            0.5             Y
Hackemack, Ken                                             1                            0.5             Y
Haering, Chris                                             1                            0.5             Y
Hagood, Jay                                                3          1                 1.5             N
Hall, Ben                                                  2                              1             Y
Hall, Chris                                                4          1                   2             N
Hall, Jason                                                1                            0.5             Y
Hall, Joe                                                  1                            0.5             Y
Hall, Mike                                                 1                            0.5             Y
Hall, Ricky                                                2                              1             Y
Hall, Robert                                               1                            0.5             Y
Hall, Tramain                                              1                            0.5             Y
Hall, Victor                                               1                            0.5             Y
Halterman, Aaron                                           1          1                 0.5             N
Ham, Derrick                                               1          2                 0.5             N
Hambrick, Kenyon                                           1                            0.5             Y
Hamdan, Gibran                                             3          4                   1             N
Hamilton, Bobby                                            1         12                   0             N
Hamilton, Joe                                              1          2                 0.5             N
Hamilton, Kadar                                            1                            0.5             Y
Hamiter, Uhuru                                             1          3                 0.5             N
Hammel, Todd                                               1                            0.5             Y
Hammerschmidt, Jeff                                        1                            0.5             Y
Hammond, Vance                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        30
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 161 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Hamoudi, Samyr                                             5                            2.5             Y
Hampel, Olaf                                               5                            2.5             Y
Hampton, Alonzo                                            2                              1             Y
Hand, Omari                                                1          1                 0.5             N
Hanks, Ben                                                 1          2                 0.5             N
Hanna, Jim                                                 1          1                 0.5             N
Hannah, Nick                                               1                            0.5             Y
Hannah, Travis                                             1          3                 0.5             N
Hanoian, Greg                                              1                            0.5             Y
Harbour, Dave                                              2          2                   1             N
Hardaway, Eddie                                            1                            0.5             Y
Harden, Cedric                                             1          1                 0.5             N
Harden, Michael                                            1          1                 0.5             N
Hardin, Travis                                             1                            0.5             Y
Hardmon, Byron                                             3                            1.5             Y
Hardy, Anthony                                             1                            0.5             Y
Hardy, Jermaine                                            1          1                 0.5             N
Hardy, John                                                1          1                 0.5             N
Hare, Brian                                                1                            0.5             Y
Hare, Stuart                                               2                              1             Y
Hargrave, James                                            1                            0.5             Y
Hargrove, Marvin                                           1          1                 0.5             N
Hargrove, Reggie                                           1                            0.5             Y
Harley, David                                              1                            0.5             Y
Harmon, Eric                                               1                            0.5             Y
Harmon, Jason                                              1                            0.5             Y
Harney, Kenny                                              1                            0.5             Y
Harper, James                                              1                            0.5             Y
Harper, Shawn                                              2          1                   1             N
Harrell, Chris                                             1                            0.5             Y
Harrell, Gary                                              1          1                 0.5             N
Harrell, Greg                                              1                            0.5             Y
Harriott, Claude                                           1                            0.5             Y
Harris, A.J.                                               1                            0.5             Y
Harris, Aaron                                              1                            0.5             Y
Harris, Bobby                                              1                            0.5             Y
Harris, Brad                                               1                            0.5             Y
Harris, Darryl                                             2          1                   1             N
Harris, Elliott                                            1                            0.5             Y
Harris, Elroy                                              2          1                   1             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        31
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 162 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Harris, Erick                                              2                              1             Y
Harris, George                                             3                            1.5             Y
Harris, Gerald                                             1                            0.5             Y
Harris, Ike                                                1                            0.5             Y
Harris, Jeff                                               1                            0.5             Y
Harris, Jon                                                1          2                 0.5             N
Harris, Kelvin                                             1                            0.5             Y
Harris, Kenny                                              1          1                 0.5             N
Harris, Lee                                                1                            0.5             Y
Harris, Michael                                            1          1                 0.5             N
Harris, Rashad                                             2                              1             Y
Harris, Sterling                                           1                            0.5             Y
Harris, Steven                                             1                            0.5             Y
Harris, Travis                                             1                            0.5             Y
Harris, Willie                                             1                            0.5             Y
Harris, Wyatt                                              1                            0.5             Y
Harrison, Kevin                                            1          1                 0.5             N
Harrison, Tony                                             2                              1             Y
Hart, Clinton                                              1          7                   0             N
Hart, Lawrence                                             1          1                 0.5             N
Hart, Rob                                                  7                            3.5             Y
Hartsell, Mark                                             1          1                 0.5             N
Harvey, Jasper                                             1                            0.5             Y
Harvey, Stacy                                              1          1                 0.5             N
Hasegawa, Syoei                                            1                            0.5             Y
Hastings, Gavin                                            1                            0.5             Y
Hatcher, Armon                                             2          1                   1             N
Hatega, Francis                                            1                            0.5             Y
Hatzky, Wolfgang                                           1                            0.5             Y
Haw, Brandon                                               1                            0.5             Y
Hawkes, Michael                                            1          2                 0.5             N
Hawkins, Ahmad                                             1                            0.5             Y
Hawkins, Joey                                              1                            0.5             Y
Hawkins, Phil                                              1                            0.5             Y
Hay, Shawn                                                 1                            0.5             Y
Hayes, Chad                                                2                              1             Y
Hayes, Joseph                                              1                            0.5             Y
Hayes, Lionel                                              1                            0.5             Y
Haygood, Herb                                              1          1                 0.5             N
Haynes, Alex                                               1          2                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        32
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 163 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Haynes, Jesse                                              2                              1             Y
Hazuga, Jeff                                               1          1                 0.5             N
Heckenbach, Jörg                                           8                              4             Y
Heidenreich, Jon                                           1                            0.5             Y
Heimburger, Craig                                          1          2                 0.5             N
Heiner, Jamie                                              1                            0.5             Y
Heinonen, Eero                                             1                            0.5             Y
Helfman, Marcus                                            2                              1             Y
Helms, Gabriel                                             1                            0.5             Y
Henderson, Joe                                             1                            0.5             Y
Henderson, Taurean                                         1                            0.5             Y
Hendricks, Bart                                            1                            0.5             Y
Hendricks, Carlos                                          1                            0.5             Y
Hendrix, Kevin                                             2                              1             Y
Henke, Brad                                                1          1                 0.5             N
Henry, Cedric                                              1                            0.5             Y
Henry, Charles                                             1          1                 0.5             N
Henry, James                                               2                              1             Y
Henry, Keron                                               1                            0.5             Y
Henry, Mario                                               1                            0.5             Y
Henry, William                                             1                            0.5             Y
Henson, Drew                                               1          3                 0.5             N
Henton, Anthony                                            2          2                   1             N
Hernandez, Adam                                            1                            0.5             Y
Herndon, Kelly                                             1          6                   0             N
Herrell, Ben                                               2                              1             Y
Herrington, Harvie                                         1                            0.5             Y
Herrion, Atlas                                             1                            0.5             Y
Herrion, Thomas                                            1                            0.5             Y
Herzing, Adam                                              2                              1             Y
Hess, Bill                                                 1                            0.5             Y
Hesse, Jon                                                 2          1                   1             N
Heuer, Norman                                              2                              1             Y
Hewitt, Andre                                              2                              1             Y
Heyer, Peter                                               5                            2.5             Y
Heyward‐Johnson, Keith                                     1                            0.5             Y
Hickerson, Eric                                            1                            0.5             Y
Hickl, Matthew                                             1                            0.5             Y
Hicks, Anthony                                             1                            0.5             Y
Hicks, Jordan                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        33
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 164 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Hicks, Kerry                                                1         1                 0.5             N
Hicks, Maurice                                              1         5                   0             N
Hicks, Michael                                              1                           0.5             Y
Hicks, Reese                                                1                           0.5             Y
Hicks, Skip                                                 1         4                 0.5             N
Higgins, Robert                                             1                           0.5             Y
Hilbert, Jon                                                1         2                 0.5             N
Hill, Charles                                               1         1                 0.5             N
Hill, Derek                                                 2         2                   1             N
Hill, Eric                                                  1                           0.5             Y
Hill, James                                                 1         1                 0.5             N
Hill, Madre                                                 1         2                 0.5             N
Hill, Marcus                                                1                           0.5             Y
Hill, Matt                                                  1         2                 0.5             N
Hill, Nate                                                  2         1                   1             N
Hill, Shelby                                                1                           0.5             Y
Hilliard, Cedric                                            1                           0.5             Y
Hillman, Jay                                                1                           0.5             Y
Hilton, Isaac                                               1                           0.5             Y
Himebauch, Jonathan                                         2                             1             Y
Hinchcliff, Willie                                          1                           0.5             Y
Hines, Clarkston                                            1                           0.5             Y
Hinnant, Mike                                               1         3                 0.5             N
Hinton, Marcus                                              1         1                 0.5             N
Hinton, Patrick                                             1                           0.5             Y
Hippler, Werner                                            11                             5             Y
Hiruma, Shingo                                              2                             1             Y
Hoag, Ryan                                                  1                           0.5             Y
Hobbs, Ed                                                   1                           0.5             Y
Hodge, Milford                                              1         4                 0.5             N
Hodges, Howard                                              1                           0.5             Y
Hoelscher, David                                            3         1                 1.5             N
Hoffman, Jim                                                1                           0.5             Y
Hoffman, Ryan                                               2                             1             Y
Hoffmann, Augie                                             1                           0.5             Y
Hoffmann, Dave                                              1         1                 0.5             N
Hofland, Mark                                               1                           0.5             Y
Hogan, Chauncey                                             1                           0.5             Y
Hogans, Richard                                             2                             1             Y
Hogg, Matthew                                               2                             1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        34
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 165 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Holcomb, Kelly                                             1          9                   0             N
Holder, Rod                                                1                            0.5             Y
Holland, John Robert                                       2                              1             Y
Holleman, Chad                                             1                            0.5             Y
Hollenbeck, Joey                                           1                            0.5             Y
Holliday, Tommy                                            1                            0.5             Y
Hollings, Tony                                             1          3                 0.5             N
Holloway, Brian                                            1          8                   0             N
Holloway, Derek                                            1          2                 0.5             N
Holm, Joakim                                               1                            0.5             Y
Holmes, Brian                                              1                            0.5             Y
Holmes, Darryl                                             2          3                   1             N
Holt, Cedrick                                              1                            0.5             Y
Holt, Reggie                                               1                            0.5             Y
Homer, Derek                                               1                            0.5             Y
Homer, Kevin                                               1                            0.5             Y
Hood, Kerry                                                1                            0.5             Y
Hooven, Owen                                               1                            0.5             Y
Hope, Charles                                              1          1                 0.5             N
Hopkins, Mark                                              2                              1             Y
Hopkins, Tam                                               1          1                 0.5             N
Hori, Ryota                                                2                              1             Y
Horie, Nobutaka                                            1                            0.5             Y
Horiguchi, Yasushi                                         1                            0.5             Y
Horne, Greg                                                2          2                   1             N
Horton, Jon                                                1                            0.5             Y
Hosack, Aaron                                              3                            1.5             Y
Hotchkiss, Josh                                            1                            0.5             Y
Houchin, Thomas                                            1                            0.5             Y
House, Kevin                                               2          2                   1             N
Houston, Artis                                             1                            0.5             Y
Houston, Samario                                           1                            0.5             Y
Howard, Abdual                                             2                              1             Y
Howard, Bobbie                                             1          3                 0.5             N
Howard, Dana                                               1          2                 0.5             N
Howard, Edwin                                              1                            0.5             Y
Howard, James                                              1                            0.5             Y
Howard, Todd                                               2                              1             Y
Howard, Todd                                               2          1                   1             N
Howe, Garry                                                3          3                 1.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        35
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 166 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Howell, Evan                                               1                            0.5             Y
Hoyem, Steve                                               1          1                 0.5             N
Hoyle, Wilson                                              1                            0.5             Y
Hoyte, Nigel                                               1                            0.5             Y
Huckestein, Ray                                            1                            0.5             Y
Hudson, Craig                                              1                            0.5             Y
Hudson, Gerald                                             1                            0.5             Y
Huerta, Carlos                                             1          1                 0.5             N
Huff, Richard                                              1                            0.5             Y
Huggins, Felton                                            1          1                 0.5             N
Hughes, Connor                                             1                            0.5             Y
Hughes, Darren                                             1                            0.5             Y
Humes, Cedric                                              1                            0.5             Y
Humphery, Bobby                                            1          7                   0             N
Humphrey, Aaron                                            1                            0.5             Y
Humphrey, Jay                                              1                            0.5             Y
Hunt, Aaron                                                1                            0.5             Y
Hunt, Jack                                                 1          1                 0.5             N
Hunt, Purvis                                               3                            1.5             Y
Hunt, Reggie                                               1                            0.5             Y
Hunt, Robert                                               1                            0.5             Y
Hunt, Robert                                               2                              1             Y
Hunter, Arthur                                             2                              1             Y
Hunter, Dameon                                             1          1                 0.5             N
Hunter, Earnest                                            1          2                 0.5             N
Hunter, Hugh                                               2                              1             Y
Hunter, Jeff                                               2          5                   0             N
Hunter, Malvin                                             1                            0.5             Y
Hunter, Torey                                              1          1                 0.5             N
Hunter, Wendell                                            1                            0.5             Y
Hunter, Will                                               1          2                 0.5             N
Hurst, Kevin                                               1                            0.5             Y
Hurtado, Jonathan                                          2                              1             Y
Husak, Todd                                                1          1                 0.5             N
Husar, Mike                                                2                              1             Y
Husby, John                                                1                            0.5             Y
Hutchinson, Stephen                                        4                              2             Y
Hutton, Trevor                                             1          1                 0.5             N
Hybl, Nate                                                 1          1                 0.5             N
Hyder, Gaylon                                              1          2                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        36
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 167 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Hyllienmark, John                                          1                            0.5             Y
Icsman, Don                                                1                            0.5             Y
Ikenoue, Takahiro                                          2                              1             Y
Ilic, Vladimir                                             4                              2             Y
Imbernon, Ivan                                             5                            2.5             Y
Imoto, Yoshinobu                                           1                            0.5             Y
Ingoglia, Rene                                             1                            0.5             Y
Ingram, Jonathan                                           1          1                 0.5             N
Inkrott, Mark                                              1                            0.5             Y
Irvin, Sedrick                                             1          2                 0.5             N
Isabelle, Yubrenal                                         2                              1             Y
Ishida, Rikiya                                             4                              2             Y
Ishola, Ben                                                1                            0.5             Y
Ismaeli, Hudhaifa                                          1                            0.5             Y
Ismail, Hesham                                             1                            0.5             Y
Israel, Ron                                                1          1                 0.5             N
Issa, Jabari                                               1          2                 0.5             N
Itai, Masato                                               3                            1.5             Y
Ito, Shigemasa                                             1                            0.5             Y
Ivanov, Sergey                                             3                            1.5             Y
Ivory, Clifford                                            1                            0.5             Y
Ivy, Corey                                                 1          9                   0             N
Ivy, Greg                                                  1                            0.5             Y
Ivy, Khori                                                 1                            0.5             Y
Jacas, Andrew                                              1                            0.5             Y
Jackson, Bobby                                             1                            0.5             Y
Jackson, Charles                                           2                              1             Y
Jackson, Chris                                             1                            0.5             Y
Jackson, Harry                                             2                              1             Y
Jackson, Jabari                                            1                            0.5             Y
Jackson, Jerry                                             1                            0.5             Y
Jackson, Joe                                               1                            0.5             Y
Jackson, Jonathan                                          1          1                 0.5             N
Jackson, Junior                                            2                              1             Y
Jackson, Kenny                                             2                              1             Y
Jackson, Larry                                             1                            0.5             Y
Jackson, Les                                               1                            0.5             Y
Jackson, Mario                                             1                            0.5             Y
Jackson, Marlion                                           1          1                 0.5             N
Jackson, Orsorio                                           1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        37
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 168 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Jackson, Pasha                                             1                            0.5             Y
Jackson, Patrick                                           1                            0.5             Y
Jackson, Ray                                               1          1                 0.5             N
Jackson, Ray                                               1                            0.5             Y
Jackson, Ray                                               2                              1             Y
Jackson, Robert                                            1                            0.5             Y
Jackson, Tim                                               1          1                 0.5             N
Jackson, Vershan                                           1                            0.5             Y
Jacobs, Joel                                               1                            0.5             Y
Jacobs, John                                               1                            0.5             Y
Jacobs, Omar                                               1                            0.5             Y
James, Cedric                                              1          1                 0.5             N
James, Tim                                                 1                            0.5             Y
James, Walter                                              1                            0.5             Y
Jamison, Jermaine                                          1                            0.5             Y
Jasmin, Marcus                                             1                            0.5             Y
Jeffcoat, Jerold                                           2                              1             Y
Jefferson, Ben                                             1          1                 0.5             N
Jefferson, Kevin                                           1          2                 0.5             N
Jeffery, Tony                                              1          1                 0.5             N
Jemison, Mike                                              1                            0.5             Y
Jenkins, A.J.                                              2          2                   1             N
Jenkins, J.R.                                              1          1                 0.5             N
Jenkins, Keith                                             1                            0.5             Y
Jenkins, Mike                                              1          1                 0.5             N
Jennings, Ligarius                                         1          2                 0.5             N
Jennings, Michael                                          1          1                 0.5             N
Jensen, Erik                                               1                            0.5             Y
Jensen, Mark                                               1                            0.5             Y
Jeromin, Christoph                                         1                            0.5             Y
Jimenez, Jason                                             2                              1             Y
Jimerson, A.J.                                             1          2                 0.5             N
Joder, Helmut                                              1                            0.5             Y
Johansson, Jesper                                          1                            0.5             Y
John‐Lewis, Kelly                                          1                            0.5             Y
Johnson, Aaron                                             1                            0.5             Y
Johnson, Albert                                            1          2                 0.5             N
Johnson, Alonzo                                            2          1                   1             N
Johnson, Andre                                             1                            0.5             Y
Johnson, Ben                                               2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        38
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 169 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Johnson, Brian                                             1                            0.5             Y
Johnson, Chuckie                                           2          1                   1             N
Johnson, Clyde                                             1          1                 0.5             N
Johnson, Dwight                                            1          2                 0.5             N
Johnson, Earvin                                            1                            0.5             Y
Johnson, Emmett                                            1                            0.5             Y
Johnson, James                                             1                            0.5             Y
Johnson, Jaret                                             1                            0.5             Y
Johnson, Jarrod                                            1                            0.5             Y
Johnson, Jason                                             1                            0.5             Y
Johnson, Jason                                             2          2                   1             N
Johnson, Joe                                               1                            0.5             Y
Johnson, Joe                                               1                            0.5             Y
Johnson, Joe                                               1                            0.5             Y
Johnson, Juan                                              1                            0.5             Y
Johnson, Kenton                                            1                            0.5             Y
Johnson, Loren                                             1                            0.5             Y
Johnson, Marty                                             1                            0.5             Y
Johnson, Maurice                                           1          4                 0.5             N
Johnson, Mike                                              1                            0.5             Y
Johnson, Mike                                              2                              1             Y
Johnson, Paris                                             1                            0.5             Y
Johnson, Rashee                                            1                            0.5             Y
Johnson, Riall                                             1          3                 0.5             N
Johnson, Ricky                                             2                              1             Y
Johnson, Steve                                             1                            0.5             Y
Johnson, Teyo                                              1          3                 0.5             N
Johnson, Tommy                                             1          1                 0.5             N
Johnson, Tyrone                                            1          1                 0.5             N
Johnson, Undra                                             1          1                 0.5             N
Johnson, Wayne                                             1                            0.5             Y
Jolly, Terry                                               1                            0.5             Y
Jones, Adrian                                              2                              1             Y
Jones, C.J.                                                2                              1             Y
Jones, Carlos                                              1                            0.5             Y
Jones, Chris                                               1                            0.5             Y
Jones, Daniel                                              1                            0.5             Y
Jones, David                                               2          1                   1             N
Jones, David                                               1                            0.5             Y
Jones, Dewaine                                             2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        39
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 170 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Jones, Dwuane                                              1                            0.5             Y
Jones, Eric                                                1                            0.5             Y
Jones, Ernest                                              1                            0.5             Y
Jones, Ernie                                               1          6                   0             N
Jones, J.J.                                                1          1                 0.5             N
Jones, Jim                                                 1                            0.5             Y
Jones, John                                                1                            0.5             Y
Jones, Khari                                               1                            0.5             Y
Jones, Larry                                               2                              1             Y
Jones, Lee                                                 1                            0.5             Y
Jones, Maurice                                             1                            0.5             Y
Jones, Myron                                               1                            0.5             Y
Jones, Ontei                                               1                            0.5             Y
Jones, Preston                                             2                              1             Y
Jones, Quintin                                             2          2                   1             N
Jones, Reggie                                              1          3                 0.5             N
Jones, Richard                                             1          1                 0.5             N
Jones, Shannon                                             2                              1             Y
Jones, Thomas                                              2                              1             Y
Jones, Tim                                                 1                            0.5             Y
Jones, Todd                                                1          1                 0.5             N
Jones, Tony                                                2          4                   1             N
Jones, Tony                                                2                              1             Y
Jones, Tyler                                               1                            0.5             Y
Jones, Tyrone                                              1          1                 0.5             N
Jonsson, Michael                                           3                            1.5             Y
Jordan, Brian                                              1                            0.5             Y
Jordan, Sean                                               1                            0.5             Y
Joseph, Carlos                                             1                            0.5             Y
Joseph, Dale                                               1                            0.5             Y
Joseph, Kerry                                              1          4                 0.5             N
Joseph, Vance                                              1          2                 0.5             N
Jowers, Jason                                              1                            0.5             Y
Joyce, Eric                                                1          1                 0.5             N
Juhnke, Hans                                               1                            0.5             Y
Jurineack, Terrell                                         2                              1             Y
Kaaiohelo, Jared                                           2                              1             Y
Kacmarynski, Marc                                          2                              1             Y
Kahui, Kurt                                                1                            0.5             Y
Kaleita, Tom                                               1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        40
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 171 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Kalich, Ryan                                               2                              1             Y
Kalombo, Kubanai                                           1                            0.5             Y
Kancel, Patrice                                            4                              2             Y
Kane, Morgan                                               1                            0.5             Y
Karg, Terry                                                2                              1             Y
Kashama, Alain                                             1          2                 0.5             N
Kasowski, Steve                                            1                            0.5             Y
Kaufusi, Doug                                              2                              1             Y
Kaufusi, Steve                                             1          2                 0.5             N
Kauric, Jerry                                              1          1                 0.5             N
Kawaguchi, Masafumi                                        7                            3.5             Y
Kazadi, Muadianvita                                        1          1                 0.5             N
Kazar, Jason                                               1                            0.5             Y
Kearney, Jay                                               1                            0.5             Y
Keen, Robbie                                               1                            0.5             Y
Keen, Warren                                               1                            0.5             Y
Keenan, Sean                                               1          1                 0.5             N
Keeney, Brad                                               3          1                 1.5             N
Kehl, Ed                                                   1                            0.5             Y
Keith, Dustin                                              2                              1             Y
Kelchner, Jake                                             1                            0.5             Y
Kelley, Matt                                               1                            0.5             Y
Kelley, Mike                                               1          2                 0.5             N
Kellogg, Jack                                              2                              1             Y
Kelly, Andy                                                2                              1             Y
Kelly, Jermale                                             1                            0.5             Y
Kelson, Derrick                                            1                            0.5             Y
Kempchen, Andreas                                          1                            0.5             Y
Kendrick, Donta                                            2                              1             Y
Kennedy, Larry                                             1                            0.5             Y
Kenney, Marchant                                           1                            0.5             Y
Kern, Kenny                                                1                            0.5             Y
Kerr, Mike                                                 2                              1             Y
Keys, Isaac                                                1          2                 0.5             N
Khayat, Bill                                               1                            0.5             Y
Kibble, Jimmy                                              1                            0.5             Y
Kidd, James                                                2                              1             Y
Kight, Danny                                               2          3                   1             N
Kight, Kelvin                                              1          2                 0.5             N
Kilian, James                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        41
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 172 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Killeen, Ryan                                              1                            0.5             Y
Killings, Cedric                                           1          6                   0             N
Killion, Kyle                                              1                            0.5             Y
Kimball, David                                             1                            0.5             Y
Kimrin, Ola                                                3          1                 1.5             N
Kincade, Keylon                                            1          1                 0.5             N
King, Andy                                                 1          2                 0.5             N
King, Buddy                                                1                            0.5             Y
King, Emanuel                                              1          5                   0             N
King, Eric                                                 1                            0.5             Y
King, Jerome                                               1                            0.5             Y
King, Kenny                                                1          1                 0.5             N
King, Michael                                              1                            0.5             Y
King, Thomas                                               2                              1             Y
King, Tyler                                                2                              1             Y
Kingsbury, Kliff                                           1          1                 0.5             N
Kinoshita, Noriaki                                         3                            1.5             Y
Kipps, Kyle                                                1                            0.5             Y
Kirkpatrick, Kirk                                          1                            0.5             Y
Kirksey, Jon                                               5          1                 2.5             N
Kirksey, William                                           1          1                 0.5             N
Kiselak, Mike                                              2          1                   1             N
Kittner, Kurt                                              1          1                 0.5             N
Klabo, Chuck                                               1                            0.5             Y
Kleinhesselink, Riley                                      1                            0.5             Y
Kleinmann, Ralf                                            8                              4             Y
Klemic, Dave                                               1                            0.5             Y
Kloeth, Barry                                              2                              1             Y
Knight, Shawn                                              1          3                 0.5             N
Knox, Kevin                                                1          1                 0.5             N
Kobdish, Josh                                              1                            0.5             Y
Kobel, Craig                                               1                            0.5             Y
Konner, Daniel                                             1                            0.5             Y
Koonce, Richard                                            1                            0.5             Y
Kostrewa, Jeff                                             1                            0.5             Y
Koulen, Rick                                               2                              1             Y
Krager, Dane                                               1                            0.5             Y
Krein, Darren                                              1                            0.5             Y
Kresser, Eric                                              1          1                 0.5             N
Kroeker, Dustin                                            1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        42
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 173 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Kronenberg, Bob                                            3                            1.5             Y
Krumm, Todd                                                1          1                 0.5             N
Kruse, Axel                                                5                            2.5             Y
Kubiak, Jim                                                2                              1             Y
Kubik, Brad                                                1                            0.5             Y
Kuci, Kim                                                  4                              2             Y
Kugler, Sean                                               1                            0.5             Y
Kuhn, Dominique                                            1                            0.5             Y
Kuipers, Jason                                             1                            0.5             Y
Kula, Bob                                                  2                              1             Y
Kupp, Craig                                                1          1                 0.5             N
Kurpeikis, Justin                                          1          3                 0.5             N
Kushner, Bill                                              1                            0.5             Y
Kwaku, Edward                                              1                            0.5             Y
Kwarta, Bret                                               1                            0.5             Y
Lacey, Chonn                                               2                              1             Y
Ladd, Anthony                                              1          1                 0.5             N
LaFleur, Billy                                             1          2                 0.5             N
Lafont, Xavier                                             1                            0.5             Y
Lamb, Marc                                                 2                              1             Y
Lambert, Dion                                              1          3                 0.5             N
Lammle, Wayne                                              1                            0.5             Y
Lancaster, Sasha                                           2                              1             Y
Lance, Carlton                                             1                            0.5             Y
Landrom, Jamar                                             1                            0.5             Y
Landrum, Vincent                                           1                            0.5             Y
Landry, Michael                                            1                            0.5             Y
Lane, Greg                                                 1                            0.5             Y
Lang, Olaf                                                 1                            0.5             Y
Langley, Aron                                              1                            0.5             Y
Lano, Bastian                                              5                            2.5             Y
LaRocca, Josh                                              2                              1             Y
Larsen, Atle                                               1                            0.5             Y
Larsen, Stephen                                            1                            0.5             Y
LaSane, Bruce                                              1                            0.5             Y
Laskowski, Chris                                           1                            0.5             Y
Latka, Martin                                              4                              2             Y
Laufenberg, Babe                                           1          4                 0.5             N
Lay, Josh                                                  1                            0.5             Y
Layfield, John                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        43
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 174 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Layow, Matt                                                1                            0.5             Y
Leahy, Ryan                                                2                              1             Y
Leatherwood, Frank                                         1                            0.5             Y
LeBlanc, Clarence                                          2          1                   1             N
Lebo, Brad                                                 1                            0.5             Y
Ledbetter, Mark                                            2                              1             Y
Ledyard, Courtney                                          1          1                 0.5             N
Lee, Alvin                                                 1                            0.5             Y
Lee, Darrell                                               2                              1             Y
Lee, Greg                                                  1                            0.5             Y
Lee, Greg                                                  2          1                   1             N
Lee, James                                                 1          1                 0.5             N
Lee, Kevin                                                 1          2                 0.5             N
Lee, Mark                                                  1                            0.5             Y
Lee, Reginald                                              1                            0.5             Y
Lee, Rob                                                   1                            0.5             Y
Lee, Steve                                                 1                            0.5             Y
Lefotu, Kili                                               1                            0.5             Y
Leggett, Jerry                                             1                            0.5             Y
Lenda, Tyler                                               3                            1.5             Y
Lenseigne, Tony                                            1                            0.5             Y
Lester, Marc                                               1                            0.5             Y
Levake, Derrick                                            2                              1             Y
Levey, Jabari                                              1                            0.5             Y
Levy, Darcey                                               1                            0.5             Y
Lewis, Chris                                               1                            0.5             Y
Lewis, Darrell                                             1                            0.5             Y
Lewis, Derrick                                             1          3                 0.5             N
Lewis, Jacque                                              2                              1             Y
Lewis, James                                               2                              1             Y
Lewis, Jermaine                                            1                            0.5             Y
Lewis, Jonas                                               1          2                 0.5             N
Lewis, Kevin                                               1                            0.5             Y
Lewis, Kip                                                 2                              1             Y
Lewis, Ron                                                 2          1                   1             N
Lewis, Scotty                                              1                            0.5             Y
Li, Chaoran                                                1                            0.5             Y
Lies, Michael                                              1                            0.5             Y
Liess, Christopher                                         3                            1.5             Y
Lightner, Kevin                                            1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        44
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 175 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Ligon, Lemual                                              1                            0.5             Y
Lillibridge, Marc                                          1                            0.5             Y
Lilljedahl, Bobby                                          2                              1             Y
Lindholm, Matti                                            1                            0.5             Y
Lindstrom, Eric                                            3                            1.5             Y
Lindstrom, Gabe                                            2                              1             Y
Lira, Hugo                                                 3                            1.5             Y
Little, Derrick                                            1                            0.5             Y
Little, George                                             2          3                   1             N
Lloyd, DeAngelo                                            2                              1             Y
Lockett, Charles                                           1          2                 0.5             N
Lockett, Danny                                             2          2                   1             N
Lockhart, Radell                                           3                            1.5             Y
Lofton, Billy                                              1                            0.5             Y
Logan, Phil                                                1                            0.5             Y
Loggins, Jarett                                            2                              1             Y
Long, Devan                                                1                            0.5             Y
Long, Ding                                                 1                            0.5             Y
Long, Juan                                                 3                            1.5             Y
Lopez, Gerardo                                             1                            0.5             Y
Lopez, Mauricio                                            3                            1.5             Y
Lord, Junior                                               1                            0.5             Y
Loredo, Cesar                                              2                              1             Y
Lossow, Rodney                                             2                              1             Y
Lott, James                                                1                            0.5             Y
Louisdor, Mesene                                           1                            0.5             Y
Love, Clarence                                             1          4                 0.5             N
Love, Marvin                                               1                            0.5             Y
Lowe, Reggie                                               1          1                 0.5             N
Lowery, Bren                                               1                            0.5             Y
Lowery, Michael                                            1          2                 0.5             N
Lucas, Chad                                                1          2                 0.5             N
Lukins, Tony                                               2                              1             Y
Lulay, Travis                                              1                            0.5             Y
Lumelski, Zev                                              1                            0.5             Y
Lundqvist, Patrik                                          1                            0.5             Y
Luneberg, Chris                                            3                            1.5             Y
Luoto, Iiro                                                3                            1.5             Y
Lyck, Kai‐Erik                                             1                            0.5             Y
Lyle, Win                                                  1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        45
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 176 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Lynch, Ben                                                 1          4                 0.5             N
Lynch, Eric                                                1          5                   0             N
Lynch, Shawn                                               1          1                 0.5             N
Lytle, Dean                                                1                            0.5             Y
Ma'afala, Nick                                             1                            0.5             Y
Mabry, Mike                                                2                              1             Y
Macik, Miles                                               1                            0.5             Y
Mack, Gerald                                               1                            0.5             Y
Mack, Kendell                                              2                              1             Y
Mack, Rico                                                 2          1                   1             N
MacKenzie, Tony                                            2                              1             Y
Maddox, Andre                                              1                            0.5             Y
Maggio, Kirk                                               2                              1             Y
Mahdavi, Ben                                               1                            0.5             Y
Majondo‐Mwamba, Patrice                                    3                            1.5             Y
Makinen, Markku                                            1                            0.5             Y
Malan, Mike                                                2                              1             Y
Malano, Mike                                               1                            0.5             Y
Malbrough, Anthony                                         1          1                 0.5             N
Malecki, Jason                                             1                            0.5             Y
Mallard, DeShone                                           2                              1             Y
Mallard, Josh                                              1          4                 0.5             N
Malm, Cristian                                             3                            1.5             Y
Malo, Gregoire                                             3                            1.5             Y
Malone, Antonio                                            1                            0.5             Y
Malone, Art                                                1                            0.5             Y
Malone, Toderick                                           2                              1             Y
Malone, Tom                                                1                            0.5             Y
Malveaux, Kelly                                            1                            0.5             Y
Manca, Massimo                                             1          1                 0.5             N
Mance, Brian                                               1                            0.5             Y
Mandley, Pete                                              1          7                   0             N
Manning, Roderick                                          1                            0.5             Y
Manns, Denvis                                              2                              1             Y
Manuel, Lionel                                             1          7                   0             N
Manuel, Sam                                                1                            0.5             Y
Manuel, Sean                                               1          1                 0.5             N
Maranto, Tony                                              2                              1             Y
Marceline, Laurent                                         4                              2             Y
Marcos, Xisco                                              3                            1.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        46
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 177 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Marlatt, Pat                                               2                              1             Y
Marrone, Doug                                              2          2                   1             N
Marrow, Vince                                              2          1                   1             N
Marshall, Keyonta                                          1          1                 0.5             N
Martin, Demetrice                                          1                            0.5             Y
Martin, Emerson                                            2          1                   1             N
Martin, Jamie                                              1         10                   0             N
Martin, Jason                                              1                            0.5             Y
Martin, Jimmy                                              1                            0.5             Y
Martin, Ruvell                                             1          7                   0             N
Martin, Tee                                                1          3                 0.5             N
Martin, Tim                                                1                            0.5             Y
Martinez, Arturo                                           1                            0.5             Y
Martini, Ralph                                             1                            0.5             Y
Martos, Diego                                              2                              1             Y
Martos, Marco                                              8                              4             Y
Martz, Daniel                                              1                            0.5             Y
Maslo, Stephan                                             1                            0.5             Y
Mason, Michael                                             2                              1             Y
Massey, Sam                                                1                            0.5             Y
Massey, Tony                                               1                            0.5             Y
Massimiani, John                                           1                            0.5             Y
Mastrole, Ken                                              1                            0.5             Y
Mathes, Andre                                              2                              1             Y
Matla, Pascal                                              1                            0.5             Y
Matthews, Adam                                             1                            0.5             Y
Matthews, Roshaun                                          1                            0.5             Y
Matthews, Steve                                            1          2                 0.5             N
Matusz, Roman                                              1                            0.5             Y
May, Chad                                                  1          1                 0.5             N
Maye, Mark                                                 1                            0.5             Y
Mayer, Shawn                                               3          2                 1.5             N
Mayers, Lorn                                               2                              1             Y
Mayfield, Corey                                            1          2                 0.5             N
Mayfield, Curtis                                           1                            0.5             Y
Mayo, Lyneil                                               1                            0.5             Y
Mays, Jermaine                                             2                              1             Y
McAda, Ronnie                                              1                            0.5             Y
McAllister, Bobby                                          2                              1             Y
McAlmont, Kevin                                            1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        47
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 178 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
McArthur, Kevin                                            1          4                 0.5             N
McBrien, Scott                                             1                            0.5             Y
McCall, Kris                                               1                            0.5             Y
McCall, Matt                                               1                            0.5             Y
McCallum, Paul                                             1                            0.5             Y
McCann, Kyle                                               1                            0.5             Y
McCarthy, Mike                                             1                            0.5             Y
McChesney, Matt                                            1          2                 0.5             N
McClanahan, Anthony                                        1                            0.5             Y
McCleary, Norris                                           1          2                 0.5             N
McClellion, Central                                        1          1                 0.5             N
McCorvey, Kez                                              1          3                 0.5             N
McCoy, Derek                                               1                            0.5             Y
McCoy, Ivory                                               3                            1.5             Y
McCoy, Keith                                               1                            0.5             Y
McCoy, Mike                                                2                              1             Y
McCoy, Ryan                                                1                            0.5             Y
McCray, Antwon                                             1                            0.5             Y
McCready, Scott                                            6                              3             Y
McCree, Charles                                            1                            0.5             Y
McCullar, Kevin                                            1                            0.5             Y
McCullough, Andy                                           1          1                 0.5             N
McCullough, Carl                                           1                            0.5             Y
McCullough, Edorian                                        1                            0.5             Y
McCullough, Jake                                           1          2                 0.5             N
McCullough, Russ                                           2                              1             Y
McCullum, Justin                                           1                            0.5             Y
McDaniel, Curtis                                           1                            0.5             Y
McDaniel, Kenneth                                          1                            0.5             Y
McDaniels, Pellom                                          2          7                   0             N
McDaniels, Terry                                           1                            0.5             Y
McDonald, Brian                                            2                              1             Y
McDonald, LaMarcus                                         1                            0.5             Y
McDonald, Sameeh                                           1                            0.5             Y
McDougal, Kevin                                            1                            0.5             Y
McElmurry, Blaine                                          2          3                   1             N
McElroy, Jim                                               1                            0.5             Y
McEndoo, Jason                                             1          1                 0.5             N
McEntyre, Kenny                                            4                              2             Y
McEwen, Craig                                              1          5                   0             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        48
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 179 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
McFarland, Dylan                                           1          2                 0.5             N
McGann, Mike                                               1                            0.5             Y
McGaughey, Thomas                                          1                            0.5             Y
McGee, Curtis                                              2                              1             Y
McGee, Dell                                                1          1                 0.5             N
McGee, Don                                                 1                            0.5             Y
McGeoghan, Phil                                            1          1                 0.5             N
McGhghy, Matt                                              1                            0.5             Y
McGill, Curt                                               1                            0.5             Y
McGill, Darryl                                             1                            0.5             Y
McGill, Karmeeleyah                                        2          1                   1             N
McGowan, Paul                                              2                              1             Y
McGrew, Brock                                              1                            0.5             Y
McGrew, Sam                                                1                            0.5             Y
McGruder, Lynn                                             1                            0.5             Y
McGuire, Kaipo                                             1          2                 0.5             N
McGuirk, Pat                                               2                              1             Y
McIntyre, Corey                                            2          8                   0             N
McIntyre, Jeris                                            1                            0.5             Y
McKenzie, Damonte                                          2                              1             Y
McKenzie, Kevin                                            1          1                 0.5             N
McKibben, Josh                                             1                            0.5             Y
McKinney, Anthony                                          1                            0.5             Y
McLemore, Chris                                            1          2                 0.5             N
McLeod, Kevin                                              1          2                 0.5             N
McMahon, Pete                                              1                            0.5             Y
McManus, Curtis                                            1                            0.5             Y
McMeans, Tyler                                             1                            0.5             Y
McMullen, Kirk                                             1          1                 0.5             N
McNair, Fred                                               1                            0.5             Y
McNeil, Nick                                               1                            0.5             Y
McNutt, Antoine                                            1                            0.5             Y
McPhatter, Brian                                           1                            0.5             Y
McSeed, Larry                                              1                            0.5             Y
McWashington, Shawn                                        1                            0.5             Y
McWilliams, Jason                                          1                            0.5             Y
McWright, Robert                                           2                              1             Y
Meeks, Bob                                                 1          1                 0.5             N
Meerten, Joe                                               1                            0.5             Y
Meeuwsen, Mitch                                            1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        49
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 180 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Megna, Marc                                                1          1                 0.5             N
Meijer, Niels                                              3                            1.5             Y
Meine, Ole                                                 2                              1             Y
Mendenhall, Mike                                           1                            0.5             Y
Mensah, Akwasi                                             2                              1             Y
Merandi, John                                              1                            0.5             Y
Mercer, Ivan                                               1                            0.5             Y
Meredith, Dion                                             1                            0.5             Y
Merrill, Than                                              2          1                   1             N
Merritt, David                                             1          3                 0.5             N
Messmer, Frank                                             3                            1.5             Y
Metcalf, Terrance                                          1                            0.5             Y
Meyer, Erik                                                1                            0.5             Y
Michals, Jon                                               1                            0.5             Y
Mickel, Jeff                                               2          1                   1             N
Mickey, Joey                                               1          1                 0.5             N
Mickles, Joe                                               2          2                   1             N
Middleton, Brandon                                         1          2                 0.5             N
Middleton, Mike                                            2                              1             Y
Mikolas, Doug                                              2          2                   1             N
Milanovich, Scott                                          1          1                 0.5             N
Miles, Barron                                              1                            0.5             Y
Miles, Jermaine                                            1                            0.5             Y
Miller, Ben                                                1                            0.5             Y
Miller, Brandon                                            1          1                 0.5             N
Miller, Bronzell                                           1          1                 0.5             N
Miller, Brook                                              1                            0.5             Y
Miller, Chris                                              1                            0.5             Y
Miller, Craig                                              1          1                 0.5             N
Miller, David                                              1                            0.5             Y
Miller, Doug                                               1                            0.5             Y
Miller, Jeff                                               1                            0.5             Y
Miller, John                                               2          2                   1             N
Miller, Keith                                              1          2                 0.5             N
Miller, Kevin                                              1                            0.5             Y
Miller, Marquet                                            1                            0.5             Y
Miller, Matt                                               1                            0.5             Y
Miller, Norman                                             1                            0.5             Y
Miller, Romaro                                             1          1                 0.5             N
Miller, Scott                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        50
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 181 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Miller‐Lopez, Jason                                        2                              1             Y
Mills, Javor                                               1          1                 0.5             N
Mills, Lamar                                               1          1                 0.5             N
Mills, Shawn                                               1                            0.5             Y
Mills, Toby                                                2                              1             Y
Minardi, John                                              1                            0.5             Y
Miree, Brandon                                             1          1                 0.5             N
Missant, Charles                                           2                              1             Y
Missouri, Dwayne                                           1          1                 0.5             N
Mitchel, Eric                                              1                            0.5             Y
Mitchell, Barry                                            1                            0.5             Y
Mitchell, Ben                                              1                            0.5             Y
Mitchell, Clint                                            2                              1             Y
Mitchell, Corey                                            1                            0.5             Y
Mitchell, Deon                                             1                            0.5             Y
Mitchell, Derrell                                          1          1                 0.5             N
Mitchell, Hardy                                            1                            0.5             Y
Mitchell, Lonny                                            1                            0.5             Y
Mitchell, Qasim                                            1          3                 0.5             N
Mitchell, Shirdonya                                        1          1                 0.5             N
Mitchell, Shon                                             1                            0.5             Y
Mitrione, Matt                                             1          1                 0.5             N
Mittendorf, Alexej                                         1                            0.5             Y
Mizuguchi, Takao                                           1                            0.5             Y
Moa, Ben                                                   2                              1             Y
Mobley, Stacey                                             1          2                 0.5             N
Mock, Kerry                                                1                            0.5             Y
Moe, Tanuvasa                                              1                            0.5             Y
Mohr, Christian                                            4                              2             Y
Molly, Leo                                                 2                              1             Y
Monds, Mario                                               1          2                 0.5             N
Monroe, Derrius                                            1                            0.5             Y
Montgomery, Justin                                         1                            0.5             Y
Montgomery, Shane                                          1                            0.5             Y
Moody, Mike                                                3                            1.5             Y
Moody, Thomas                                              1                            0.5             Y
Moore, Andrew                                              1                            0.5             Y
Moore, Chazz                                               1                            0.5             Y
Moore, Curtis                                              1                            0.5             Y
Moore, Darryl                                              1          1                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        51
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 182 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Moore, Freddie                                             2                              1             Y
Moore, Josh                                                1                            0.5             Y
Moore, Keon                                                1                            0.5             Y
Moore, Mark                                                2          1                   1             N
Moore, Otis                                                2                              1             Y
Moore, Rod                                                 1                            0.5             Y
Moore, Tim                                                 1                            0.5             Y
Moorer, Pat                                                2                              1             Y
Moran, Ron                                                 1                            0.5             Y
Moreau, Frank                                              1          2                 0.5             N
Moreira, Tom                                               1                            0.5             Y
Moreland, Earthwind                                        1          3                 0.5             N
Moretti, Dave                                              1                            0.5             Y
Morey, Sean                                                1          9                   0             N
Morgan, Shawn                                              2                              1             Y
Morgan, Tim                                                1                            0.5             Y
Moronkola, Dee                                             1                            0.5             Y
Morris, Alex                                               1                            0.5             Y
Morris, Carl                                               2                              1             Y
Morris, Cree                                               1                            0.5             Y
Morris, Horace                                             2                              1             Y
Morris, Lee                                                2          1                   1             N
Mortensen, Todd                                            1                            0.5             Y
Morton, Brian                                              1                            0.5             Y
Morton, Craig                                              1                            0.5             Y
Morton, John                                               1                            0.5             Y
Mose, Diriki                                               1                            0.5             Y
Mosley, Denorse                                            1                            0.5             Y
Moss, Brent                                                1          1                 0.5             N
Moss, Eric                                                 1                            0.5             Y
Moss, Tony                                                 1                            0.5             Y
Moss, Tristan                                              3                            1.5             Y
Motzkus, Andreas                                           4                              2             Y
Mounts, Rod                                                1                            0.5             Y
Movassaghi, Babek                                          3                            1.5             Y
Moxley, Tim                                                1                            0.5             Y
Mraz, Mark                                                 1          2                 0.5             N
Mudge, David                                               1                            0.5             Y
Muhammad, Victor                                           6                              3             Y
Muirbrook, Shay                                            1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        52
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 183 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Mulcahy, Sean                                              2                              1             Y
Mull, Curt                                                 2                              1             Y
Mullin, R.C.                                               1                            0.5             Y
Munch, John                                                1                            0.5             Y
Munoz, Jose                                                2                              1             Y
Muraoka, George                                            1                            0.5             Y
Murphy, Chaz                                               1                            0.5             Y
Murphy, Jason                                              1                            0.5             Y
Murphy, Jim                                                1                            0.5             Y
Murphy, Mark                                               1                            0.5             Y
Murphy, Nick                                               1          2                 0.5             N
Murphy, Rob                                                1          3                 0.5             N
Murphy, Yo                                                 2          3                   1             N
Murray, Cal                                                2                              1             Y
Murray, Dan                                                1          1                 0.5             N
Murray, Leon                                               1                            0.5             Y
Musinski, Rich                                             2                              1             Y
Mustafa, Isaiah                                            1                            0.5             Y
Muther, Pete                                               1                            0.5             Y
Mutryn, Scott                                              1                            0.5             Y
Mutti, Paolo                                               1                            0.5             Y
Myers, Ryan                                                1          2                 0.5             N
Myers, Shannon                                             1                            0.5             Y
Myers, Wood                                                1                            0.5             Y
Nagurski, Steffen                                          1                            0.5             Y
Najarian, Pete                                             2          3                   1             N
Nakajima, Yu                                               2                              1             Y
Nakamura, Tamon                                            2                              1             Y
Namiki, Kentaro                                            2                              1             Y
Naposki, Eric                                              4          2                   2             N
Nash, Keyon                                                1          1                 0.5             N
Nazel, Omar                                                2                              1             Y
Nelson, Corey                                              1                            0.5             Y
Nelson, Reggie                                             2          2                   1             N
Nerys, Jason                                               1                            0.5             Y
Nettles, Mike                                              2                              1             Y
Neunzig, Rene                                              1                            0.5             Y
Nevadomsky, Jason                                          1                            0.5             Y
Newberry, Jared                                            1                            0.5             Y
Newbill, Richard                                           4          3                   2             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        53
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 184 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Newell, Mike                                               1          1                 0.5             N
Newhouse, Reggie                                           1          2                 0.5             N
Newman, Adam                                               1                            0.5             Y
Newman, David                                              1                            0.5             Y
Newsom, Tony                                               2          1                   1             N
Newsome, Myron                                             2                              1             Y
Newsome, Richard                                           1          1                 0.5             N
Newson, James                                              1                            0.5             Y
Newton, Brandon                                            2                              1             Y
Newton, Falanda                                            2                              1             Y
Newton, Levi                                               1                            0.5             Y
Ngaue, Alex                                                1                            0.5             Y
Nichols, Ben                                               1                            0.5             Y
Nichols, Gerald                                            1          6                   0             N
Nichols, Jerome                                            1                            0.5             Y
Nicholson, Calvin                                          1          2                 0.5             N
Nicks, Ronnie                                              1                            0.5             Y
Nicolson, Jeff                                             2                              1             Y
Nienhuis, Doug                                             1          1                 0.5             N
Nies, John                                                 2          1                   1             N
Niklos, J.R.                                               3                            1.5             Y
Nimmo, Lance                                               1                            0.5             Y
Nittmo, Bjorn                                              2          1                   1             N
Nivens, Damon                                              2                              1             Y
Nnabuife, Alvin                                            1                            0.5             Y
Noa, Kaulana                                               1                            0.5             Y
Noble, Brandon                                             1          6                   0             N
Noble, Derek                                               1                            0.5             Y
Noel, Kevin                                                1                            0.5             Y
Noel, Tori                                                 1                            0.5             Y
Nord, Kendrick                                             1                            0.5             Y
Norman, Dempsey                                            2                              1             Y
Norseth, Mike                                              1          1                 0.5             N
North, Ramondo                                             1                            0.5             Y
Novak, Jeff                                                2          5                   0             N
Nowland, Ben                                               2                              1             Y
Nua, Mark                                                  1                            0.5             Y
Nugent, David                                              1          3                 0.5             N
Nummi, Jukka‐Pekka                                         1                            0.5             Y
Nuno, Carlos                                               1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        54
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 185 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Nussmeier, Doug                                            1          2                 0.5             N
O'Brien, Joe                                               1                            0.5             Y
O'Brien, Kevin                                             2                              1             Y
O'Brien, Nick                                              1                            0.5             Y
O'Connor, Adam                                             1                            0.5             Y
O'Connor, Drew                                             1                            0.5             Y
O'Connor, Sean                                             1                            0.5             Y
O'Donnell, Joe                                             2                              1             Y
O'Hara, Pat                                                1                            0.5             Y
O'Neal, Matt                                               1                            0.5             Y
O'Neal, Robert                                             3          1                 1.5             N
O'Neill, Joe                                               1                            0.5             Y
O'Shea, Terry                                              1          2                 0.5             N
O'Sullivan, Dennis                                         1          1                 0.5             N
Oakley, Anthony                                            1          2                 0.5             N
Obeng, William                                             1                            0.5             Y
Oberdorf, Todd                                             2                              1             Y
Ochs, Craig                                                1                            0.5             Y
Octobre, Sandino                                           4                              2             Y
Odenthal, David                                            2                              1             Y
Odiorne, Charles                                           1                            0.5             Y
Odunayo Ojo, Oyeniran
Olalere                                                              5                 2.5              Y
Ogawa, Michihiro                                                     4                   2              Y
Ogden, Marques                                                       1            1    0.5              N
Ogle, Kendall                                                        1            1    0.5              N
Ogletree, Craig                                                      1            1    0.5              N
Ohrvall, Stefan                                                      1                 0.5              Y
Ohtaki, Yuji                                                         1                 0.5              Y
Ojo, Onome                                                           1                 0.5              Y
Oladipo, Gabriel                                                     1                 0.5              Y
Olds, Rod                                                            1                 0.5              Y
Olford, Jason                                                        1                 0.5              Y
Olinger, Jon                                                         1                 0.5              Y
Oliver, Jeff                                                         2            1      1              N
Oliver, Maurice                                                      1            1    0.5              N
Olsen, Eric                                                          1                 0.5              Y
Olson, Drew                                                          1                 0.5              Y
Olson, Ryan                                                          1                 0.5              Y
Olszewski, Gerald                                                    3                 1.5              Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        55
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 186 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Oltmanns, Chris                                            1                            0.5             Y
Opoku, Bernard                                             1                            0.5             Y
Ornstein, Gus                                              1                            0.5             Y
Ortiz, Robert                                              1                            0.5             Y
Ortiz, Tony                                                3                            1.5             Y
Orton, Jason                                               1                            0.5             Y
Osborne, Scot                                              2                              1             Y
Osei, Claudius                                             2                              1             Y
Otis, Jeff                                                 1                            0.5             Y
Outlaw, J.J.                                               1                            0.5             Y
Owens, Billy                                               2          1                   1             N
Owens, Darrick                                             1          1                 0.5             N
Owens, Dondre                                              1                            0.5             Y
Owens, Kerry                                               1                            0.5             Y
Ozongwu, Onoh                                              1                            0.5             Y
Pace, Andrew                                               1                            0.5             Y
Pace, Frank                                                1                            0.5             Y
Padget, Jason                                              1                            0.5             Y
Pagac, Fred                                                1                            0.5             Y
Paige, Melvin                                              2                              1             Y
Painter, Carl                                              1          2                 0.5             N
Pakulak, Glenn                                             2          2                   1             N
Palafox, Jonathan                                          1                            0.5             Y
Palmer, Dan                                                1                            0.5             Y
Palmer, Emile                                              3          1                 1.5             N
Palmer, Paul                                               2          3                   1             N
Palmer, Randy                                              1          1                 0.5             N
Pape, Tony                                                 2                              1             Y
Papin, Steve                                               1                            0.5             Y
Parent, Ralph                                              1                            0.5             Y
Paris, Steve                                               1                            0.5             Y
Parker, Carl                                               2          2                   1             N
Parker, Ezekiel                                            1                            0.5             Y
Parker, Gary                                               2                              1             Y
Parker, Jeff                                               1          1                 0.5             N
Parker, Mike                                               1                            0.5             Y
Parker, Ricky                                              1          1                 0.5             N
Parker, Riddick                                            1          7                   0             N
Parpan, Brad                                               1                            0.5             Y
Parquet, Jeremy                                            1          3                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        56
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 187 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Parrish, James                                             1          3                 0.5             N
Parrish, Terrance                                          1                            0.5             Y
Parry, Josh                                                1          3                 0.5             N
Parson, Rich                                               1          1                 0.5             N
Parten, Ty                                                 1          7                   0             N
Patrick, Garin                                             1          1                 0.5             N
Patrick, Greg                                              1                            0.5             Y
Patterson, Elton                                           1          2                 0.5             N
Patterson, Martin                                          1                            0.5             Y
Patterson, Melvin                                          2                              1             Y
Patton, Janssen                                            1                            0.5             Y
Pau'u, Yepi                                                2                              1             Y
Pawlik, Florian                                            1                            0.5             Y
Payne, Bobby                                               1                            0.5             Y
Pearce, Dusty                                              2                              1             Y
Pearce, Mark                                               2                              1             Y
Pears, Morgan                                              1          1                 0.5             N
Pearson, Kalvin                                            1          6                   0             N
Pearson, Pepe                                              2                              1             Y
Pease, Brent                                               2          2                   1             N
Peat, Todd                                                 1          6                   0             N
Peck, Jared                                                1          1                 0.5             N
Pederson, Doug                                             2         10                   0             N
Peko, Tupe                                                 1          2                 0.5             N
Pelluer, Steve                                             2          7                   0             N
Pelshak, Troy                                              2          2                   1             N
Pendergrass, Jon                                           2                              1             Y
Penn, Kawasak                                              1                            0.5             Y
Peoples, Corey                                             1                            0.5             Y
Peoples, Kevin                                             1                            0.5             Y
Perez, Carlos                                              1                            0.5             Y
Perez, Christopher                                         1                            0.5             Y
Perez, Joe                                                 1                            0.5             Y
Perez, Michael                                             2                              1             Y
Perkins, Justin                                            1                            0.5             Y
Perkins, Tracey                                            1                            0.5             Y
Perry, Jason                                               1          4                 0.5             N
Perry, Leon                                                1                            0.5             Y
Perry, Merceda                                             2                              1             Y
Perry, William                                             1         10                   0             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        57
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 188 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Perry‐Smith, Ryan                                          1                            0.5             Y
Perryman, Raymond                                          1          3                 0.5             N
Peterson, Daunta                                           1                            0.5             Y
Peterson, Devonte                                          3                            1.5             Y
Peterson, Jason                                            1                            0.5             Y
Peterson, Tim                                              1                            0.5             Y
Petersson, Dan                                             2                              1             Y
Petrof, Karl                                               1                            0.5             Y
Pettersson, Jens                                           2                              1             Y
Petty, Jermaine                                            1                            0.5             Y
Pfeifenberger, Toko                                        1                            0.5             Y
Philion, Ed                                                1          2                 0.5             N
Phillips, Bobby                                            3          1                 1.5             N
Phillips, Darrell                                          2                              1             Y
Phillips, Jeremy                                           1                            0.5             Y
Phillips, Jey                                              3                            1.5             Y
Phillips, Josh                                             1                            0.5             Y
Phillips, Rodnick                                          1                            0.5             Y
Philyaw, Dino                                              1          3                 0.5             N
Phipps, Joe                                                1                            0.5             Y
Pickens, Dwight                                            1                            0.5             Y
Pickett, Cody                                              1          2                 0.5             N
Pierce, Charles                                            1                            0.5             Y
Pietrowski, Edward                                         1                            0.5             Y
Pinderhughes, Brandon                                      1                            0.5             Y
Pinkard, Mike                                              2                              1             Y
Pinkney, Cleveland                                         1          3                 0.5             N
Pinson, Lawrence                                           1                            0.5             Y
Pisetsky, Vitaly                                           1                            0.5             Y
Pittman, Cedric                                            1                            0.5             Y
Pittman, Thomas                                            1                            0.5             Y
Pitts, DeRonnie                                            1                            0.5             Y
Pizzo, Joe                                                 1                            0.5             Y
Pjanic, Julian                                             1                            0.5             Y
Plantin, Tony                                              2                              1             Y
Player, Scott                                              1         10                   0             N
Pochman, Owen                                              1          2                 0.5             N
Poe, Billy                                                 2          1                   1             N
Pointer, Chris                                             1                            0.5             Y
Pointer, Deron                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        58
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 189 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Pollack, Fred                                              1                            0.5             Y
Pollard, Jonathan                                          1                            0.5             Y
Pope, O'Lester                                             2                              1             Y
Popovich, Jeff                                             1                            0.5             Y
Popson, Ted                                                1          5                   0             N
Porter, David                                              1                            0.5             Y
Porter, Juan                                               1                            0.5             Y
Porter, Kevin                                              1          5                   0             N
Porter, Quinton                                            1          1                 0.5             N
Pospisil, Scott                                            3                            1.5             Y
Postell, Malcolm                                           1                            0.5             Y
Powe, Keith                                                1          2                 0.5             N
Powell, Alvin                                              1          3                 0.5             N
Powell, Calen                                              1                            0.5             Y
Powell, Carl                                               1          7                   0             N
Powell, Eric                                               2          2                   1             N
Powell, Ronnie                                             1          1                 0.5             N
Powell, Sean                                               1                            0.5             Y
Power, Mike                                                1                            0.5             Y
Powers, Ricky                                              1          1                 0.5             N
Prater, Shino                                              1                            0.5             Y
Presbury, Robert                                           2                              1             Y
Presley, Bruce                                             1                            0.5             Y
Preston, Charles                                           1                            0.5             Y
Prevost, Nick                                              1                            0.5             Y
Price, Idris                                               1                            0.5             Y
Price, Shawn                                               1                            0.5             Y
Priestley, David                                           2                              1             Y
Prince, Ryan                                               2          1                   1             N
Pringle, Mike                                              1          1                 0.5             N
Pritchett, Wes                                             1          1                 0.5             N
Proby, Bryan                                               2          1                   1             N
Procell, Jarrett                                           1                            0.5             Y
Proctor, Basil                                             1                            0.5             Y
Proctor, Michael                                           2                              1             Y
Pruce, David                                               2                              1             Y
Pruitt, Etric                                              1          2                 0.5             N
Pugh, Jimond                                               1                            0.5             Y
Puleri, Charles                                            1                            0.5             Y
Putzier, Rollin                                            3          2                 1.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        59
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 190 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Quarshie, Michael                                          1                            0.5             Y
Quass, Oliver                                              2                              1             Y
Quast, Brad                                                2                              1             Y
Quast, Heinz                                               1                            0.5             Y
Quayle, Cam                                                1                            0.5             Y
Quinnie, Willie                                            1                            0.5             Y
Quinton, Dustin                                            1                            0.5             Y
Rabe, Russell                                              1                            0.5             Y
Rader, Jason                                               1          3                 0.5             N
Rafferty, Ian                                              1          1                 0.5             N
Ragans, Bill                                               1                            0.5             Y
Raiola, Donovan                                            1          1                 0.5             N
Randall, Jason                                             1                            0.5             Y
Rantanen, Jarmo                                            1                            0.5             Y
Rasmussen, Buck                                            1                            0.5             Y
Rasul, Amir                                                1                            0.5             Y
Ratliffe, Leslie                                           2                              1             Y
Rawlings, Josh                                             1                            0.5             Y
Ray, Bryan                                                 1                            0.5             Y
Ray, Leonard                                               1                            0.5             Y
Ray, Marcus                                                1          1                 0.5             N
Raynock, Chase                                             1                            0.5             Y
Reader, Jamie                                              1          1                 0.5             N
Redd, Robert                                               2                              1             Y
Redmon, Tellis                                             1                            0.5             Y
Redziniak, Ray                                             2                              1             Y
Reece, John                                                1          1                 0.5             N
Reed, Michael                                              2          2                   1             N
Reed, Rayshun                                              1          1                 0.5             N
Reed, Rodney                                               1                            0.5             Y
Reem, Matt                                                 1                            0.5             Y
Reese, Allen                                               1          1                 0.5             N
Reese, Jerry                                               1          1                 0.5             N
Reese, Jerry                                               2          1                   1             N
Reese, Jonathan                                            1                            0.5             Y
Reessing, Dirk                                             2                              1             Y
Regular, Moses                                             1          1                 0.5             N
Rehage, Derek                                              1                            0.5             Y
Rehder, Tom                                                1          3                 0.5             N
Reid, Gary                                                 1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        60
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 191 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Reid, Ike                                                  1                            0.5             Y
Reid, Lamont                                               1          1                 0.5             N
Reid, Nick                                                 1                            0.5             Y
Reiser, Thomas                                             1                            0.5             Y
Rekuc, Brad                                                1                            0.5             Y
Renfro, Dusty                                              2                              1             Y
Renna, Mike                                                1                            0.5             Y
Renner, Gunther                                            1                            0.5             Y
Rentie, Caesar                                             2          1                   1             N
Reuber, Alan                                               1          1                 0.5             N
Reynolds, Don                                              3                            1.5             Y
Reynolds, Joffrey                                          1          1                 0.5             N
Rheem, Jamie                                               1                            0.5             Y
Rhodes, Damien                                             1                            0.5             Y
Rhodes, David                                              1                            0.5             Y
Rhodes, Mike                                               1                            0.5             Y
Rhodes, Reggie                                             1                            0.5             Y
Rice, Al                                                   1                            0.5             Y
Rice, Anthony                                              1                            0.5             Y
Rice, Jacob                                                1                            0.5             Y
Rice, Matthew                                              1                            0.5             Y
Rice, Tony                                                 2                              1             Y
Rice‐Lockett, Terry                                        1                            0.5             Y
Richard, Cisco                                             1                            0.5             Y
Richard, Gary                                              2          1                   1             N
Richardson, David                                          1          3                 0.5             N
Richardson, Lawrence                                       1                            0.5             Y
Richey, Derrick                                            1                            0.5             Y
Richter, Marcus                                            4                              2             Y
Ricker, A.J.                                               1                            0.5             Y
Rideaux, Darrell                                           1                            0.5             Y
Ridgley, Troy                                              3                            1.5             Y
Riecke, Hans‐Ullrich                                       1                            0.5             Y
Riggins, Quentin                                           1                            0.5             Y
Riggs Jr., Gerald                                          1                            0.5             Y
Rilatt, Dave                                               1                            0.5             Y
Riley, Andre                                               1                            0.5             Y
Riley, Earl                                                2          1                   1             N
Ritchey, James                                             2          1                   1             N
Ritter, Craig                                              2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        61
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 192 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Ritzmann, Constantin                                       1          1                 0.5             N
Rivers, David                                              2                              1             Y
Robb, Doug                                                 1                            0.5             Y
Robbins, Monte                                             1                            0.5             Y
Robeen, Craig                                              1                            0.5             Y
Roberts, John                                              1                            0.5             Y
Robertson, Barry                                           1                            0.5             Y
Robertson, Reggie                                          1                            0.5             Y
Robertson, Virgil                                          1                            0.5             Y
Robinson, Darnell                                          1                            0.5             Y
Robinson, Don                                              1                            0.5             Y
Robinson, Ed                                               1          1                 0.5             N
Robinson, Frank                                            1          2                 0.5             N
Robinson, Jimmy                                            1                            0.5             Y
Robinson, Jimmy                                            1                            0.5             Y
Robinson, Robbie                                           1                            0.5             Y
Robinson, Roderick                                         1                            0.5             Y
Robinson, Roger                                            1                            0.5             Y
Robinson, Terrence                                         3          1                 1.5             N
Robsock, Tom                                               3                            1.5             Y
Rocker, Tracy                                              1          2                 0.5             N
Rockett, Ron                                               1                            0.5             Y
Rockwood, Mike                                             1          1                 0.5             N
Rodgers, Anthony                                           1                            0.5             Y
Rodgers, Jeff                                              1                            0.5             Y
Rodgers, Willie                                            1                            0.5             Y
Rodríguez, Vicenç                                          3                            1.5             Y
Rodrigue, Ruffin                                           1                            0.5             Y
Rodriguez, Antonio                                         2                              1             Y
Rodriguez, Joel                                            1                            0.5             Y
Rodriguez, Robert                                          1                            0.5             Y
Rodriguez, Tito                                            1                            0.5             Y
Roehl, Jeff                                                1          1                 0.5             N
Rogers, Antwaun                                            1                            0.5             Y
Rogers, Brian                                              1                            0.5             Y
Rogers, Ernie                                              2                              1             Y
Rogers Jr., Glenn                                          1          1                 0.5             N
Rogers, Kendrick                                           1                            0.5             Y
Rogers, Kirk                                               1                            0.5             Y
Rogers, Lamar                                              1          2                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        62
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 193 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Rogers, Ronald                                             1                            0.5             Y
Rogers, Wayne                                              1                            0.5             Y
Rohloff, Cabel                                             1                            0.5             Y
Rolen, Chad                                                1                            0.5             Y
Rollins, Kevin                                             1                            0.5             Y
Rolovich, Nick                                             1                            0.5             Y
Rone, Andre                                                1                            0.5             Y
Rooths, James                                              2                              1             Y
Rosado, Carlos                                             7                            3.5             Y
Roscoe, Chris                                              1                            0.5             Y
Roscoe, James                                              1                            0.5             Y
Rose, Blaine                                               1                            0.5             Y
Rose, Shaun                                                1                            0.5             Y
Rosenstiel, Robert                                         1          1                 0.5             N
Rosga, Steve                                               1                            0.5             Y
Ross, Derrick                                              1          1                 0.5             N
Ross, Gregory                                              2                              1             Y
Ross, Isaiah                                               1                            0.5             Y
Ross, Jerry                                                1                            0.5             Y
Ross, Oliver                                               1          7                   0             N
Ross, Phil                                                 2                              1             Y
Ross, Richie                                               1                            0.5             Y
Roth, Tom                                                  1                            0.5             Y
Rouen, Tom                                                 1         13                   0             N
Roundtree, Alphonso                                        1          1                 0.5             N
Roundtree, Durand                                          1                            0.5             Y
Rountree, Glenn                                            1                            0.5             Y
Rouse, Wardell                                             1          1                 0.5             N
Rowan, Levonne                                             1                            0.5             Y
Rowe, Joe                                                  1          1                 0.5             N
Rowell, Eugene                                             1          1                 0.5             N
Rowell, Tony                                               1                            0.5             Y
Royal, Desmond                                             2                              1             Y
Royal, Ricky                                               1          1                 0.5             N
Royster, Mazio                                             1          3                 0.5             N
Rozic, Bernard                                             2                              1             Y
Rubin, DeAndrew                                            1                            0.5             Y
Rubin, Marek                                               1                            0.5             Y
Rubley, T.J.                                               1          2                 0.5             N
Rueda, Marco                                               1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        63
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 194 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Ruffin, Aaron                                              1                            0.5             Y
Ruffin, Jonathan                                           1                            0.5             Y
Ruiz, Jose                                                 1                            0.5             Y
Rundberg, Peter                                            1                            0.5             Y
Rush, Torrey                                               1                            0.5             Y
Russell, Fred                                              1                            0.5             Y
Russell, Jeff                                              2                              1             Y
Russell, Sean                                              2                              1             Y
Ruth, Mike                                                 2          2                   1             N
Rutherford, Reynard                                        1                            0.5             Y
Rutherford, Rod                                            1                            0.5             Y
Ruzek, Roger                                               1          7                   0             N
Ryans, Larry                                               2          1                   1             N
Rybarczyk, Slawomir                                        2                              1             Y
Sacca, John                                                2                              1             Y
Sacca, Tony                                                2          1                   1             N
Sadler, Adrian                                             1                            0.5             Y
Saenz, Richard                                             1                            0.5             Y
Salden, Youri                                              1                            0.5             Y
Saldi, John                                                1                            0.5             Y
Sale, Ken                                                  2                              1             Y
Salmon, Mike                                               2          1                   1             N
Salo, Juha                                                 1                            0.5             Y
Saltz, Lee                                                 2                              1             Y
Sam, P.K.                                                  1          1                 0.5             N
Samp, Chris                                                1                            0.5             Y
Sams, Tierre                                               1                            0.5             Y
Samuel, Cedric                                             1                            0.5             Y
Samuel, Peda                                               1                            0.5             Y
Sanchez, Jeff                                              2                              1             Y
Sancho, Ron                                                2                              1             Y
Sander, Mark                                               2          1                   1             N
Sanders, Brandon                                           1          3                 0.5             N
Sanders, David                                             2                              1             Y
Sanders, Steve                                             1          1                 0.5             N
Sanders, Tracy                                             2                              1             Y
Sanders, Tyrone                                            1                            0.5             Y
Sanders, Vaughn                                            1                            0.5             Y
Sandidge, Tim                                              1          1                 0.5             N
Sandlin, Kenny                                             1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        64
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 195 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Sands, Justin                                              1                            0.5             Y
Sands, Mike                                                1                            0.5             Y
Sands, Terdell                                             1          7                   0             N
Sanford, Sulecio                                           1                            0.5             Y
Sano, Tadani                                               1                            0.5             Y
Sape, Lauvale                                              1          2                 0.5             N
Sapega, Oleg                                               2                              1             Y
Sapolu, Saute                                              1                            0.5             Y
Sargeant, Shatony                                          2                              1             Y
Sargent, Broderick                                         1          3                 0.5             N
Sargent, Tony                                              2                              1             Y
Sasano, Naoki                                              1                            0.5             Y
Satomi, Kohei                                              4                              2             Y
Saunders, Cedric                                           1          1                 0.5             N
Saunders, Troy                                             1                            0.5             Y
Sauve, Jeff                                                1                            0.5             Y
Savage, Damon                                              1                            0.5             Y
Savage, Ray                                                2                              1             Y
Savage, Sebastian                                          1          2                 0.5             N
Save, Bryan                                                2                              1             Y
Savoie, Nicky                                              1          1                 0.5             N
Saxton, Brian                                              1          2                 0.5             N
Scaldaferri, Stephen                                       1                            0.5             Y
Scales, Shawn                                              1                            0.5             Y
Scates, Cody                                               1                            0.5             Y
Scharf, Tim                                                1                            0.5             Y
Scharff, Scott                                             1                            0.5             Y
Schau, Tom                                                 1                            0.5             Y
Schenk, Volker                                             1                            0.5             Y
Schlecht, John                                             2          1                   1             N
Schlichting, Craig                                         2                              1             Y
Schmidt, Brennan                                           1                            0.5             Y
Schmidt, Dan                                               1                            0.5             Y
Schmidt, Taylor                                            1                            0.5             Y
Schmitt, Kyle                                              1                            0.5             Y
Schnee, Yoan                                               5                            2.5             Y
Schneider, Astor                                           1                            0.5             Y
Schneider, Sebastian                                       1                            0.5             Y
Schober, Daniel                                            2                              1             Y
Schonewolf, Rich                                           2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        65
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 196 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Schorejs, Derek                                            1                            0.5             Y
Schroeder, Andreas                                         1                            0.5             Y
Schumacher, Jerry                                          1                            0.5             Y
Schuster, Marcus                                           1                            0.5             Y
Scifres, Steve                                             1          3                 0.5             N
Sciullo, Steve                                             1          2                 0.5             N
Scott, Cedric                                              1          2                 0.5             N
Scott, Chad                                                1                            0.5             Y
Scott, Earl                                                3                            1.5             Y
Scott, Gregory                                             1          2                 0.5             N
Scott, Joseph                                              1                            0.5             Y
Scott, Kevin                                               1          3                 0.5             N
Scott, Michael                                             1                            0.5             Y
Scott, Patrick                                             1                            0.5             Y
Scott, Pete                                                1                            0.5             Y
Scott, Robert                                              1                            0.5             Y
Scott, Sean                                                1                            0.5             Y
Scott, Walter                                              2          1                   1             N
Scott, Yusuf                                               1          3                 0.5             N
Scukanec, Jason                                            1                            0.5             Y
Seals, Mark                                                2                              1             Y
Seals, Richard                                             1                            0.5             Y
Searcy, Elliott                                            1                            0.5             Y
Searcy, George                                             1                            0.5             Y
Searels, Stacy                                             1                            0.5             Y
Sears, Chad                                                1                            0.5             Y
Seay, Clarence                                             1                            0.5             Y
Seibert, Ingo                                              4                              2             Y
Seiff, Jan                                                 1                            0.5             Y
Seigler, Dexter                                            2          2                   1             N
Sellers, Donald                                            2                              1             Y
Senczyszyn, Dave                                           1                            0.5             Y
Setta, Nicholas                                            2                              1             Y
Setterstrom, Chad                                          1                            0.5             Y
Setzer, Bobby                                              1          2                 0.5             N
Seumalo, Joe                                               1                            0.5             Y
Sewell, Josh                                               1                            0.5             Y
Shabazz, Siddeeq                                           1          3                 0.5             N
Shafer, Mike                                               1                            0.5             Y
Shamburger, Clifton                                        1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        66
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 197 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Shannon, John                                              2          2                   1             N
Sharpe, Montique                                           1          1                 0.5             N
Sharpe, Ricky                                              1                            0.5             Y
Shaw, Bryant                                               3                            1.5             Y
Shaw, Ricky                                                1          3                 0.5             N
Shay, Brian                                                1                            0.5             Y
Sheahan, Kevin                                             1                            0.5             Y
Shearer, Curtis                                            1                            0.5             Y
Sheldon, Dan                                               1                            0.5             Y
Shell, Lin‐J                                               1                            0.5             Y
Shelley, Jason                                             4                              2             Y
Shelling, Chris                                            1          3                 0.5             N
Sherrell, Anthony                                          1                            0.5             Y
Shields, Scott                                             1          2                 0.5             N
Shimizu, Satoshi                                           1                            0.5             Y
Shinsuke, Kashino                                          1                            0.5             Y
Shipley, Ron                                               1                            0.5             Y
Shivers, Jason                                             1          1                 0.5             N
Shor, Alex                                                 1                            0.5             Y
Short, Jason                                               1          3                 0.5             N
Shorts, Peter                                              1          1                 0.5             N
Showell, Malcolm                                           3                            1.5             Y
Shuck, Kofi                                                1                            0.5             Y
Shufelt, Pete                                              1          1                 0.5             N
Shuler, Alonzo                                             1                            0.5             Y
Sievers, Todd                                              1                            0.5             Y
Sign, Bobby                                                2                              1             Y
Sikyala, Mukala                                            1                            0.5             Y
Sileo, Dan                                                 1          1                 0.5             N
Silvers, Elliot                                            1          1                 0.5             N
Silvestri, Don                                             2          2                   1             N
Simmons, Antuan                                            1                            0.5             Y
Simmons, Jason                                             1                            0.5             Y
Simmons, Michael                                           1          2                 0.5             N
Simmons, Rasheed                                           1                            0.5             Y
Simmons, Sam                                               1          1                 0.5             N
Simmons, Stacey                                            1          1                 0.5             N
Simmons, Terrance                                          1          1                 0.5             N
Simnjanovski, Brian                                        2                              1             Y
Simon, Jose                                                2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        67
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 198 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Simon, Salem                                               1                            0.5             Y
Simons, Kevin                                              1          1                 0.5             N
Simpson, John                                              1                            0.5             Y
Simpson, Teto                                              2                              1             Y
Simpson, Tim                                               1          1                 0.5             N
Sims, Dominique                                            1                            0.5             Y
Sims, Doug                                                 1                            0.5             Y
Sims, Kelly                                                3                            1.5             Y
Sinclair, Matt                                             1          1                 0.5             N
Singer, Paul                                               1                            0.5             Y
Singletary, James                                          1                            0.5             Y
Sischka, Mario                                             1                            0.5             Y
Sissener, Phillip                                          2                              1             Y
Skaggs, Justin                                             1          2                 0.5             N
Skinner, Justin                                            1                            0.5             Y
Slack, Reggie                                              1                            0.5             Y
Slaten, Joey                                               1                            0.5             Y
Slay, Henry                                                2          1                   1             N
Slutsky, Mikhail                                           2                              1             Y
Small, O.J.                                                1          1                 0.5             N
Smider, Brian                                              2                              1             Y
Smith, Akil                                                1                            0.5             Y
Smith, Akili                                               1          4                 0.5             N
Smith, Alvin                                               1                            0.5             Y
Smith, Art                                                 1                            0.5             Y
Smith, Avrom                                               1                            0.5             Y
Smith, Brad                                                1          1                 0.5             N
Smith, Brian                                               1                            0.5             Y
Smith, Brian                                               1          2                 0.5             N
Smith, Carnel                                              2                              1             Y
Smith, Chandler                                            1                            0.5             Y
Smith, Chris                                               2                              1             Y
Smith, Clifton                                             1          2                 0.5             N
Smith, David                                               2                              1             Y
Smith, Davis                                               1                            0.5             Y
Smith, Dedric                                              3                            1.5             Y
Smith, Dennis                                              1          1                 0.5             N
Smith, Ed                                                  1          3                 0.5             N
Smith, Elliot                                              1          2                 0.5             N
Smith, Emory                                               1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        68
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 199 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Smith, Herman                                              1          2                 0.5             N
Smith, Irvin                                               2                              1             Y
Smith, J.J.                                                1                            0.5             Y
Smith, Jamel                                               3                            1.5             Y
Smith, Jermaine                                            1                            0.5             Y
Smith, Joe                                                 1                            0.5             Y
Smith, Jonathan                                            2                              1             Y
Smith, Justin                                              1          1                 0.5             N
Smith, Kyle                                                1                            0.5             Y
Smith, Lawrence                                            1          1                 0.5             N
Smith, Leroy                                               1                            0.5             Y
Smith, Marcus                                              1                            0.5             Y
Smith, Marquis                                             1          3                 0.5             N
Smith, Michael                                             1                            0.5             Y
Smith, Nick                                                2                              1             Y
Smith, Richard                                             1                            0.5             Y
Smith, Richard                                             1          1                 0.5             N
Smith, Roland                                              1                            0.5             Y
Smith, Ron                                                 1          1                 0.5             N
Smith, Ryan                                                1                            0.5             Y
Smith, Shaun                                               2                              1             Y
Smith, Shawn                                               1                            0.5             Y
Smith, Steve                                               1          1                 0.5             N
Smith, Thomas                                              1                            0.5             Y
Smith, Tracy                                               1                            0.5             Y
Smith, Trent                                               1          1                 0.5             N
Smith, Tyrone                                              2                              1             Y
Smith, Willie                                              1                            0.5             Y
Smith, Zuriel                                              1          1                 0.5             N
Snead, Willie                                              1                            0.5             Y
Snell, Ben                                                 2                              1             Y
Snell, Isaac                                               1          2                 0.5             N
Snell, Shannon                                             1                            0.5             Y
Snelling, Robbie                                           1                            0.5             Y
Snelson, Eric                                              1                            0.5             Y
Snow, Percy                                                1          3                 0.5             N
Snyder, Chris                                              1                            0.5             Y
Sochart, Peter                                             2                              1             Y
Solano, Salomon                                            2                              1             Y
Solomon, John                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        69
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 200 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Soltis, Paul                                               1                            0.5             Y
Sommersell, Andre                                          1                            0.5             Y
Soriano, Jamil                                             1                            0.5             Y
Soumah, Marc                                               4                              2             Y
Southward, Brandon                                         1                            0.5             Y
Spann, Gregory                                             1                            0.5             Y
Spears, Calvin                                             1                            0.5             Y
Spencer, James                                             2                              1             Y
Spikes, Rashon                                             1                            0.5             Y
Spinner, Bryson                                            1                            0.5             Y
Spragan, Donnie                                            1          6                   0             N
Sprague, Jake                                              1                            0.5             Y
Sprinkles, Kevin                                           1                            0.5             Y
Stacy, Siran                                               4          1                   2             N
Stafford, Shane                                            1                            0.5             Y
Staine‐Pyne, Frank                                         1                            0.5             Y
Stallings, Robert                                          1          1                 0.5             N
Stallworth, Cedric                                         2                              1             Y
Stallworth, Larry                                          1                            0.5             Y
Stambaugh, Phil                                            2                              1             Y
Stamer, Josh                                               1          7                   0             N
Stanley, Israel                                            3          1                 1.5             N
Stanley, Matt                                              1          1                 0.5             N
Stanley, Sylvester                                         1          1                 0.5             N
Stansbury, Ed                                              1          1                 0.5             N
Starcevich, Steve                                          1                            0.5             Y
Starck, Justin                                             1                            0.5             Y
Starling, Kendrick                                         1          1                 0.5             N
Stedman, Troy                                              1          1                 0.5             N
Steele, Ben                                                1          2                 0.5             N
Steen, Grant                                               1                            0.5             Y
Steitz, Nick                                               1                            0.5             Y
Stelly, Joel                                               1                            0.5             Y
Stemke, Kevin                                              1          2                 0.5             N
Stenavich, Adam                                            1                            0.5             Y
Stensrud, Andy                                             1                            0.5             Y
Stephens, Eric                                             1                            0.5             Y
Stephens, Leonard                                          1          1                 0.5             N
Stephens, Richard                                          2          2                   1             N
Stephenson, Milford                                        1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        70
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 201 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Sterling, Rob                                              1                            0.5             Y
Stevens, L.C.                                              1                            0.5             Y
Stevenson, Derik                                           1                            0.5             Y
Stewart, Ed                                                1                            0.5             Y
Stewart, Todd                                              1                            0.5             Y
Stewart, Vincent                                           1                            0.5             Y
Still, Eric                                                2                              1             Y
Stock, Mark                                                1          3                 0.5             N
Stoerner, Clint                                            1          2                 0.5             N
Stokes, Andy                                               1                            0.5             Y
Stokes, Barry                                              2          8                   0             N
Stonebreaker, Mike                                         1          2                 0.5             N
Storm, Matt                                                1                            0.5             Y
Stowers, Don                                               1                            0.5             Y
Stowers, Tommie                                            2          3                   1             N
Stradford, Troy                                            1          6                   0             N
Strey, Derek                                               1                            0.5             Y
Strickland, Timothy                                        1                            0.5             Y
Strickland, Vernon                                         1                            0.5             Y
Strohmeyer, Dax                                            1                            0.5             Y
Strong, Derrick                                            3                            1.5             Y
Stubbe, Kalle                                              1                            0.5             Y
Stubbins, Willie                                           1                            0.5             Y
Stubbs, Terrence                                           1                            0.5             Y
Stuber, Tim                                                2                              1             Y
Stuckey, Shawn                                             1          1                 0.5             N
Studdard, Greg                                             1                            0.5             Y
Studstill, Darren                                          1          3                 0.5             N
Stukes, Dwayne                                             2                              1             Y
Stull, Jim                                                 2                              1             Y
Sturgis, Oscar                                             1          1                 0.5             N
Stursberg, Philipp                                         1                            0.5             Y
Suarez, Mike                                               1                            0.5             Y
Sumner, Colin                                              1                            0.5             Y
Sumter, Glenn                                              1                            0.5             Y
Sunaga, Takayuki                                           1                            0.5             Y
Sunvold, Mike                                              1                            0.5             Y
Surrency, Justin                                           1                            0.5             Y
Sutter, Ryan                                               1          1                 0.5             N
Sutton, Mike                                               3          1                 1.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        71
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 202 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Sutton, Ricky                                              1          1                 0.5             N
Swaggert, Brent                                            1                            0.5             Y
Swain, Quentin                                             2                              1             Y
Swann, Charles                                             2          1                   1             N
Swanson, Brennen                                           1                            0.5             Y
Sweeney, Kevin                                             1          2                 0.5             N
Sweeney, Matt                                              1                            0.5             Y
Swiney, Erwin                                              1          2                 0.5             N
Symonette, Alan                                            1                            0.5             Y
Symonette, Josh                                            1          1                 0.5             N
Symons, B.J.                                               2                              1             Y
Syptak, John                                               1                            0.5             Y
Szeredy, Scott                                             2                              1             Y
Tagoai, Junior                                             1                            0.5             Y
Takavitz, Kyle                                             1                            0.5             Y
Talamaivao, Pene                                           1                            0.5             Y
Talley, Charles                                            1                            0.5             Y
Taneyhill, Steve                                           1                            0.5             Y
Tanks, Michael                                             1                            0.5             Y
Taotoai, Josh                                              1                            0.5             Y
Taplin, Greg                                               1                            0.5             Y
Tarver, Hurley                                             2                              1             Y
Tate, Adam                                                 1                            0.5             Y
Tate, Darian                                               1                            0.5             Y
Tate, Joe                                                  1                            0.5             Y
Tate, Mark                                                 1                            0.5             Y
Tate, Willy                                                1          2                 0.5             N
Taulealea, Samuel                                          1                            0.5             Y
Taves, Josh                                                1          4                 0.5             N
Taylor, Chris                                              1                            0.5             Y
Taylor, Cordell                                            1          2                 0.5             N
Taylor, James                                              1                            0.5             Y
Taylor, Jay                                                1          1                 0.5             N
Taylor, Jermaine                                           1                            0.5             Y
Taylor, Mike                                               2                              1             Y
Taylor, T.C.                                               1                            0.5             Y
Taylor, Tony                                               1          1                 0.5             N
Taylor, Tyrone                                             1                            0.5             Y
Taylor, Winston                                            1                            0.5             Y
Teichelman, Lance                                          1          1                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        72
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 203 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Tella, Gustavo                                             3                            1.5             Y
Tellison, A.C.                                             1                            0.5             Y
Telp, Davon                                                1                            0.5             Y
Temming, Frank                                             7                            3.5             Y
Tenner, Jason                                              1                            0.5             Y
Terrell, David                                             1          5                   0             N
Terry, Nate                                                1                            0.5             Y
Texada, Kip                                                1                            0.5             Y
Tharpe, Nigel                                              1                            0.5             Y
Thieneman, Chris                                           1                            0.5             Y
Thigpen, Tommy                                             2                              1             Y
Thomas, Art                                                1                            0.5             Y
Thomas, Corey                                              1          1                 0.5             N
Thomas, Cornell                                            1          1                 0.5             N
Thomas, Craig                                              1                            0.5             Y
Thomas, Dave                                               2                              1             Y
Thomas, Dee                                                1          1                 0.5             N
Thomas, Edward                                             1          3                 0.5             N
Thomas, Efrum                                              1                            0.5             Y
Thomas, Franklin                                           1                            0.5             Y
Thomas, Johnny                                             1                            0.5             Y
Thomas, Malcolm                                            1                            0.5             Y
Thomas, Mark                                               1          1                 0.5             N
Thomas, Markus                                             3                            1.5             Y
Thomas, Marvin                                             1          1                 0.5             N
Thomas, Roderick                                           1                            0.5             Y
Thomas, Rodney                                             1          4                 0.5             N
Thomas, Sean                                               1                            0.5             Y
Thomas, Wilson                                             1                            0.5             Y
Thomassie, Ryan                                            1                            0.5             Y
Thompkins, Gary                                            1                            0.5             Y
Thompson, Anthony                                          1          1                 0.5             N
Thompson, Aubrey                                           1                            0.5             Y
Thompson, Charles                                          2                              1             Y
Thompson, Chris                                            1          1                 0.5             N
Thompson, David                                            1          2                 0.5             N
Thompson, David                                            1                            0.5             Y
Thompson, Duvol                                            1                            0.5             Y
Thompson, Jamie                                            1          1                 0.5             N
Thompson, Kevin                                            2          1                   1             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        73
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 204 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Thompson, Orrin                                            1                            0.5             Y
Thompson, Shelton                                          1                            0.5             Y
Thompson, Steve                                            1                            0.5             Y
Thornton, James                                            3                            1.5             Y
Thornton, Randy                                            1                            0.5             Y
Thorp, Deron                                               2                              1             Y
Thorson, Chad                                              1                            0.5             Y
Threats, Jabbar                                            2          3                   1             N
Thurmon, Elijah                                            1                            0.5             Y
Thweatt, Byron                                             1          1                 0.5             N
Timothee, Kevin                                            1                            0.5             Y
Tinsley, Derrick                                           1                            0.5             Y
Tisdale, Casey                                             1                            0.5             Y
Titley, Michael                                            4                              2             Y
Toeaina, Albert                                            1                            0.5             Y
Tokimoto, Masaki                                           2                              1             Y
Tolbert, Michael                                           1                            0.5             Y
Toler, Burl                                                1                            0.5             Y
Topcu, Cüneyt                                              4                              2             Y
Torretta, Gino                                             1          2                 0.5             N
Torrey, Andre                                              1                            0.5             Y
Torrey, Brandon                                            1                            0.5             Y
Torriero, Ben                                              2                              1             Y
Totten, Erik                                               1          1                 0.5             N
Tovo, Tom                                                  5                            2.5             Y
Townsend, Larry                                            2                              1             Y
Trafford, Rodney                                           1          1                 0.5             N
Trainor, Kendall                                           2                              1             Y
Travis, Mack                                               1          1                 0.5             N
Traynor, Pete                                              1                            0.5             Y
Tregubov, Maxim                                            1                            0.5             Y
Trieb, Darrin                                              1                            0.5             Y
Tripp, Dennis                                              1                            0.5             Y
Trout, Brad                                                1                            0.5             Y
Truitt, Leroy                                              1                            0.5             Y
Tsuji, Haruhito                                            1                            0.5             Y
Tuch, Sebastian                                            1                            0.5             Y
Tucker, Anthony                                            1                            0.5             Y
Tucker, Erroll                                             1          2                 0.5             N
Tucker, Josh                                               1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        74
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 205 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Tucker, Mark                                               1          1                 0.5             N
Tuell, Guy                                                 1                            0.5             Y
Tugbenyoh, Mawuko                                          2                              1             Y
Tuipala, Joe                                               2          2                   1             N
Tunney, Jono                                               1                            0.5             Y
Tupai, Tai                                                 1                            0.5             Y
Turner, Derrick                                            2                              1             Y
Turner, Eric                                               1                            0.5             Y
Turner, Hart                                               1                            0.5             Y
Turner, Lonnie                                             2                              1             Y
Turner, Shawn                                              1                            0.5             Y
Turner, Vernon                                             3          6                   0             N
Tuten, Henry                                               1                            0.5             Y
Tuthill, James                                             1          1                 0.5             N
Tynes, Lawrence                                            1          9                   0             N
Uberschar, Jens                                            1                            0.5             Y
Ude, Mathias                                               1                            0.5             Y
Uestuenel, Alexander                                       1                            0.5             Y
Ulmer, Artie                                               1          7                   0             N
Ulrich, Matt                                               1          2                 0.5             N
Unertl, Jeremy                                             1                            0.5             Y
Van Dyke, Ryan                                             1                            0.5             Y
Vance, Chris                                               1                            0.5             Y
Vandermade, Lenny                                          1                            0.5             Y
Vandervelt, Jamie                                          1                            0.5             Y
Vann, LaDaris                                              1                            0.5             Y
Vaughn, Damian                                             2                              1             Y
Vaughn, Jon                                                1          4                 0.5             N
Vaughn, Lee                                                1                            0.5             Y
Vaughn, Vickiel                                            1          1                 0.5             N
Venzke, Patrick                                            3                            1.5             Y
Verdon, Jimmy                                              1          1                 0.5             N
Vick, Roger                                                1          4                 0.5             N
Vickerson, Quartez                                         1                            0.5             Y
Vieira, Steven                                             2                              1             Y
Viger, David                                               1                            0.5             Y
Ville, Zach                                                2                              1             Y
Vines, Ken                                                 1                            0.5             Y
Vinson, Tony                                               1          2                 0.5             N
Vissa, Sergio                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        75
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 206 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Vitale, John                                               2                              1             Y
Volk, Dave                                                 1                            0.5             Y
Vollath, Thomas                                            1                            0.5             Y
Von Garnier, Max                                           1                            0.5             Y
Voorhees, Barry                                            2                              1             Y
Waddell, Bennitte                                          1                            0.5             Y
Waddy, Jude                                                1          2                 0.5             N
Wadley, Shannon                                            1                            0.5             Y
Wagner, Keith                                              2                              1             Y
Walden, David                                              1                            0.5             Y
Walden, Willie                                             1                            0.5             Y
Waldron, Emmett                                            4                              2             Y
Walker, Bruce                                              2          1                   1             N
Walker, Bryan                                              1                            0.5             Y
Walker, Corey                                              1          1                 0.5             N
Walker, Demetrios                                          1                            0.5             Y
Walker, Jay                                                1          2                 0.5             N
Walker, John                                               1                            0.5             Y
Walker, Wayne                                              1          1                 0.5             N
Walker, Willie                                             1                            0.5             Y
Wallace, Anthony                                           1                            0.5             Y
Wallace, Butchie                                           1                            0.5             Y
Wallace, Jason                                             1                            0.5             Y
Wallace, Larry                                             2                              1             Y
Wallace, Mike                                              1                            0.5             Y
Walls, Gavin                                               1                            0.5             Y
Walls, Henry                                               1          1                 0.5             N
Walsh, Pat                                                 1                            0.5             Y
Walters, Matt                                              1          1                 0.5             N
Walton, Tim                                                2                              1             Y
Ward, Chad                                                 1                            0.5             Y
Ward, Chris                                                3          1                 1.5             N
Ward, LaShaun                                              1          1                 0.5             N
Ward, Phillip                                              1          2                 0.5             N
Ware, Andre                                                1          4                 0.5             N
Ware, Brad                                                 1                            0.5             Y
Warne, Jim                                                 1          1                 0.5             N
Warner, Josh                                               1          1                 0.5             N
Warren, Brent                                              1                            0.5             Y
Warren, Craig                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        76
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 207 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Warren, Jesse                                              3                            1.5             Y
Washburn, Brady                                            1                            0.5             Y
Washburn, Cliff                                            2                              1             Y
Washington, Gerard                                         1                            0.5             Y
Washington, John David                                     1                            0.5             Y
Washington, Keith                                          2                              1             Y
Washington, Mark                                           1                            0.5             Y
Washington, Sean                                           1                            0.5             Y
Washington, T.J.                                           1                            0.5             Y
Washington, Tavares                                        1          1                 0.5             N
Washington, Terrell                                        1                            0.5             Y
Washington, Thomas                                         1                            0.5             Y
Washington, Vann                                           1                            0.5             Y
Waters, Jason                                              1                            0.5             Y
Waters, Melvin                                             1                            0.5             Y
Watkins, James                                             1                            0.5             Y
Watkins, Mike                                              2                              1             Y
Watkins, Tony                                              2                              1             Y
Watson, Ken                                                1                            0.5             Y
Watson, Tim                                                1          4                 0.5             N
Watton, Chris                                              1                            0.5             Y
Watts, Daniel                                              3                            1.5             Y
Watts, Jason                                               2                              1             Y
Weaver, Jarrell                                            1                            0.5             Y
Webb, David                                                3                            1.5             Y
Webster, Mike                                              1                            0.5             Y
Wei, Gao                                                   1                            0.5             Y
Welch, Herb                                                1          6                   0             N
Wells, Kent                                                1          1                 0.5             N
Werdekker, Hans                                            1                            0.5             Y
Wesley, Joe                                                1          2                 0.5             N
West, Derek                                                1          3                 0.5             N
West, Marcus                                               1                            0.5             Y
West, Ronnie                                               2          1                   1             N
Westbrooks, David                                          1                            0.5             Y
Westbrooks, Jerry                                          1                            0.5             Y
Whalen, James                                              1          3                 0.5             N
Wheeler, Randy                                             1                            0.5             Y
Wheeler, Stephon                                           1                            0.5             Y
Whelihan, Tom                                              1                            0.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        77
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 208 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
White, Anthony                                             1                            0.5             Y
White, Brent                                               2                              1             Y
White, Derrick                                             1                            0.5             Y
White, Erik                                                1                            0.5             Y
White, Jamal                                               1                            0.5             Y
White, Jerard                                              1                            0.5             Y
White, Maurice                                             1                            0.5             Y
White, Robb                                                1          3                 0.5             N
White, Russell                                             1          1                 0.5             N
White, Stan                                                1                            0.5             Y
White, Stylez                                              1          4                 0.5             N
White, Ted                                                 2                              1             Y
Whitfield, Eric                                            1                            0.5             Y
Whitman, Josh                                              1          1                 0.5             N
Whitmore, Dennis                                           1                            0.5             Y
Whittaker, Huey                                            1                            0.5             Y
Whittaker, Scott                                           2                              1             Y
Whittington, Daryl                                         1                            0.5             Y
Wickman, Ryland                                            1                            0.5             Y
Wiese, Brett                                               1                            0.5             Y
Wiggins, Lee                                               1                            0.5             Y
Wiggins, Paul                                              1          2                 0.5             N
Wike, Todd                                                 1                            0.5             Y
Wilbourn, Shawn                                            1                            0.5             Y
Wilburn, Terry                                             2                              1             Y
Wilder, Sam                                                1                            0.5             Y
Wilkerson, Eric                                            2          1                   1             N
Wilkins, David                                             1          1                 0.5             N
Wilkins, Greg                                              1                            0.5             Y
Wilkinson, Calvin                                          1                            0.5             Y
Wilkinson, Rafe                                            1                            0.5             Y
Williams, Albert                                           1          1                 0.5             N
Williams, Aric                                             1                            0.5             Y
Williams, Armon                                            1          1                 0.5             N
Williams, Ben                                              1          2                 0.5             N
Williams, Brad                                             1                            0.5             Y
Williams, Byron                                            2          3                   1             N
Williams, Clarence                                         1          1                 0.5             N
Williams, Clarence                                         1          1                 0.5             N
Williams, Clay                                             2                              1             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        78
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 209 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Williams, Curtis                                           1                            0.5             Y
Williams, Curtis                                           1                            0.5             Y
Williams, DeMario                                          2                              1             Y
Williams, Doug                                             1          2                 0.5             N
Williams, Gerald                                           1                            0.5             Y
Williams, Greg                                             2                              1             Y
Williams, James                                            2                              1             Y
Williams, John                                             1          2                 0.5             N
Williams, K.D.                                             1          3                 0.5             N
Williams, Kevin                                            2          1                   1             N
Williams, Lamanzer                                         1          1                 0.5             N
Williams, Larry                                            1                            0.5             Y
Williams, Lauren                                           1                            0.5             Y
Williams, Lenny                                            1          1                 0.5             N
Williams, Marcus                                           1                            0.5             Y
Williams, Marcus                                           1          1                 0.5             N
Williams, Payton                                           1          1                 0.5             N
Williams, Rickey                                           2                              1             Y
Williams, Rodney                                           1          2                 0.5             N
Williams, Rodney                                           1          1                 0.5             N
Williams, Ronald                                           1                            0.5             Y
Williams, Ronnie                                           2          4                   1             N
Williams, Royd                                             1                            0.5             Y
Williams, Seante                                           2                              1             Y
Williams, Steve                                            1                            0.5             Y
Williams, Steve                                            2                              1             Y
Williams, Tashe                                            1                            0.5             Y
Williams, Travis                                           1                            0.5             Y
Williams, Willie                                           1          2                 0.5             N
Williamson, Lee                                            1                            0.5             Y
Willis, Darren                                             1                            0.5             Y
Willis, Horace                                             1                            0.5             Y
Willis, Keith                                              1                            0.5             Y
Willis, Marcel                                             2                              1             Y
Willis, Marcell                                            1                            0.5             Y
Wilmot, Trevor                                             2          1                   1             N
Wilson, Curtis                                             2                              1             Y
Wilson, David                                              1          1                 0.5             N
Wilson, Eric                                               1                            0.5             Y
Wilson, Gillis                                             1          1                 0.5             N

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        79
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 210 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Wilson, Harvey                                             2                              1             Y
Wilson, James                                              2                              1             Y
Wilson, Kennedy                                            1                            0.5             Y
Wilson, Sheddrick                                          1          1                 0.5             N
Wilson, Ted                                                1          1                 0.5             N
Wilson, Walter                                             1          1                 0.5             N
Wilson, Zach                                               2                              1             Y
Winborne, Jamaine                                          1          2                 0.5             N
Wing, Chris                                                1          1                 0.5             N
Wing, David                                                1                            0.5             Y
Wingrove, Ryan                                             1                            0.5             Y
Winkler, Ulrich                                            3                            1.5             Y
Wischnewski, Patrick                                       1                            0.5             Y
Wisdom, Terrence                                           3          1                 1.5             N
Wise, Ty                                                   1                            0.5             Y
Wishom, Jerron                                             1          1                 0.5             N
Witczak, Jason                                             2                              1             Y
Witherspoon, Jovan                                         1                            0.5             Y
Witkowski, Dean                                            1                            0.5             Y
Witkowski, John                                            1          2                 0.5             N
Wolf, Patrick                                              1                            0.5             Y
Wolfolk, Kevin                                             2                              1             Y
Wong, Joe                                                  2          1                   1             N
Wong, Juan                                                 2                              1             Y
Wood, Joseph                                               1                            0.5             Y
Woodbury, Tory                                             1          2                 0.5             N
Woodfin, Zac                                               1          1                 0.5             N
Woods, Jerry                                               1          2                 0.5             N
Woods, Manley                                              1                            0.5             Y
Woods, Rashaun                                             1          1                 0.5             N
Woods, Thomas                                              2                              1             Y
Woods, Tony                                                2          1                   1             N
Woodson, Shawn                                             1                            0.5             Y
Woolfork, Ronnie                                           2                              1             Y
Wooten, Al                                                 1                            0.5             Y
Word, Mark                                                 1          3                 0.5             N
Wright, Claudius                                           3                            1.5             Y
Wright, Darrell                                            2                              1             Y
Wright, Keith                                              1                            0.5             Y
Wright, Michael                                            3                            1.5             Y

Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                        80
            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 211 of 217
                           Eligible Seasons Added by Credit for NFL Europe

                                                                        Added Eligible
                                             Number of NFL Number of Seasons (excluding Played Only
Player                                       Europe Seasons NFL Seasons seasons beyond 5) NFL Europe?
Wright, Sylvester                                          1          2                  0.5           N
Wright, T.C.                                               2                               1           Y
Wright, Thomas                                             1                             0.5           Y
Wright‐Fair, Shaumbe                                       1                             0.5           Y
Wrobel, Brian                                              2                               1           Y
Wulff, Paul                                                2                               1           Y
Wyatt, Justin                                              1                             0.5           Y
Wyatt, Willie                                              1          1                  0.5           N
Wyche, John                                                1                             0.5           Y
Wylie, Joey                                                1                             0.5           Y
Wyman, Devin                                               1          2                  0.5           N
Yalei, Shen                                                1                             0.5           Y
Yamada, Shinzo                                             1                             0.5           Y
Yancy, Richard                                             8                               4           Y
Yniguez, Paul                                              1                             0.5           Y
Young, Alan                                                1                             0.5           Y
Young, Antwone                                             2                               1           Y
Young, Charlie                                             2                               1           Y
Young, Danny                                               1                             0.5           Y
Young, Donnie                                              1                             0.5           Y
Young, Glenn                                               1                             0.5           Y
Young, Sam                                                 1                             0.5           Y
Young, Todd                                                1                             0.5           Y
Younger, Jordan                                            3                             1.5           Y
Yukhnovich, Artsem                                         1                             0.5           Y
Yuma, Eric                                                 1                             0.5           Y
Yurkiewicz, Rich                                           2                               1           Y
Zagorski, Ben                                              1                             0.5           Y
Zatechka, Jon                                              2                               1           Y
Zeno, Lance                                                1          2                  0.5           N
Ziemann, Chris                                             1          1                  0.5           N
Zimmerman, Scott                                           1                             0.5           Y
Zitelli, Emmett                                            2                               1           Y
Zolman, Greg                                               1                             0.5           Y
Zumwalt, Rick                                              1                             0.5           Y
Total                                                                                  2143         2302




Data taken from: http://www.footballdb.com/nfl‐europe/nfleplayers.html?letter=A
                                                                                                       81
Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 212 of 217




                     Exhibit 12
                                                            Estimated CTE Awards ‐ July 2014 to April 2015


                                                                                                  Max CTE Award
                                                                                                  (in thousands)                            CTE Award (in thousands)
                                                                                                  Accounting for  Seasons    Eligible       Accounting for Age and
Player                               Birth Date       Death Date       Age                        Age             Played     Seasons Offset Eligible Seasons
Denton, Bob                                 7/24/1934         7/8/2014                       79               160          5            0%                    $160.00
Venuto, Sam                                 11/2/1926        7/12/2014                       87                50          1          ‐80%                     $10.00
Leiding, Jeff                             10/28/1961         7/13/2014                       52              2300          2          ‐60%                    $920.00
Morton, John                                 9/1/1929        7/19/2014                       84                50          1          ‐80%                     $10.00
Walker, Mickey                            10/14/1939         7/19/2014                       74               600          5            0%                    $600.00
DiPierro, Ray                               8/22/1926        7/20/2014                       87                50          2          ‐60%                     $20.00
McNamara, Bob                               8/12/1931        7/20/2014                       82                50          2          ‐60%                     $20.00
Austin, Ocie                                 1/8/1947        7/22/2014                       67               980          4          ‐20%                    $784.00
Newhouse, Robert                             1/9/1950        7/22/2014                       64              1200         12            0%                  $1,200.00
Sprinkle, Ed                                 9/3/1923        7/28/2014                       90                50         12            0%                     $50.00
Cox, James E. 'Jim'                          9/6/1920        7/29/2014                       93                50          1          ‐80%                     $10.00
Moss, Perry                                  8/4/1926         8/7/2014                       88                50          1          ‐80%                     $10.00
Lloyd, Dave                                 11/9/1936         8/9/2014                       77               160         12            0%                    $160.00
Daniels, Dave                                4/5/1941        8/19/2014                       73               600          1          ‐80%                    $120.00
Ladygo, Pete                                6/23/1925        8/22/2014                       89                50          2          ‐60%                     $20.00
Castete, Jesse                               9/3/1933        8/29/2014                       80                50          2          ‐60%                     $20.00
Holzer, Tom                                  8/2/1945        8/30/2014                       69               980          1          ‐80%                    $196.00
Powell, Charlie                              4/4/1932         9/1/2014                       82                50          7            0%                     $50.00
Humphrey, Donnie                            4/20/1961         9/2/2014                       53              2300          3          ‐40%                  $1,380.00
McIntosh, Toddrick                          1/22/1972         9/5/2014                       42              4000          2          ‐60%                  $1,600.00
Rudnick, Tim                                 3/6/1952         9/7/2014                       62              1200          1          ‐80%                    $240.00
Saidock, Tom                                2/26/1930         9/7/2014                       84                50          4          ‐20%                     $40.00
Gonsoulin, Goose                             6/7/1938         9/8/2014                       76               160          8            0%                    $160.00
Bironas, Rob                                1/29/1978        9/20/2014                       36              4000          9            0%                  $4,000.00
Bruckner, Les                               4/16/1918        9/21/2014                       96                50          1          ‐80%                     $10.00
                                                                                                                                                                            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 213 of 217




Ross, Scott                                 12/7/1968        9/22/2014                       45              3200          1          ‐80%                    $640.00
Manoukian, Don                               6/9/1934        9/23/2014                       80                50          1          ‐80%                     $10.00


Data regarding birth date, death date, and age taken from www.oldestlivingprofootball.com.
Data regarding number of seasons played taken from www.nfl.com.                                                                                                         1
                                                            Estimated CTE Awards ‐ July 2014 to April 2015


                                                                                                  Max CTE Award
                                                                                                  (in thousands)                            CTE Award (in thousands)
                                                                                                  Accounting for  Seasons    Eligible       Accounting for Age and
Player                               Birth Date       Death Date       Age                        Age             Played     Seasons Offset Eligible Seasons
Kincaid, Blackie                            8/11/1930        9/25/2014                       84                50          1          ‐80%                     $10.00
Boeke, Jim                                  9/11/1938        9/26/2014                       76               160          9            0%                   $160.00
Smith, Robert G. 'Bob'                      2/23/1933        9/28/2014                       81                50          2          ‐60%                     $20.00
Drungo, Elbert                              4/30/1943       10/11/2014                       71               600          9            0%                   $600.00
Jones, Aki                                10/25/1982        10/12/2014                       31              4000          1          ‐80%                    $800.00
Best, Art                                   3/18/1953       10/14/2014                       61              1200          3          ‐40%                    $720.00
Steiner, Roy                                8/27/1927       10/18/2014                       87                50          2          ‐60%                     $20.00
Biodrowski, Dennis                          6/27/1940       10/20/2014                       74               600          5            0%                    $600.00
Bramlett, John                               7/7/1941       10/23/2014                       73               600          7            0%                    $600.00
Collins, Mo                                 9/22/1976       10/26/2014                       38              4000          6            0%                  $4,000.00
Soltau, Gordy                               1/25/1925       10/26/2014                       89                50          9            0%                     $50.00
McLaughlin, Leon                            5/30/1925       10/27/2014                       89                50          5            0%                     $50.00
Bracken, Don                                2/16/1962       10/30/2014                       52              2300          8            0%                  $2,300.00
Natowich, Andy                            12/11/1918        10/30/2014                       95                50          1          ‐80%                     $10.00
Hendley, Dick                                8/6/1926       10/31/2014                       88                50          1          ‐80%                     $10.00
Paul, Don                                   3/18/1925        11/8/2014                       89                50          8            0%                     $50.00
Thomas, Orlando                           10/21/1972         11/9/2014                       42              4000          7            0%                  $4,000.00
Regner, Tom                                 4/19/1944       11/13/2014                       70               600          6            0%                    $600.00
Epps, Bobby                                 3/25/1932       11/14/2014                       82                50          3          ‐40%                     $30.00
Kelm, Larry                               11/29/1964        11/22/2014                       49              3200          7            0%                  $3,200.00
Brettschneider, Carl                        12/2/1931       11/26/2014                       82                50          8            0%                     $50.00
Fanucchi, Ledio                             3/27/1931       11/27/2014                       83                50          1          ‐80%                     $10.00
Yowarsky, Walt                              5/10/1928       11/30/2014                       86                50          6            0%                     $50.00
Swink, Jim                                  3/14/1936        12/3/2014                       78               160          1          ‐80%                     $32.00
Flowers, Charlie                            6/28/1937        12/7/2014                       77               160          3          ‐40%                     $96.00
                                                                                                                                                                            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 214 of 217




Behrman, Dave                               11/9/1941        12/9/2014                       73               600          3          ‐40%                    $360.00
Thurston, Fuzzy                           12/29/1933        12/14/2014                       80                50         10            0%                     $50.00


Data regarding birth date, death date, and age taken from www.oldestlivingprofootball.com.
Data regarding number of seasons played taken from www.nfl.com.                                                                                                         2
                                                            Estimated CTE Awards ‐ July 2014 to April 2015


                                                                                                  Max CTE Award
                                                                                                  (in thousands)                            CTE Award (in thousands)
                                                                                                  Accounting for  Seasons    Eligible       Accounting for Age and
Player                               Birth Date       Death Date       Age                        Age             Played     Seasons Offset Eligible Seasons
Brown Jr., Boyd                             5/24/1952       12/18/2014                       62              1200          4          ‐20%                   $960.00
Kelly, Bob                                  8/18/1938       12/18/2014                       76               160          6            0%                   $160.00
Teteak, Deral                             12/11/1929        12/18/2014                       85                50          5            0%                    $50.00
Vereb, Ed                                   5/21/1934       12/18/2014                       80                50          1          ‐80%                    $10.00
Alston, Mack                                4/27/1947       12/24/2014                       67               980         11            0%                   $980.00
Barry, Paul                                  8/7/1926       12/28/2014                       88                50          4          ‐20%                    $40.00
Dyko, Chris                                 3/16/1966       12/28/2014                       48              3200          1          ‐80%                   $640.00
Keating, Bill                             11/22/1944          1/1/2015                       70               600          2          ‐60%                   $240.00
Caldwell, Bryan                              5/6/1960         1/3/2015                       54              2300          1          ‐80%                   $460.00
Jessup, Bill                                3/17/1929         1/3/2015                       85                50          7            0%                    $50.00
Sherman, Allie                              2/10/1923         1/3/2015                       91                50          5            0%                    $50.00
Pugh, Jethro                                 7/3/1944         1/7/2015                       70               600         14            0%                   $600.00
Karnofsky, Sonny                            9/22/1922         1/9/2015                       92                50          2          ‐60%                    $20.00
Cunningham, Doug                            9/14/1945        1/13/2015                       69               980          8            0%                   $980.00
Nagel, Ray                                  5/18/1927        1/15/2015                       87                50          1          ‐80%                    $10.00
Henson, Gary                                 9/8/1940        1/20/2015                       74               600          2          ‐60%                   $240.00
Roffler, Bill                               9/16/1930        1/20/2015                       84                50          1          ‐80%                    $10.00
Atkins, George                              4/10/1932        1/21/2015                       82                50          1          ‐80%                    $10.00
Mason, Tommy                                 7/8/1939        1/22/2015                       75               160         11            0%                   $160.00
Pense, Leon                                  2/5/1922        1/22/2015                       92                50          1          ‐80%                    $10.00
McKinnon, Don                               8/28/1941        1/25/2015                       73               600          2          ‐60%                   $240.00
Freitas, Jesse                              9/10/1951         2/8/2015                       63              1200          2          ‐60%                   $480.00
Enyart, Bill                                4/28/1947        2/10/2015                       67               980          3          ‐40%                   $588.00
Glick, Gary                                 5/14/1930        2/11/2015                       84                50          7            0%                    $50.00
Towns, Bobby                                3/17/1938        2/11/2015                       76               160          2          ‐60%                    $64.00
                                                                                                                                                                           Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 215 of 217




McCusker, Jim                               5/13/1936        2/13/2015                       78               160          7            0%                   $160.00
Davis, Jack O.                              2/19/1933        2/15/2015                       81                50          1          ‐80%                    $10.00


Data regarding birth date, death date, and age taken from www.oldestlivingprofootball.com.
Data regarding number of seasons played taken from www.nfl.com.                                                                                                        3
                                                            Estimated CTE Awards ‐ July 2014 to April 2015


                                                                                                  Max CTE Award
                                                                                                  (in thousands)                            CTE Award (in thousands)
                                                                                                  Accounting for  Seasons    Eligible       Accounting for Age and
Player                               Birth Date       Death Date       Age                        Age             Played     Seasons Offset Eligible Seasons
Duncan, Clyde                                2/5/1961        2/15/2015                       54              2300          2          ‐60%                   $920.00
Lassiter, Ike                             11/15/1940         2/15/2015                       74               600         10            0%                   $600.00
Modzelewski, Ed                             1/13/1929        2/27/2015                       86                50          6            0%                     $50.00
Bettis, Tom                                 3/17/1933        2/28/2015                       81                50          9            0%                     $50.00
Wilson, Jerry                               12/9/1936         3/5/2015                       78               160          2          ‐60%                     $64.00
Lewis, Dan                                  2/14/1936         3/6/2015                       79               160          9            0%                   $160.00
Hensley, Dick                                9/8/1927         3/7/2015                       87                50          3          ‐40%                     $30.00
Toneff, Bob                                 6/23/1930        3/15/2015                       84                50         12            0%                     $50.00
O'Malley, Joe                               1/20/1932        3/20/2015                       83                50          2          ‐60%                     $20.00
Kendrick, Vince                             3/18/1952        3/21/2015                       63              1200          2          ‐60%                    $480.00
McGill, Ralph                               4/28/1950        3/21/2015                       64              1200          8            0%                  $1,200.00
Torgeson, Torgy                             2/28/1929        3/23/2015                       86                50          7            0%                     $50.00
Phillips, Jimmy 'Red'                        2/5/1936        3/25/2015                       79               160         10            0%                    $160.00
LeBaron, Eddie                               1/7/1930         4/1/2015                       85                50         11            0%                     $50.00
Smith Jr., J.D.                             7/19/1931         4/1/2015                       83                50         11            0%                     $50.00
Cathcart, Sam                                7/7/1924         4/3/2015                       90                50          3          ‐40%                     $30.00
Middleton, Terdell                           4/8/1955         4/3/2015                       59              1400          7            0%                  $1,400.00
Sumner, Charlie                           10/19/1930          4/4/2015                       84                50          6            0%                     $50.00
Wood, Dick                                  2/29/1936         4/4/2015                       79               160          5            0%                    $160.00
Looney, Don                                  9/2/1916         4/5/2015                       98                50          3          ‐40%                     $30.00
Papit, Johnny                               7/25/1928         4/6/2015                       86                50          3          ‐40%                     $30.00
Powell, Art                                 2/25/1937         4/6/2015                       78               160         10            0%                    $160.00
Szaro, Rich                                  3/7/1948         4/8/2015                       67               980          5            0%                   $980.00
Graves, Ray                               12/31/1918         4/10/2015                       96                50          3          ‐40%                     $30.00
Mutscheller, Jim                            3/31/1930        4/10/2015                       85                50          8            0%                     $50.00
                                                                                                                                                                            Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 216 of 217




Gunn, Jimmy                               11/27/1948         4/11/2015                       66               980          7            0%                   $980.00
Witucki, Cas 'Slug'                         5/26/1928        4/19/2015                       86                50          6            0%                     $50.00


Data regarding birth date, death date, and age taken from www.oldestlivingprofootball.com.
Data regarding number of seasons played taken from www.nfl.com.                                                                                                         4
                                                            Estimated CTE Awards ‐ July 2014 to April 2015


                                                                                                  Max CTE Award
                                                                                                  (in thousands)                            CTE Award (in thousands)
                                                                                                  Accounting for  Seasons    Eligible       Accounting for Age and
Player                               Birth Date       Death Date       Age                        Age             Played     Seasons Offset Eligible Seasons
Buffone, Doug                               6/27/1944        4/20/2015                       70               600         14            0%                   $600.00
St. Clair, Bob                              2/18/1931        4/20/2015                       84                50         11            0%                    $50.00
Bednarik, Chuck                              5/1/1925        3/21/2015                       89                50         14            0%                    $50.00

                                                                                                                   Average CTE Award:                       $421.00
                                                                                                                   Value Added:                          $44,626.00
                                                                                                                                                                           Case 2:12-md-02323-AB Document 7070-2 Filed 01/11/17 Page 217 of 217




Data regarding birth date, death date, and age taken from www.oldestlivingprofootball.com.
Data regarding number of seasons played taken from www.nfl.com.                                                                                                        5
